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           EXHIBIT CC
                 Redacted
        Button et al v. Doherty et al
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 1

 2                       UNITED STATES DISTRICT COURT
 3                      SOUTHERN DISTRICT OF NEW YORK

 4

 5

 6
     DUSTY BUTTON AND MITCHELL                   Case No: 1:24-cv-05026-JPC-KHP
 7   TAYLOR BUTTON
 8
                      PLAINTIFFS,                AMENDED COMPLAINT AND
 9
                                                 DEMAND FOR JURY TRIAL
10   V.
11

12
     JULIET DOHERTY, KRISTA KING-
13   DOHERTY and LUIS PONS
14

15
                      DEFENDANT.
16

17

18
19
                   Plaintiffs Dusty Button and Mitchell Taylor Button file this
20
     Complaint and sue Defendants Juliet Doherty, Krista King-Doherty and Luis
21

22   Pons and allege as follows:
23
                                STATEMENT OF FACTS
24
          1. Juliet Doherty sexually assaulted Dusty Button and Mitchell Taylor
25

26           Button in July of 2018.
27

28

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 1     2. From 2018 until 2021, Juliet Doherty, her mother Krista King-Doherty
 2
          and her photographer Luis Pons, (together, Defendants), spread obscene
 3

 4        rumors to hundreds of thousands of people including employers,

 5        contractors, sponsors, friends and acquaintances of the Plaintiffs after
 6
          Juliet Doherty deflected her own immoral actions onto the Plaintiffs and
 7

 8        stated that she was in fact, the one who was sexually assaulted.
 9     3. Together, and in conspiracy with others, the Defendants began harassing
10
          the Plaintiffs through various online platforms and by sending emails to
11

12        anyone associated with the Plaintiffs in order to force any business
13        affiliate of the Plaintiffs to terminate their business relations and contracs
14
          with them.
15

16     4. These salacious and untrue rumors resulted in terminated contracts
17        between the Plaintiffs and numerous businesses affiliates, contractors,
18
          employers and sponsors and also prevented the Buttons from being hired
19

20        due to the nature of the rumors spread by the Defendants.
21
       5. For example, in 2019, the Defendants sent various emails to the Plaintiffs’
22
          contractors telling them to fire the Plaintiffs and that they should not be
23

24        around children because they were child predators; and additionally,
25
          intentionally and falsely stated that Ms. Button assaulted Juliet Doherty in
26
          2018.
27

28

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 1         6. As a direct result of the salacious and defamatory rumors spread,
 2
                Plaintiffs lost expected revenue and contracts with businesses, contractors
 3

 4              and employers who they had relations with for years prior to 2018.

 5         7. For years, Juliet Doherty, her mother Krista and Mr. Pons harassed and
 6
                defamed the Plaintiffs through social media including by posting false and
 7

 8              defamatory statements that the Plaintiffs had sexually assaulted Juliet
 9              Doherty and others, (including children); that anyone associated with the
10
                Plaintiffs should not hire them and that anyone who had already
11

12              contracted them should fire them and also share the false and defamatory
13              statements and convince others to do the same.
14
           8. On July 28th, 2021, Juliet Doherty’s good friend Sage Humphries, (ex-
15

16              girlfriend of the Plaintiffs), filed a frivolous civil lawsuit against the
17              Plaintiffs in the District Court of Nevada for $131,000,000.00.
18
           9. On December 13th, 2021, Juliet Doherty joined the malicious and
19

20              frivolous civil lawsuit against the Plaintiffs in the District Court of
21
                Nevada1.
22
           10. Ms. Doherty’s allegations against the Plaintiffs in Nevada were a near
23

24              identical recount of the sexual assault which she committed against the
25
                Plaintiffs as she projected her own sexual assault onto the Plaintiffs and
26

27
     1
         Humphries et al v. Button – 2:21-cv-01412-ART-EJY United States District Court of Nevada
28

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 1        used her own egregious actions of assault and harassment to state that the
 2
          Plaintiffs were actually the assailants, not her, in order to fortify a
 3

 4        fraudulent foundation for a civil lawsuit which would otherwise, have no

 5        foundation.
 6
       11. Juliet Doherty intentionally filed false and malicious allegations against
 7

 8        the Plaintiffs to stop them from coming forward with the allegations
 9        against her, to undermine Plaintiffs’ factual foundation, (which is
10
          supported by evidence), while engaging in and fortifying the fraudulent
11

12        foundation of her friends’ lawsuit against them; as she knew the
13        Plaintiffs’ allegations against her would become public during the course
14
          of the Nevada litigation.
15

16     12. During the course of discovery in Nevada, in 2022 and 2023, Plaintiffs
17        first discovered the defamation committed by the Defendants.
18
       13. For example, the Plaintiffs learned that in 2023, Juliet Doherty told Sage
19

20        Humphries and numerous other third parties that the Plaintiffs had raped
21
          her as a minor.
22
       14. The Buttons first met Juliet Doherty when she was over twenty-one years
23

24        old.
25
       15. As another example, in 2022 and 2023 the Plaintiffs learned that Krista
26
          King-Doherty and Juliet Doherty were specifically targeting former
27

28

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 1              employers and sponsors of the Plaintiffs to notify them and falsely state
 2
                that Juliet Doherty had been assaulted by the Plaintiffs and that they
 3

 4              should not be around children because they were predators who preyed on

 5              children to use them for sex acts.
 6
           16. All three Defendants contacted employers, sponsors and various third-
 7

 8              parties who were affiliated with the Plaintiffs and told them that they were
 9              going to jail for sexually assaulting children because they had been
10
                charged with crimes.
11

12         17. In February of 2023, Juliet Doherty voluntarily withdrew her allegations
13              in Nevada against the Plaintiffs just twenty-four hours after receiving
14
                requests for admissions from the Plaintiffs and documentation was
15

16              produced by the Plaintiffs which proved Ms. Doherty’s allegations were
17              false, defamatory and malicious.
18
           18. In September of 2023 both Plaintiffs were deposed by counsel for the
19

20              Doherty’s in Nevada, whereas Plaintiffs were specifically asked if they
21
                intended to sue Juliet Doherty2.
22
           19. In 2023, Plaintiffs learned that Luis Pons spread false and defamatory
23

24              rumors online about the Plaintiffs and told numerous business affiliates
25
                and sponsors of the Plaintiffs that they were child predators.
26

27   2
         Q. Are you intending to sue Juliet?” A. “Absolutely.” – see Deposition of Dusty Button – Exhibit A

28

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 1         20. Juliet Doherty, with the assistance of her mother and photographer, have
 2
              destroyed the reputations, careers and livelihoods of the Plaintiffs for
 3

 4            years as they continue to spread these malicious, false and defamatory

 5            rumors.
 6
                                       NATURE OF THE ACTION
 7

 8         21. “I kissed a girl and I liked it”. That is how Defendant Juliet Doherty
 9            preempted her presumptuously strategic and short-lived friendship with
10
              Plaintiffs in July of 2018.
11

12         22. Ms. Doherty’s intentional use of the very specific lyrics from Katy Perry’s
13            song “I kissed a girl and I liked it”3, was a direct nod to the open dating
14
              relationship that her good friend, Sage Humphries initiated with both
15

16            Plaintiffs Dusty and Taylor Button just one year prior, which came to
17            grief in July of 2017.
18
           23. Ms. Humphries had relayed those very same lyrics to Plaintiff Dusty
19

20            Button after initiating an open dating relationship with both Plaintiffs in
21
              April of 2017 whereas, Ms. Humphries shared those intimate details with
22
              Ms. Doherty following the end of her relationship with Plaintiffs, leading
23

24            Ms. Doherty to follow suit as she repeated those very same lyrics to
25

26   3
       “However, the first statement she made was, I kissed a girl and I liked it and from that moment, I knew that
     Micah Humphries or someone related to her had something to do with it because that is something that Sage told
27   me in the car after the first night that we were all together and there is no way that Juliet [would] have known
     that.” – see deposition of Dusty Button – Exhibit A
28

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 1        Plaintiffs the following year setting a precedent before she aggressively
 2
          and sexually pursued Plaintiffs in the hopes of initiating the same open
 3

 4        relationship with Plaintiffs that her friend Sage Humphries was successful

 5        at initiating just one year prior.
 6
       24. Ms. Doherty’s persistent, unsolicited and unwanted sexual harassment
 7

 8        toward Plaintiffs lasted over the course of five days during a professional
 9        work event whereas, Dusty Button and Juliet Doherty were hired by Ivan
10
          Sepulveda of Panama Ballet Festival to perform as guest artists and
11

12        Plaintiff Dusty Button was additionally hired as a guest artist to teach
13        ballet and contemporary dance to the participants of the festival.
14
       25. Ms. Doherty’s aggressive pursuit and sexual advances were verbally and
15

16        physically rejected by both Plaintiffs as it was abundantly clear that Ms.
17        Doherty’s advances and references to Plaintiffs’ previous open dating
18
          relationship with her friend, Sage Humphries, were an attempt to mimic
19

20        her and initiate a “threesome” with Plaintiffs to which Plaintiffs
21
          aggressively rejected on numerous occasions during the five days in
22
          Panama with Juliet Doherty.
23

24     26. During Plaintiffs’ “short-lived” friendship with Juliet, she sexually
25
          assaulted, and harassed both Plaintiffs including by continuing to
26

27

28

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 1        aggressively pursue Plaintiffs sexually after Plaintiffs made it clear to
 2
          Juliet that they would not entertain her unwanted sexual behavior.
 3

 4     27. On July 12th, 2018, near the end of the business trip in Panama, Defendant

 5        (and personal photographer of Sage Humphries and Juliet Doherty), Luis
 6
          Pons communicated to Ms. Doherty and relayed defamatory false
 7

 8        allegations that Plaintiffs were “criminals” who drugged and assaulted
 9        Sage Humphries and that the fun loving and innocent photos and videos
10
          Ms. Doherty was posting on her social media accounts during her time in
11

12        Panama with Plaintiffs looked as though she was in a threesome with
13        Plaintiffs but that Plaintiffs were dangerous criminals who she should not
14
          be around.
15

16     28. At the conclusion of the Panama Ballet Festival, and following Ms.
17        Doherty’s communications with Defendant Luis Pons, (which Plaintiffs
18
          discovered in 2022 through legal discovery process), Plaintiffs spoke to
19

20        Ms. Doherty a total of two times and ultimately ended communication
21
          with Juliet as her actions during the trip and their suspicion of her
22
          behavior toward them was eerily similar to the behavior of her good
23

24        friend and ex-girlfriend of Plaintiffs, Sage Humphries.
25
       29. As retaliation for Plaintiffs vehement rejections of Ms. Doherty’s
26
          advances in Panama in 2018 and following Luis Pons’ communication in
27

28

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 1           conspiracy with Ms. Humphries, Juliet Doherty filed a civil complaint in
 2
             the Nevada District Court as a Plaintiff in an ongoing litigation4 initiated
 3

 4           by her good friend and ex-girlfriend of Plaintiffs, Sage Humphries who is

 5           represented by Sigrid McCawley5 of Boies Schiller & Flexner LLP.
 6
         30. Juliet Doherty’s complaint in Nevada shockingly, role reversed the factual
 7

 8           events from her time in Panama with Plaintiffs as she portrayed herself as
 9           a victim of sexual abuse against Plaintiff Dusty Button without sufficient
10
             knowledge that Plaintiffs possessed irrefutable evidence proving that they
11

12           were in fact, victims of Ms. Doherty.
13       31. Juliet’s frivolous complaint consisted of the very acts of sexual assault
14
             and abuse which she, herself had committed against Plaintiffs in 2018 but
15

16           which she falsely claimed were the actions of Plaintiffs against her in
17           order to conspire with Sage Humphries against Plaintiffs to intentionally
18
             harm and destroy Plaintiffs’ careers, reputations, livelihoods and business
19

20           relations in retaliation for being rejected by the Plaintiffs.
21
         32. In addition, Ms. Doherty falsely claimed that she was drugged by
22
             Plaintiffs in Panama, severely, irreparably and intentionally harming
23

24           Plaintiffs’ careers, reputations, livelihoods and business relations
25

26   4
       Nevada District Court Case 2:21-cv-01412-ART-EJY
     5
       Plaintiffs have already filed a defamation suit against Ms. McCawley, Juliet Doherty’s former attorney, in
27   addition to notifying the Florida State Bar of Ms. McCawley’s unethical behavior and tactics within the Nevada
     litigation – see Southern District Court of Florida Case (0:24-cv-60911-DSL).
28

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 1        indefinitely and later through Sage Humphries’ deposition with Plaintiffs
 2
          they discovered that Juliet Doherty had further defamed Plaintiffs by
 3

 4        claiming that she was raped by both Plaintiffs, though this allegation was

 5        not present in her complaint prior to her voluntary withdrawal.
 6
       33. In 2022, Plaintiffs discovered communications between Juliet Doherty’s
 7

 8        mother and Sage Humphries’ mother including but not limited to evidence
 9        of a social media account created and run by Sage Humphries’ mother and
10
          Defendant Krista King-Doherty titled @warriormoms, dedicated to
11

12        defaming, harassing and destroying Plaintiffs’ livelihoods, careers,
13        reputations and business relations by spreading false, malicious and
14
          defamatory rumors on social media to millions of followers, subscribers,
15

16        employers, sponsors and innumerable third parties which later
17        disassociated from Plaintiffs due to Defendants’ egregious online
18
          harassment and conduct.
19

20     34. This account is still active and is used to continuously defame the
21
          Plaintiffs.
22
       35. From 2018 to 2021, Juliet Doherty, her mother Krista King-Doherty and
23

24        Luis Pons, in conspiracy with each other and with Sage Humphries and
25
          her parents and various third parties made, and published defamatory and
26

27

28

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 1            salacious rumors about Plaintiffs to intentionally and knowingly harm
 2
              them and their careers and reputations.
 3

 4       36. Juliet Doherty filed her complaint in Nevada with intentionally frivolous

 5            claims including but not limited to knowingly lying to the Court by
 6
              alleging Plaintiff Dusty Button committed “juvenile abuse” against her to
 7

 8            entice the media and the press to print false and defamatory statements for
 9            shock value.
10
         37. Ms. Doherty was over twenty-one years of age when she met Plaintiffs
11

12            for the first time in Panama and therefore, knowingly and maliciously
13            stated she was under the age of eighteen to influence the media, the press,
14
              the public and any potential juror that she was a child at the time of her
15

16            (false) allegations thus setting off a global chain of hit pieces published by
17            every major media house on the planet all of which were tactically curated
18
              by Dawn Schneider, Public Relations manager for Boies Schiller Flexner
19

20            LLP6.
21
         38. On February 23rd, 2023, Plaintiffs sent their first requests for admissions
22
              to Ms. Doherty and additionally providing Ms. Doherty’s attorneys from
23

24

25   6
      Plaintiffs are suing Ms. Schneider along with The New York Times Company, Lindsey Ruff and Sabina
     Mariella, (Counsel for the Doherty’s here and the Plaintiffs in Nevada), Demetri Blaisdell, (former attorney at
26   Boies Schiller Flexner and attorney for Julia Jacobs at the New York Times, author of the defamatory article
     written about the Buttons), David McCraw, (attorney for the New York Times) and Julia Jacobs, author of the
27   defamatory New York Times article about the Plaintiffs);
     https://www.nytimes.com/2021/07/29/arts/dance/mitchell-button-dusty-button-abuse.html
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 1        Boies Schiller & Flexner LLP with evidence of Ms. Doherty’s aggressive
 2
          behavior and conduct toward them as well as proof that her allegations
 3

 4        were fraudulent thus exposing her as the predator and Plaintiffs as the

 5        prey.
 6
       39. The following day, Juliet Doherty voluntarily withdrew from the Nevada
 7

 8        litigation and voluntarily dismissed her complaint against Plaintiffs.
 9     40. Ms. Doherty conspired with Sage Humphries against Plaintiffs using
10
          allegations of criminal behavior which she, herself, committed against
11

12        Plaintiffs in 2018 to intentionally harm, defame, harass and humiliate
13        Plaintiffs who only ever knew or spoke to her for five days in 2018 but
14
          who rejected her aggressive sexual advances and told her to stop as she
15

16        assaulted them.
17     41. Following Juliet Doherty’s trip to Panama, Defendant Krista King-
18
          Doherty spread salacious and untrue rumors about Plaintiffs on well-
19

20        known social media platforms including by interfering in Plaintiffs’
21
          business relationships, alluding to Plaintiffs being criminals and sexual
22
          predators.
23

24     42. Krista King-Doherty then conspired with her daughter, her daughter’s
25
          good friend Sage Humphries and her mother, Micah Humphries,
26
          Defendant Luis Pons and other third parties, to create an untrue and
27

28

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 1        outrageous narrative that Plaintiffs were sexual predators who preyed on
 2
          children; and that Plaintiffs used those “young girls” for sex acts.
 3

 4     43. These outlandish, disgusting and defamatory statements online and

 5        through communications with Plaintiffs’ employers, sponsors and
 6
          business relationships resulted in complete loss of any and all income,
 7

 8        employment, business and reputation, ultimately terminating Plaintiffs’
 9        careers in both of their respective industries as well as their good names
10
          rendering them forever unemployable.
11

12     44. As set forth herein, Defendants’ actions were intentionally done so to
13        harm and destroy Plaintiffs; and done so with actual malice.
14
                                    THE PARTIES
15

16     45. Plaintiff Dusty Button is an individual who resides and is domiciled in
17        Myrtle Beach, South Carolina; Ms. Button is the wife of Plaintiff Taylor
18
          Button.
19

20     46. Plaintiff Taylor Button is an individual who resides and is domiciled in
21
          Myrtle Beach, South Carolina; Mr. Button is the husband of Plaintiff
22
          Dusty Button.
23

24     47. Upon information and belief, Defendant Juliet Doherty is an individual
25
          who resides and is domiciled in Brooklyn, New York.
26

27

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 1     48. Upon information and belief, Defendant Krista King-Doherty is an
 2
          individual who resides and is domiciled in Albuquerque, New Mexico but
 3

 4        who frequents New York City, NY on a recurring basis for business

 5        purposes.
 6
       49. Upon information and belief, Defendant Luis Pons is an individual who
 7

 8        resides and is domiciled in the Bronx, New York.
 9                          JURISDICTION AND VENUE
10
       50. Plaintiffs are citizens of the State of South Carolina for purposes of
11

12        diversity jurisdiction under 28 U.S.C § 1332.
13     51. Defendants Juliet Doherty and Luis Pons are citizens of the State of New
14
          York for purposes of diversity jurisdiction under 28 U.S.C. § 1332.
15

16     52. Defendant Krista King-Doherty is a citizen of New Mexico but who
17        frequents New York for business, for purposes of diversity jurisdiction
18
          under 28 U.S.C. § 1332.
19

20     53. This Court has original subject matter jurisdiction with respect to this
21
          action pursuant to 28 U.S.C. § 1332 as there exists complete diversity of
22
          citizenship between Plaintiffs and Defendant and the amount in
23

24        controversy exceeds seventy-five thousand dollars ($75,000.00),
25
          exclusive of interests and costs.
26

27

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 1     54. Pursuant to 28 U.S.C § 1391(b), venue is proper in this Court because the
 2
          Defendants resides in this district
 3

 4     55. Pursuant to the Federal Rules of Civil Procedure 4(k), this Court may

 5        exercise personal jurisdiction over Defendant Krista King-Doherty as the
 6
          Defendant has minimum contacts with the forum state.
 7

 8     56. The Court has general jurisdiction over Defendants Juliet Doherty and
 9        Luis Pons as they are residents of this State.
10
       57. Venue is proper in this district pursuant to 28 U.S.C. § 1391(b)(2) and
11

12        (b)(3) because a substantial part of the events or omissions giving rise to
13        Plaintiffs’ claims occurred in this district by virtue of the transmission and
14
          publication of the false and defamatory statements in this district (and
15

16        elsewhere) and also because Defendants are subject to this Court’s
17        personal jurisdiction with respect to this action.
18
       58. This Court possesses personal jurisdiction over Defendants on the
19

20        grounds that Defendants Juliet Doherty, Krista King-Doherty and Luis
21
          Pons committed a tortious act such as injurious falsehood in this state (as
22
          alleged in this Complaint), and on the grounds that Defendants caused
23

24        injury to Plaintiffs within the state arising out of an act or omission by
25
          Defendants outside of this state, while at or about the time of the injury,
26
          products, materials, or things processed, serviced, or manufactured by
27

28

                                    15
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 1        Defendants were used or consumed within this state in the ordinary course
 2
          of commerce, trade, or use.
 3

 4                             FACTUAL BACKGROUND

 5     1. Plaintiff Dusty Button was a world-renowned ballerina who trained at the
 6
          Jacqueline Kennedy Onassis School at the American Ballet Theatre in
 7

 8        New York City.
 9     2. In 2007, she joined the Royal Ballet School in London and in 2008 she
10
          joined Birmingham Royal Ballet in England.
11

12     3. In 2011, Ms. Button danced with American Ballet Theatre.
13     4. Ms. Button is best known for her work with the Boston Ballet, which she
14
          joined in 2012 and was promoted to their highest position of principal
15

16        ballerina in 2014.
17     5. Ms. Button was Red Bull’s first and only ballet athlete and has been
18
          published in media publications across the globe and has positively
19

20        influenced hundreds of thousands of people nationally and internationally,
21
          including by performing and teaching in over thirty different countries
22
          and across the United States.
23

24     6. Plaintiff Dusty Button’s Instagram account, @dusty_button, at the time of
25
          the events described herein, amassed nearly half of a million followers
26
          and subscribers.
27

28

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 1     7. Ms. Button deleted her Instagram account in 2021 after succumbing to
 2
          trauma from severe cyber bullying and harassment which Plaintiff
 3

 4        endured as a direct result of Defendants’ defamatory statements to a mass

 5        audience whilst participating in a global media campaign against Dusty to
 6
          destroy her livelihood, career, reputation and business and to gain
 7

 8        attention and traction for the false and fraudulent complaint Juliet Doherty
 9        would file, which has since been voluntarily dismissed by Juliet.
10
       8. Plaintiff Mitchell Taylor Button, (Taylor Button), was one of the world’s
11

12        most influential custom Ferrari and military vehicle designers and builders
13        for seven years, approximately from 2014 – 2021, with his work having
14
          been published in media publications across the globe for his automotive
15

16        design, builds and work in the industry.
17     9. Plaintiff has positively influenced hundreds of thousands of people
18
          nationally and internationally and has been procured from global
19

20        organizations for speaking engagements and commissions that continue to
21
          live on with his legacy today despite the destruction of his life’s work by
22
          Defendants.
23

24     10. Plaintiff Taylor Button’s Instagram account, @button_built, at the time of
25
          the events described herein, amassed nearly half of a million followers
26
          and subscribers.
27

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 1     11. Plaintiff Taylor Button deleted his Instagram account in 2021 after
 2
          succumbing to trauma from severe cyber bullying and harassment which
 3

 4        Plaintiff endured as a direct result of Defendants’ defamatory statements

 5        to a mass audience whilst participating in a global media campaign
 6
          against Taylor to destroy his livelihood, career, reputation and business
 7

 8        and to gain attention and traction for the false and fraudulent complaint
 9        Juliet Doherty would file in 2021, which has since been voluntarily
10
          dismissed by Juliet.
11

12     12. As explained further herein, Plaintiffs’ names and likeness was their
13        business and generated one hundred percent of their yearly revenue
14
          whereas, Plaintiffs, themselves and what they provided to their respective
15

16        industries was solely based on what they provided as their name brands,
17        known as Dusty Button, Taylor Button, Mitch/Mitchell Button, Mitchell
18
          Taylor Button, “The Buttons”, Button Built, Button Brand, Bravado by
19

20        Dusty Button, Meisturwerk and Meisturwerk Machinen.
21
       13. Plaintiffs’ established businesses, goods and services were directly
22
          sourced and provided from their good names, talent, expertise,
23

24        reputations, skills, manufacturing and marketing capabilities, which were
25
          completely destroyed by Sigrid McCawley and her abuse of power to
26
          influence the media, the public and the press, as a famous, world-
27

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 1        renowned attorney, Boies Schiller Flexner’s PR team and the Defendants’
 2
          ability to influence the industries which Plaintiffs were well known and
 3

 4        respected in, as Juliet Doherty had an even larger following on social

 5        media than the Plaintiffs and used her influence to defame the Plaintiffs.
 6
       14. Krista King-Doherty and Luis Pons were both well-known figures in the
 7

 8        dance community and used their power to influence and defame the
 9        Plaintiffs including through their large social media presence.
10
       15. At the time of the events described herein, Juliet Doherty was an actress
11

12        and model, world-renowned dancer and social media influencer with a
13        following of at least 320,000 subscribers on Instagram, with the account
14
          name @julietdoherty with an additional number of “fan page” accounts
15

16        which followed and posted in support of Juliet Doherty.
17     16. At the time of the events described herein, Krista King-Doherty was a
18
          well-known and globally sought-after master dance teacher and dance
19

20        choreographer with a social media following on Instagram of at least
21
          31,000 subscribers with the Instagram username @misskristakingdoh.
22
       17. At the time of the events described herein, Luis Pons was a well-known
23

24        and sought-after dance photographer with a social media following of at
25
          least 57,000 subscribers with the Instagram username is @ponsphoto.
26

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 1     18. Prior to Juliet Doherty filing her false, fraudulent and malicious
 2
          allegations against Plaintiffs, Dusty Button previously taught with Ms.
 3

 4        Doherty’s mother as a guest dance teacher and choreographer for various

 5        dance studios, events, competitions and galas nationally and
 6
          internationally on multiple occasions.
 7

 8     19. A culture of defamation permeates and plagues the #MeToo movement,
 9        particularly in the entertainment industries and has in turn, destroyed the
10
          credibility of real victims everywhere, while simultaneously mocking the
11

12        judicial system and enabling people to weaponize the civil justice system
13        with false accusations, which ultimately have the same consequence on
14
          innocent lives as they would if they were true accusations against guilty
15

16        parties, rendering Courts and parties afraid to defend against claims of this
17        magnitude due to the inevitable nuclear social fallout.
18
       20. The culture of defamation has dialed the integrity of civil litigation back
19

20        decades, as recently seen in cases around the world such as Depp v.
21
          Heard, Bauer v. Hill and more recently, the Eleanor Williams case in
22
          England, all of which proved innocent parties’ lives were completely
23

24        destroyed by false and defamatory statements not only in litigation, but in
25
          the media and in the press.
26

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 1     21. Other prominent dancers have been publicly defamed and severely
 2
          harassed in past years, through fraudulent and defamatory statements
 3

 4        online including but not limited to British dancer and choreographer Liam

 5        Scarlett, who sadly took his own life as a direct cause of false and
 6
          defamatory statements in the media and through industry gossip.
 7

 8              “We feel Liam would not have taken his life if his name hadn’t been
 9              dragged through the press with inaccurate allegations”, stated by
10
                Deborah Scarlett, Liam’s mother.
11

12     22. Liam Scarlett was cleared of any wrongdoing, but only after his death
13        which included the false and defamatory statements of misconduct with
14
          children, which were all proven to be false statements but which were
15

16        never acknowledged or rectified by any media source to date, much like
17        the false and defamatory statements made by Sigrid McCawley.
18
       23. Plaintiffs have suffered unimaginable loss to their businesses, careers,
19

20        reputations, finances, mental health, and overall livelihood and will
21
          continue to suffer as a direct and proximate result of Juliet Doherty’s false
22
          allegations and Defendants’ harassment and defamatory statements for the
23

24        painfully foreseeable future.
25
       24. Plaintiffs are currently enrolled into government assisted programs in
26
          South Carolina, such as SNAP for food and Medicaid.
27

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 1     25. Plaintiffs’ first child was born on August 8th, 2024.
 2
       26. Plaintiffs have had absolutely no income and no ability to generate
 3

 4        income since May 13th, 2021 due to Defendants’ conduct and the

 5        egregious false allegations attached to their names and have generated no
 6
          income since the onset of the defamatory statements, as a direct result of
 7

 8        Defendants’ intentional infliction of emotional distress and harm on
 9        Plaintiffs and their livelihoods.
10
       27. As explained further herein, Defendants intentionally, willfully and
11

12        maliciously destroyed Plaintiffs’ livelihoods, businesses and future
13        ability to generate work or income in both of their respective industries
14
          for the foreseeable future, as their names, likeness and reputations were
15

16        their careers which were obliterated as a direct result of Defendants’
17        intentionally harmful, harassing and defamatory statements.
18
       28. While Juliet Doherty’s voluntary dismissal of her claims against
19

20        Plaintiffs in Nevada are an indirect admission that they were entirely
21
          false, that dismissal does not repair the damage or the effect the false
22
          allegations had on Plaintiffs’ lives as she knowingly and maliciously filed
23

24        fraudulent allegations against Plaintiffs, which caused irreparable damage.
25
         A. Juliet Doherty Sexually Assaulted Plaintiffs Dusty and Taylor Button
26

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 1     29. On July 6th, 2018, Dusty and Taylor Button arrived in Panama City,
 2
          Panama whereas, Dusty Button was to headline the Panama Ballet
 3

 4        Festival Gala (“the Festival”), presented by Owner and Director, Ivan

 5        Sepulveda.
 6
       30. Plaintiff Taylor Button traveled with his wife as it was common practice
 7

 8        for Plaintiffs to travel with one another to each other’s jobs, though their
 9        industries were in no way associated with one another nor did they work
10
          within one another’s industries yet, Plaintiffs were both sought after by
11

12        numerous companies and sponsors as their individual talents combined
13        was beneficial for those who employed them individually due to their
14
          combined social media presence and subscribers who subscribed to the
15

16        couple’s everyday lives and careers.
17     31. Plaintiff Taylor Button was asked by Ivan Sepulveda to capture photos
18
          and video for the Panama Ballet Festival as he was aware that Taylor was
19

20        responsible for all of his and his wife’s photography and would be
21
          photographing his wife. Taylor Button obliged and granted Ivan
22
          Sepulveda with the favor at no cost to him or to the program.
23

24     32. Upon Plaintiffs’ arrival to Panama, they met the Defendant, Juliet Doherty
25
          for the first time at the airport where they were picked up by owner and
26
          Director of the Festival, Ivan Sepulveda and his son Diego.
27

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 1     33. Juliet Doherty was also contracted to perform in the same Gala at the
 2
          Panama Ballet Festival that Plaintiff Dusty Button was headlining and
 3

 4        teaching for that week.

 5     34. Plaintiffs had never met or spoken to Juliet Doherty prior to meeting her
 6
          in Panama but both Juliet Doherty and Dusty Button were equally well-
 7

 8        known in the dance and ballet industries and Plaintiffs knew that Ms.
 9        Doherty was a well-known successful dancer.
10
       35. In fact, Ms. Doherty, (at the time of the events listed herein), had a large
11

12        social media following, equivalent to that of Plaintiffs and was
13        additionally, known for her acting roles in recent film appearances such as
14
          High Strung Free Dance in association with Nigel Lythgoe who
15

16        previously directed a YouTube dance series produced by DanceOn,
17        Dance School Diaries, which had previously also starred her friend Sage
18
          Humphries.
19

20     36. During Plaintiffs’ dating relationship with Sage Humphries, she informed
21
          the Buttons that she “hated” Juliet Doherty, particularly after learning that
22
          Juliet “used her connections” to get roles that Sage believed she deserved
23

24        more than Ms. Doherty therefore, Plaintiffs were always under the
25
          impression that the two had no association however, as seen herein,
26

27

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 1        Plaintiffs later learned of their conspiracy together and against Plaintiffs
 2
          following Ms. Humphries’ “break up” with Plaintiffs in 2017.
 3

 4     37. Although Ms. Button and Ms. Doherty were two well-known figures in

 5        the same industry, they had never met or spoken prior to the initial
 6
          meeting in Panama however, Ms. Button was previously hired to guest
 7

 8        teach and choreograph for Master Ballet Academy, a ballet studio which
 9        Ms. Doherty’s mother, and Defendant, Krista King-Doherty was a teacher
10
          and her daughter was, (many years prior), a student of her mother’s and
11

12        never a student of Plaintiff Dusty Button’s and where in recent years
13        Defendant Juliet Doherty was also a teacher.
14
       38. Ms. Button taught with Defendant Krista King-Doherty on a number of
15

16        occasions at Master Ballet Academy as well as a variety of other industry
17        events including Youth America Grand Prix, “The world’s largest dance
18
          network and the number one source of young dance talent for dance
19

20        schools and companies worldwide”, whereas, the culmination of the
21
          regional events each year are held in New York City, NY, where
22
          Defendant Krista King-Doherty has been in attendance for years in regard
23

24        to her business relations in New York with Youth America Grand Prix.
25
       39. During the course of Plaintiffs’ trip in Panama and throughout the
26
          Festival, Defendant Juliet Doherty was extremely persistent in pursuing a
27

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 1        friendship with Plaintiffs, initially starting with immediate conversation at
 2
          the airport regarding her desire to meet Plaintiffs, progressing to asking
 3

 4        small favors of the Buttons such as editing her music for the Gala that

 5        week, taking photos and videos of her performances, editing photos and
 6
          videos for her once they were taken for her to “post” on social media and
 7

 8        eventually leading to the harassment, assault and sexual pursuit of
 9        Plaintiffs for the remainder of the trip and once the Gala was complete.
10
       40. Multiple parties who were in attendance and/or hired for the Festival
11

12        gathered at the hotel pool to celebrate the Festival and the Gala which
13        would commence the following day.
14
       41. Taking a break from the pool, Juliet came to sit with Plaintiffs at a
15

16        poolside table and unexpectedly decided to open up to the Buttons, whom
17        she had only recently met.
18
       42. Juliet, eager to get something off of her proverbial chest then told Dusty
19

20        and Taylor that her birthday was the month prior and to celebrate she
21
          went to a “gay night club” for the first time in her life.
22
       43. It was at this point that she giggled and said to Dusty and Taylor:
23

24               “Actually, I need to tell you guys something but I haven’t told my
25
          mom… “I kissed a girl, and I liked it”.
26

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 1     44. Following Juliet’s spontaneous decision to tell Dusty and Taylor of her
 2
          “first-time” experience with another woman, Plaintiffs immediately felt
 3

 4        uncomfortable and suspicious of Juliet’s reason to disclose such

 5        information to them as they had only met just days prior to this
 6
          “confession” of Juliet’s.
 7

 8     45. Over the coming days, Plaintiff Dusty Button and Defendant Juliet
 9        Doherty finished their performances with Panama Ballet Festival.
10
       46. Plaintiffs were invited by the owner, Ivan Sepulveda, and his son, Diego,
11

12        with the rest of the cast, including Juliet, to various restaurants, night
13        clubs and bars as a gesture to show all who attended and performed, the
14
          city of Panama.
15

16     47. When the Festival was complete, the host and director, Ivan Sepulveda
17        generously invited the Buttons and anyone else who desired to extend
18
          their stay in Panama so they could enjoy themselves on the island with
19

20        him and his son, to show them other parts of Panama before leaving
21
          whereas, the Buttons immediately obliged.
22
       48. Juliet told the Buttons that she also wanted to stay in Panama after Mr.
23

24        Sepulveda generously offered but that she did not want to pay for her own
25
          room; it was then that she asked Plaintiffs if they would mind if she
26

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 1        abandoned her room and moved into theirs so that she could stay in
 2
          Panama as well.
 3

 4     49. Plaintiffs, having a room with two beds, said yes as they “thought” Juliet

 5        was harmless and would have done the same for any other that was
 6
          invited to perform at the Festival, should they have been in that situation.
 7

 8     50. During the course of Ms. Doherty’s stay in Plaintiffs’ hotel room and on
 9        multiple occasions, she would intentionally expose herself, walk around
10
          soaking wet wearing only a partially covering towel after showering,
11

12        laying on her bed in suggestive positions to make various calls to her
13        agent and facetime calls including to named Defendant in this action, Luis
14
          Pons, which Plaintiffs thought was extremely odd behavior on all
15

16        accounts.
17     51. On one such occasion, Juliet literally jumped into Plaintiffs’ bed wearing
18
          only a sweatshirt and underwear sitting in a suggestive position exposing
19

20        her underwear to Plaintiffs thus making Plaintiffs uncomfortable, though
21
          they did not address Juliet’s odd behavior at the time, particularly because
22
          they only recently met her and were aware that while they did not share
23

24        this affinity, many in the dance industry are very open amongst
25
          themselves with nudity; Juliet, sitting inches in front of Plaintiff Taylor
26
          Button and just adjacent from Plaintiff Dusty Button remained in the bed
27

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 1        as she watched Taylor edit all of the photos that he had taken that day of
 2
          her and Dusty that afternoon when she and Dusty had done a promotional
 3

 4        photoshoot during a rain storm in the Panamanian jungle with Taylor and

 5        owner of The Festival, Ivan Sepulveda.
 6
          One such instance of the forementioned is seen in the photo below:
 7

 8

 9
10

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 1     52. From the day Plaintiffs met Juliet and until the day of departure from
 2
          Panama, Juliet Doherty aggressively pursued Plaintiffs and was overly
 3

 4        persistent in her sexual advances toward Dusty and Taylor, which

 5        ultimately took a dark turn into sexual assault and abuse.
 6
       53. For example, one of the first incidents pertaining to Juliet’s persistent and
 7

 8        unwanted sexual behavior toward Plaintiffs occurred at a dinner event
 9        with the entire cast and the host of the Panama Ballet Festival present.
10
       54. Plaintiffs were already seated at the table when Juliet chose to sit next to
11

12        Dusty, placing Dusty and Juliet adjacent from Taylor as Taylor was sitting
13        at the head of the table.
14
       55. Prior to eating dinner, cocktails were ordered by different members of the
15

16        group and the host to cheers to and celebrate the success of the Festival.
17     56. Throughout the entirety of the dinner, Juliet was inappropriately touching
18
          Dusty under the table and continuously placing her hand on Dusty’s leg,
19

20        rubbing her leg and sliding it up her inner thigh as Dusty repeatedly
21
          removed Juliet’s hand from her body and shifted her weight in the
22
          opposite direction.
23

24     57. Taylor noticed Dusty’s concern and erratic movement of Dusty’s right
25
          arm as she swatted Juliet’s left hand away from her leg.
26

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 1     58. Taylor then texted his wife and said, “What the fuck is she doing”, and
 2
          Dusty, (who felt extremely uncomfortable with Juliet’s behavior), stood
 3

 4        up and excused herself to the restroom to remove herself from the

 5        uncomfortable situation.
 6
       59. While in the restroom, Dusty texted Taylor that Juliet was aggressively
 7

 8        touching her under the table and that she wouldn’t stop even after
 9        removing her hand and forcing it away, on more than one occasion.
10
       60. Dusty then asked Taylor if he would say out loud at the table that he and
11

12        his wife wanted to go sit at the bar so that Dusty could escape the
13        situation professionally.
14
       61. After dinner, the host took the group from dinner to a nightclub but with
15

16        extreme social anxiety, Taylor immediately exited the club with Dusty
17        only seconds after entering the club due to the capacity being
18
          overwhelmingly exceeded.
19

20     62. Juliet instantly followed Plaintiffs out of the nightclub at which point the
21
          host asked them what they would like to do instead and the Buttons stated
22
          they were just going to relax at the hotel pool but that everyone else
23

24        should stay at the club and have a good time; Juliet added to the
25
          conversation, “Yes please, drinks and pool!”.
26

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 1     63. Upon leaving the night club, Plaintiffs and Juliet Doherty were driven
 2
          back to the hotel by Ivan Sepulveda and his son and they all went together
 3

 4        to the hotel pool bringing snacks and drinks to the pool.

 5     64. Juliet again, overserves herself at the pool and becomes extremely
 6
          flirtatious with both Plaintiffs in the pool, continuously and aggressively
 7

 8        climbing onto the backs of both Plaintiffs, each time, touching them
 9        inappropriately under the water and begging for them to “come play”.
10
       65. At some point in the pool, Juliet swam over to Taylor and grabbed his
11

12        penis under the water and Taylor immediately swatted her hand away and
13        firmly told Juliet to “stop!”; Juliet laughed and continued to grab Taylor’s
14
          hand, insisting that he “come play”.
15

16     66. Plaintiffs removed Juliet each time from their backs and she repeatedly
17        tried to stay on them as they swam away, trying to keep a professional
18
          distance without causing a scene in front of the host and his son who were
19

20        witnessing her behavior in real time.
21
       67. Juliet was persistent in pursing both Plaintiffs, even after Taylor noticed
22
          Dusty’s uncomfortable panic and loudly tells Juliet again, on multiple
23

24        occasions to “Stop”, “Stop now”, “This is extremely unprofessional, Ivan
25
          and his son are watching you do this, stop” “This is not going to happen”
26
          “We know what you are doing and it’s not happening”.
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 1     68. At one point Juliet hopped on Dusty’s back and placed her hands on
 2
          Dusty’s breasts while wrapping her legs around Dusty in the water and
 3

 4        kissed her on the neck.

 5     69. While on Dusty’s back, Juliet whispered to Dusty that she “know[s] about
 6
          Sage” and proceeded to touch her vagina under the water.
 7

 8     70. It was clear that Juliet had no intention of stopping her aggressive sexual
 9        behavior and that although she was under the influence of alcohol, her
10
          desperate agenda to seemingly replace Sage Humphries and initiate a
11

12        threesome with Plaintiffs was abundantly clear.
13     71. After Juliet’s multiple advances at dinner and the pool, Dusty and Taylor,
14
          (knowing that Juliet knew of the relationship they had with Sage
15

16        Humphries), told Juliet multiple times in the pool, “I know what you are
17        trying to do, please stop, this is never going to happen”, as it was
18
          abundantly clear from her actions that her goal was to have a threesome
19

20        relationship with Dusty and Taylor, just as her friend Sage Humphries
21
          did.
22
          • The following photos are a sequence of screenshots from a video
23

24           which show Juliet Doherty aggressively climbing onto the back of
25
             Plaintiff Dusty Button on the night that Juliet Doherty falsely claimed
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 1     72. Following the first incident in the pool, Dusty once again removed
 2
          herself from the discomfort and told Taylor she was going up to the room
 3

 4        to get waters for everyone at the pool, proceeded to leave the pool and

 5        heads up the elevator to their room.
 6
       73. Within minutes, Juliet told Taylor that she has to use the restroom, exits
 7

 8        the pool, bypasses the restroom located beside the pool and enters the
 9        hotel lobby instead, still soaking wet and in her bathing suit.
10
       74. Taylor then texts his wife to tell her that Juliet oddly left the pool and that
11

12        he had no idea why she went into the hotel however, Dusty’s phone was
13        left by the pool.
14
       75. Dusty, having retrieved the waters for everyone from the room, opened
15

16        the hotel room door to go back to the elevator and to Dusty’s surprise,
17        Juliet had followed her upstairs and was standing outside the door.
18
       76. Dusty told Juliet she should stay in the room and proceeded to walk to the
19

20        elevator and Juliet again, followed her to the elevator.
21
       77. It was then that Juliet grabbed Dusty’s face, pushing her back into the
22
          wall and pushing her face against Dusty’s in an attempt to kiss her.
23

24     78. Dusty, hands full of waters, turned her head, nudging Juliet with her
25
          shoulder and says to Juliet, “Juliet stop, you’re drunk”.
26

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 1     79. Dusty went back to the pool with the waters and Juliet continued to
 2
          follow her.
 3

 4     80. Once back at the pool, Juliet continued to make herself drinks until she

 5        reached a point of feeling sick.
 6
       81. Juliet then went to the restroom located outside, beside the pool and
 7

 8        began to vomit.
 9     82. Dusty left the pool to check on her and make sure she was okay, giving
10
          her water and holding her hair back.
11

12     83. Afterward, Juliet exited the pool area and proceeded to enter the lobby
13        again and goes to the Buttons’ hotel room, where she stayed in the shower
14
          for over an hour trying to sober up as the Buttons remained at the pool to
15

16        clean up the area with Ivan Sepulveda and his son, Diego.
17     84. The Buttons then part with Ivan and his son and then proceeding to go
18
          back up to the room.
19

20     85. Dusty knocked on the bathroom door to make sure Juliet was okay.
21
       86. About twenty to thirty minutes later, while Dusty and Taylor were
22
          already in their bed to sleep, Juliet exited the bathroom soaking wet and
23

24        again, in only a towel, laid on her bed and went to sleep.
25
       87. The following morning, Juliet stated that she was extremely hungover
26
          and needed coffee.
27

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 1     88. Plaintiffs and Juliet went to get coffee at the mall beside the hotel where
 2
          all three proceeded with the day as if nothing happened the night before
 3

 4        and where Plaintiffs understood that Defendant Juliet Doherty must have

 5        been going through some form of sexually driven identity crisis.
 6
       89. Plaintiffs were recently provided text messages between Ms. Doherty and
 7

 8        son of Panama Ballet Festival owner, Diego Sepulveda from the day
 9        following the evening at the pool whereas, Diego even addresses that he is
10
          also feeling hungover and that he “woke up dizzy” from drinking the
11

12        night before.
13     90. Ms. Doherty was never drugged and she knew that; and in fact, was
14
          intoxicated the evening before in celebration of a good time in Panama
15

16        which she later stated to Diego Sepulveda.
17     91. Ms. Doherty knew that she was never drugged but intentionally harmed
18
          Plaintiffs by making this false and defamatory statement on numerous
19

20        occasions to various employers, sponsors and contractors of the Plaintiffs
21
          and to various third-parties including but not limited to Sage Humphries
22
          in 2023.
23

24     (The photos below are indicative of the days and times spent in the days
25
       following the night in which Juliet made her malicious and frivolous claims)
26

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 1     92. Plaintiffs never pursued a criminal report against Juliet Doherty as, at the
 2
          time, it seemed she was battling her own demons in regard to her
 3

 4        sexuality and simply acted out when intoxicated however, Juliet’s actions

 5        from 2018 until 2021 prevented Plaintiffs from seeking legal recourse
 6
          against her as the defamatory and false rumors were so traumatizing that
 7

 8        Plaintiffs were prevented from telling their truth to an audience who had
 9        already been swayed by conspiracy, defamatory communications and
10
          publications which stated that Juliet was the victim, not the Plaintiffs.
11

12     93. In fact, Plaintiffs did seek advice from a detective they knew in
13        Massachusetts and were advised that civil recourse would be the best
14
          option whereas, even though Defendants’ allegations were false and
15

16        defamatory, she made her statements first so it may look as though
17        Plaintiffs were only stating their truth as revenge or in an attempt to
18
          discredit her statements and that it would most likely be ineffective to file
19

20        a criminal report.
21
       94. Following the events of the night in the pool; the host, Ivan Sepulveda
22
          and his son invited the Buttons and Juliet to go to an island which was
23

24        nearly two and half hours of travel away.
25
       95. Mr. Sepulveda escorted the three around Panama for the rest of the trip,
26
          for about three days, to various locations to sight see.
27

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 1     96. Juliet even sent Dusty an email stating, “U r my angellll”, when thanking
 2
          her for editing the music she forgot to edit for her performance in Panama.
 3

 4     97. There was never any mention of the night at the pool as Plaintiffs let it go

 5        and Juliet never brought up her behavior, presumably because she did not
 6
          remember just how aggressive her behavior had been and therefore,
 7

 8        Plaintiffs did not want her to feel shame for her actions as apart from that
 9        night, she seemed to be a genuinely good friend.
10
       98. During this time, Mr. Sepulveda prescheduled and contracted Dusty and
11

12        Taylor back to Panama for a separate event which he wanted to hold in
13        February of 2019 and additionally asked Juliet if she would want to join
14
          as well citing that she seemed to be having a great time following her
15

16        decision to remain in Panama alongside Plaintiffs, to which all three were
17        looking forward to coming back to Panama and therefore obliged.
18
       99. During Plaintiffs’ time in Panama, they sent numerous photos and videos
19

20        of Juliet’s performance, taking Dusty Button’s dance class which was
21
          taught to Panama Ballet Festival students and her time in Panama
22
          sightseeing to her mother, Krista, as her mother commented to Dusty
23

24        Button on Instagram after posting a series of photos and videos, (some of
25
          which Juliet were in), asking if Plaintiffs would send her all the photos
26

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 1        and videos because Juliet was “so bad” at sending her any photos or
 2
          videos.
 3

 4     100.      Without question, Plaintiffs sent all photos and videos from

 5        Panama to her mother as a nice gesture.
 6
       101.      On the last day of the trip in Panama, Defendant stated how much
 7

 8        fun she had with Ivan and his son, as well as the Buttons, including in a
 9        video where she was wearing and borrowed one of the Buttons’ branded
10
          hoodies and relayed to the camera “I’m so happy right now!”.
11

12        • The photo below was taken on July 14th, 2018, the day of departure
13
              from Panama.
14

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 1     102.      This statement was made just before Plaintiffs and Juliet were
 2
          driven to the airport as their trip had concluded, after all the events
 3

 4        occurred.

 5     103.      Once at the airport, Juliet and Plaintiffs went to separate gates but
 6
          prior to going their separate ways Juliet gave both Plaintiffs a hug and
 7

 8        said “I love you guys” and “I’ll text you!”.
 9     104.      Juliet never brought up her behavior to anyone on the night she
10
          claims she was “drugged and sexually assaulted”, because she was not; in
11

12        fact, on July 19th, 2018, Juliet Doherty “liked” a photo of Plaintiff Dusty
13        Button’s on Instagram, over a week after she falsely alleged Plaintiffs
14
          drugged her and she was assaulted, as seen below:
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15
       105.      Plaintiffs have since discovered through Nevada litigation
16
          discovery that on July 12th, 2018, just two days prior to the end of the trip
17

18        in Panama, Juliet received further communication from Defendant, Luis
19
          Pons, who was good friends with Sage Humphries and her mother, as well
20

21
          as her and Juliet Doherty’s personal photographer and “good friend”.

22     106.      Mr. Pons is known for photographing young women in dance as
23
          well as taking advantage of those seemingly professional relationships
24

25
          with young girls, often taking the opportunity to “get closer” to those

26        young girls by way of sending inappropriate text messages to those he
27

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 1        photographs including but not limited to Defendant Juliet Doherty, as she
 2
          stated to Plaintiffs in Panama.
 3

 4     107.       Ms. Doherty created her narrative only after speaking with

 5        Defendant Luis Pons and after hearing intentional defamatory statements
 6
          from that third party to then plot against Plaintiffs based on the
 7

 8        intentionally false and defamatory statements made by Luis Pons at the
 9        end of her time in Panama.
10
       108.       Defendant did not even assert her outrageous and salacious lies,
11

12        until three years later on December 13th, 2021, five months after she
13        conspired with her good friend and after ex-girlfriend of Plaintiffs, Sage
14
          Humphries, brought forth her civil lawsuit against Plaintiffs on July 28th,
15

16        2021.
17     109.       For years, Juliet Doherty slandered and harassed Plaintiffs
18
          including by spreading malicious and defamatory rumors that Dusty and
19

20        Taylor “kind of drugged her” and “raped” her, though rape was not even
21
          asserted in her own Nevada complaint.
22
       110.       Juliet Doherty knowingly, willingly and maliciously harmed and
23

24        defamed Plaintiffs including by stating that Plaintiffs had “pending
25
          criminal charges” against them and that Plaintiffs were “dangerous”
26
          people.
27

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 1     111.       Juliet Doherty knowingly, willingly and maliciously harmed and
 2
          defamed Plaintiffs including by stating that Plaintiffs “kind of drugged
 3

 4        her”.

 5     112.       Juliet Doherty knowingly, willingly and maliciously harmed and
 6
          defamed Plaintiffs including by telling Ivan Sepulveda, (director of
 7

 8        Panama Ballet Festival):
 9        “As I have discovered, during the end of my trip in Panama, both of the
10
          buttons have serious criminal charges pending against them. I do not
11

12        want to be connected to them in anyway”.
13     113.       Ms. Doherty never stated to Mr. Sepulveda that she was drugged
14
          or assaulted by the Buttons nor did she state that she did not want to be
15

16        connected to them due to any reason other than she “discovered” that
17        “both of the buttons have serious criminal charges pending against them”.
18
       114.       That “discovery” was from Luis Pons intentionally false and
19

20        defamatory statements made to Juliet Doherty after speaking to Sage
21
          Humphries and her mother as proven through communications between
22
          them.
23

24     115.       This statement proves that Juliet Doherty not only maliciously and
25
          willingly defamed Plaintiffs by falsely stating there were “criminal
26
          charges” against them, (there were not and never have been) but that she,
27

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 1        herself, did not file criminal charges against either Taylor or Dusty and
 2
          further, intentionally harmed Plaintiffs by falsely stating some other
 3

 4        criminal charges were pending against them.

 5     116.      Juliet Doherty knowingly, willingly and intentionally defamed
 6
          Plaintiffs including by telling Ivan Sepulveda, “they are not good people”,
 7

 8        “for the reputation of your festival I don’t think you want to be connected
 9        to them” and “you should detach from them in certain way so it doesn’t
10
          get too messy”.
11

12     117.     Juliet coerced and convinced Ivan Sepulveda to terminate his
13        relationship and disassociate from Plaintiffs by making intentionally false
14
          and defamatory statements to harm Plaintiffs and their reputations.
15

16     118.      Juliet Doherty was the direct cause of Ivan Sepulveda terminating
17        his relationship with Plaintiffs including the termination of the previously
18
          planned business relations between Mr. Sepulveda and Plaintiffs.
19

20     119.      Additionally, Juliet Doherty knowingly, willingly and intentionally
21
          defamed Plaintiffs by stating to a third-party and son of Master Ballet
22
          Academy owner, Slawek Wozniak, “remember they kind of drugged me
23

24        so probably better to stay away from them”; whereas Mr. Wozniak
25
          replied, “kind of?” and “u are not sure?”.
26

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 1     120.     Mr. Wozniak’s message was in response to a conversation had with
 2
          Ms. Doherty about seeing Plaintiffs in Cancun for another festival where
 3

 4        Plaintiff Dusty Button was invited to guest perform and teach.

 5     121.     This message was not discovered until the discovery process in the
 6
          Nevada litigation took place in 2023.
 7

 8     122.     Plaintiffs have never purchased drugs and do not do drugs of any
 9        kind and especially would not have crossed international waters with
10
          drugs or purchased drugs in a foreign country, especially one in which
11

12        they cannot communicate with the locals who would be responsible for
13        selling those drugs nor did they have a mode of transportation in which to
14
          retrieve such “drugs”.
15

16     123.     Juliet Doherty’s allegations are so egregious as she intentionally
17        harmed the reputation of Plaintiffs to cover up her behavior after over
18
          serving herself in Panama and acting out.
19

20     124.     Juliet Doherty knew that she was never drugged but rather that she
21
          drank too much on her own at dinner and then again at a pool party
22
          surrounded by other witnesses and instead made up a salacious and
23

24        disgusting rumor that Plaintiffs drugged and sexually assaulted her in
25
          order to preserve her reputation after she aggressively pursued Plaintiffs.
26

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 1     125.      There have never been criminal charges against Plaintiffs, pending
 2
          or otherwise.
 3

 4     126.      The reason Juliet Doherty created a narrative that did not exist, in

 5        conspiracy with Sage Humphries, was solely to destroy the careers,
 6
          reputations, livelihoods and business relations of Plaintiffs as retaliation
 7

 8        for being rejected so many years ago and because Juliet knew that
 9        Plaintiffs’ allegations against her would be made known and publicized
10
          during the course of the Nevada litigation.
11

12     127.      Juliet Doherty’s lawsuit against Plaintiffs names claims which
13        were made three years after July 14th, 2018, (the end of the Panama trip),
14
          whereas, Juliet Doherty never stated she was a “victim” of Dusty or
15

16        Taylor Button because she was not.
17     128.      Juliet Doherty intentionally harmed the reputation of Plaintiffs,
18
          placing the blame of her embarrassing actions on Plaintiffs, exploring her
19

20        own sexuality as she had complete understanding of the Button’s previous
21
          relationship with Sage Humphries and attempted to become the “next
22
          Sage”, ultimately being rejected on multiple occasions.
23

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 1       129.          The Buttons regret ever allowing Sage Humphries to infiltrate their
 2
             marriage and manipulate them in 2017 and had no intention of ever
 3

 4           allowing another to do the same again7.

 5       130.          Juliet Doherty knowingly, willingly and maliciously stated to Ivan
 6
             Sepulveda that he should distance himself from his relationship with
 7

 8           Plaintiffs and that he should not work with them, resulting in the
 9           termination of business relations including that her defamatory statements
10
             about Plaintiffs resulted in harming the reputation of Plaintiffs, lowering
11

12           their professional reputation in the community and deterring third persons
13           from associating or dealing with them including termination of any and all
14
             business, contracts or employment.
15

16       131.          Juliet Doherty knowingly and maliciously made her defamatory
17           statements with no factual basis.
18
         132.         In hindsight, Plaintiffs should have filed charges with law
19

20           enforcement against Juliet Doherty the moment they returned from
21
             Panama for sexual harassment and sexual assault but unfortunately, they
22
             relinquished the thought assuming that Juliet was drunkenly battling
23

24           demons of her own sexuality and due to the nature of her actions having
25

26   7
      Plaintiffs recently participated in Oral Argument in the Massachusetts Appeals Court as they filed against Sage
     Humphries and her attorneys for fraud on the Court, committed in 2017 -
27   https://m.youtube.com/watch?v=vnrbvTXQKUU&pp=ygUlbWFzc2FjaHVzZXR0cyBhcHBlYWxzIGNvdXJ0I
     G9jdG9iZXIgOA%3D%3D
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 1           taken place outside of the United States of America, jurisdiction would be
 2
             an issue.
 3

 4       133.         Plaintiffs knew what Juliet Doherty was attempting to accomplish

 5           but had no idea of her planned scheme against them, in conspiracy with
 6
             Sage Humphries, the Defendants, and the parents of Sage Humphries8.
 7

 8       134.         Juliet Doherty’s aggressive pursuit of Plaintiffs and sexual
 9           advances were intentionally calculated in conspiracy with Sage
10
             Humphries to manipulate and harass Plaintiffs including by making
11

12           Plaintiffs feel so uncomfortable that they could not ever speak of Juliet’s
13           actions, as she acted as if nothing happened for the duration of the
14
             Panama trip and also stated that she “knew about Sage Humphries” but
15

16           never stated what she meant when she said she, “knew”.
17       135.         Juliet Doherty continued to share the images and videos taken by
18
             Taylor Button in Panama on her social media even after leaving Panama
19

20           on July 14th, 2018 with captions reflecting the “fun” she had while in
21
             Panama with the Buttons, Ivan Sepulveda and his son, Diego.
22
         136.         Following the trip in Panama, Juliet Doherty’s mother and
23

24           Defendant Krista King-Doherty, sent Plaintiffs a text message telling
25

26
     8
      Plaintiffs are suing Maura Melcher, (Sage Humphries attorney in Massachusetts, in the District Court of
27   Massachusetts – 1:24-cv-12632; Button et al v. Melcher) and her parents, along with two others in the Southern
     District Court of California – 8:24-cv-01730-JVS-DFM – Button et al v. Micah Humphries.
28

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 1        Plaintiffs she looked forward to seeing them again and thanked them for
 2
          the photos and videos of Juliet’s time in Panama, once again, and
 3

 4        additionally thanked Plaintiffs for being so kind to Juliet and that she was

 5        thrilled they all finally met in person.
 6
       137.      Plaintiffs never heard from Krista King-Doherty or Juliet Doherty
 7

 8        again after about a week following their time in Panama but never thought
 9        anything of it as they had only met and spent time with Juliet for a total of
10
          six days, three of which were occupied by rehearsals and performance
11

12        matters.
13     138.      Plaintiffs have not spoken to Juliet Doherty or her mother since the
14
          summer of 2018 but have been harassed, defamed and severely harmed by
15

16        the defamatory and false statements made by the Defendants for years and
17        leading up to Juliet’s complaint filed in Nevada.
18
           B. Juliet Doherty’s Frivolous and Malicious Complaint Filed in the
19

20                                   Nevada District Court
21
       139.      On December 13th, 2021, Juliet Doherty filed a frivolous and
22
          fraudulent complaint against Plaintiffs in the Nevada District Court as the
23

24        sixth litigant to join Sage Humphries’ fraudulent lawsuit against the
25
          Plaintiffs.
26

27

28

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 1     140.     Juliet Doherty’s allegations were maliciously and intentionally filed
 2
          to harm the lives and careers of Plaintiffs including by willingly and
 3

 4        knowingly making false and defamatory statements within her complaint.

 5     141.     Ms. Doherty’s complaint was already untrue in and of itself
 6
          however, through the discovery process in Nevada, Plaintiffs further
 7

 8        proved her complaint to be frivolous, fraudulent and malicious as even her
 9        defamatory complaint was inconsistent with the facts provided by way of
10
          documented video, photos and messages.
11

12     142.     First, Ms. Doherty titles her section of the complaint, “The Buttons
13        Drugged and Molested Juliet Doherty”.
14
                • Juliet Doherty never stated to Mr. Sepulveda, Mr. Wozniak,
15

16                 Defendant Luis Pons or any other party prior to receiving
17
                   communications from Defendant Luis Pons, that she was
18
                   drugged or molested in Panama; in fact, Ms. Doherty states that
19

20                 she was “kind of” drugged and furthermore, never states she was
21
                   molested, because she was not.
22
                • Ms. Doherty told Mr. Sepulveda that Plaintiffs had “criminal
23

24                 charges pending” against them, but did not file any charges
25
                   against Plaintiffs and instead, stated she did not want to be
26

27
                   “connected” to the Buttons in anyway; not because the Buttons

28

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 1                  molested or drugged her, (they did not), but because she
 2
                    knowingly and falsely stated that criminal charges were pending
 3

 4                  against them by others, (which they were not).

 5               • Ms. Doherty knew that her statements were false and
 6
                    defamatory, that they would harm Plaintiffs but made them
 7

 8                  anyway.
 9     143.      Juliet Doherty states in her complaint, “The Buttons encouraged
10
          Juliet to share personal details about her life with them. Dusty told Juliet
11

12        that she felt like Juliet’s “big sister”.
13
                 • The statements made in the particular set of allegations make no
14
                    common sense as Plaintiffs only knew Juliet Doherty for a total
15

16                  of six days in Panama, three of which were occupied by
17
                    rehearsal and performances pursuant of the Panama Ballet
18
                    Festival.
19

20               • Plaintiff Dusty Button would have never referred to herself as a
21
                    “big sister” to Ms. Doherty, who she had only met just three
22

23
                    days prior.

24     144.      Juliet Doherty’s complaint states, “At one point, the Buttons
25
          showed Juliet photos of a room full of guns that the Buttons had at their
26

27        house”.

28

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 1              • Plaintiffs have never shown Ms. Doherty a photo of a room full
 2
                   of guns at their home however, Plaintiffs posted multiple photos
 3

 4                 on their social media accounts prior to meeting Juliet Doherty
 5                 which showed a display of airsoft toy prop guns which were
 6
                   previously used for advertising and marketing for various
 7

 8                 companies on social media.
 9
                • Juliet Doherty lied when she stated Plaintiffs specifically
10
                   showed her a room “full of guns” as she conspired with Sage
11

12                 Humphries and her attorney, Sigrid McCawley, to mislead the
13
                   media, the press, the public and any potential juror to believe
14
                   Plaintiffs were using a photo of guns to intimidate her.
15

16              • Juliet Doherty’s attorneys intentionally conspired with Ms.
17
                   Doherty when filing her complaint as they were already in
18
19
                   possession of over fifty receipts proving the “guns” were plastic

20                 toys which Plaintiffs already provided in 2017 to Sage
21
                   Humphries and which Sage Humphries took photos with and
22

23
                   posted on her social media, herself, years prior.

24              • Ms. Doherty knew that this specific allegation within her
25
                   complaint was intentionally and knowingly false as she
26

27

28

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 1                         conspired with her attorney, Sigrid McCawley9, to
 2
                           spontaneously state that Plaintiffs specifically showed her a
 3

 4                         photo of a “room of guns”, in order to claim she was

 5                         “intimidated” by Plaintiffs, mimicking the complaints of two
 6
                           other Plaintiffs, Sage Humphries and Jane Doe 1 (who Plaintiffs
 7

 8                         have never met or heard of before in their entire lives).
 9                     • In 2017, Juliet Doherty’s good friend, Sage Humphries’, parents
10
                           (who had been to Plaintiffs’ apartment) called in a false 911 call
11

12                         to the Somerville Police Department in Massachusetts claiming
13
                           Plaintiffs owned over fifty automatic assault weapons, hand
14
                           grenades and land mines after they kidnapped their own
15

16                         daughter because they did not approve of her relationship with
17
                           Plaintiffs and after Sage Humphries refused to end her
18
                           relationship with Plaintiffs.
19

20                     • Sage Humphries and her parents knew the “guns” were plastic
21
                           toys as Ms. Humphries did a photo shoot with these plastic
22
                           props as well as played with them on many occasions prior to
23

24                         and after she was present to witness Plaintiffs purchasing all of
25

26

27   9
      Plaintiffs have already filed a federal lawsuit against Sigrid McCawley in the Southern District Court of Florida
     – 0:24-cv-60911
28

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 1                 these plastic photography props and witnessed the arrival of
 2
                   these toys and which is documented in numerous videos and
 3

 4                 photos as well as by her own admissions in her deposition with

 5                 Plaintiffs.
 6
                • Ms. Humphries was in possession of any and all receipts of
 7

 8                 these toys in 2017 and 2018 when falsely stating to law
 9                 enforcement and to the Court that Plaintiffs possessed over fifty
10
                   automatic weapons and were selling them illegally in California.
11

12              • Ms. Humphries’ attorneys conspired with Juliet Doherty to state
13
                   she was shown a photo of a “room of guns” however, Plaintiffs
14
                   never showed a photo to Ms. Doherty in the six days they were
15

16                 with her after just meeting her.
17
                • Additionally, Jane Doe 1, (who Plaintiffs have never met or
18
19
                   heard of in their entire lives), claimed in her complaint filed

20                 on September 23rd, 2021 that she was raped at gunpoint by
21
                   Plaintiffs however, after three years, Plaintiffs have not only
22

23
                   proven they have never met Jane Doe 1 but that her allegations

24                 are literally impossible including because she claims she was
25
                   raped in a building that did not exist, one singular time in three
26

27

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 1                         different years and when Plaintiffs did not even own this
 2
                           collection of toy airsoft props used for marketing.
 3

 4                    • Jane Doe 1 plagiarized Ms. Humphries’ complaint after seeing
 5                         the allegations on Instagram in a public announcement posted by
 6
                           Sage Humphries’ best friend, Madison Breshears10, who
 7

 8                         initiated defamatory and false statements against Plaintiffs three
 9                         months prior to the New York Times publishing Sage
10
                           Humphries’ allegations before Plaintiffs were even served.
11

12        145.        Juliet Doherty’s complaint states, “The Buttons also emphasized
13
             their power in the dance world and spoke negatively about their enemies
14
             in the dance community” and “The Buttons suggested that they had the
15

16           ability to negatively impact individuals’ dance careers”.
17
                      • These statements in their entirety come with no foundation
18
                           whatsoever, whereas Plaintiffs did not have “enemies in the
19

20                         dance community” or suggest that they “had the ability to
21
                           negatively impact individuals’ dance careers” and Plaintiff
22
                           Taylor Button was himself not involved in the dance industry in
23

24                         any capacity.
25

26

27   10
       Plaintiffs have already filed a federal lawsuit against Madison Breshears in the Southern District of New York
     – 1:24-cv-03757-MKV.
28

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 1              • Plaintiffs knew Juliet Doherty for only six days and the
 2
                   friendship which was somewhat created was in no way on the
 3

 4                 level in which Plaintiffs would confide in or speak to Juliet
 5                 beyond surface level conversation.
 6
                • These exaggerated and blatantly false statements in her
 7

 8                 complaint are entirely and intentionally false.
 9
                • Additionally, Ms. Doherty had more power in the dance industry
10
                   than either Plaintiff as she was far more well-known and had a
11

12                 larger following on social media than either of the Plaintiffs.
13
       146.     Ms. Doherty’s complaint states, “One evening in Panama, Juliet
14
          and the Buttons went to the hotel pool. The Buttons made Juliet a drink”.
15

16              • Juliet Doherty intentionally and maliciously left out that
17
                   witnesses were at the pool with Ms. Doherty and Plaintiffs and
18
19                 that Juliet was never alone with the Buttons at the pool.

20              • The Buttons did not make Juliet a drink as alcohol was provided
21
                   at the pool whereas, Ms. Doherty made herself drinks on
22

23                 multiple occasions.

24              • Juliet overserved herself, including because she already had
25
                   drinks prior to drinking at the pool and was noticeably “tipsy”
26

27                 before arriving at the pool.
28

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 1              • As stated supra, Juliet Doherty aggressively pursued Plaintiffs
 2
                   and sexually assaulted them that evening in the pool.
 3

 4     147.     Juliet Doherty stated in her complaint, “Juliet soon felt
 5        incapacitated and like she did not have control over her body. Juliet
 6
          believes she was drugged by the Buttons.”
 7

 8              • As previously stated, the Buttons did not “drug” Juliet.
 9
                • The Buttons do not do drugs and have never possessed them.
10

11
                • Juliet Doherty over served herself that evening and was drunk

12                 however, Juliet still had control of her body and continued to
13
                   aggressively pursue Plaintiffs sexually and without shame or
14

15
                   embarrassment while doing so.

16     148.     Juliet Doherty stated in her complaint, “While in the pool, Dusty
17
          began rubbing Juliet’s vagina without her consent. Dusty then penetrated
18
19        Juliet with her hand.”

20              • These disgusting and outrageous lies by Juliet Doherty caused
21
                   Plaintiffs extreme distress as she maliciously and knowingly
22

23                 made defamatory and false allegations against Plaintiffs, in

24                 addition to the defamatory statements made supra.
25

26

27

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 1              • Juliet knew that these allegations were formed from her own
 2
                   actions against Dusty but instead, falsely alleged that she was
 3

 4                 the victim of the very assault the Plaintiffs were victims to.
 5
                • Juliet Doherty, (as depicted in numerous photos and videos of
 6
                   the night at the pool), harassed and aggressively pursued
 7

 8                 Plaintiffs in the pool that evening including continuously
 9
                   jumping on the backs of Plaintiffs and touching them
10
                   inappropriately.
11

12              • It was Juliet Doherty that molested Plaintiff Dusty Button as she
13
                   placed her hands on Dusty’s chest while she was on her back,
14
                   whispering “I think I like you”, in her ear and that she “knew
15

16                 about Sage” while continuing to assault Dusty after Dusty told
17
                   her to stop.
18
19              • Juliet Doherty swam to Plaintiff Taylor Button on a number of

20                 occasions, aggressively touching and grabbing him
21
                   inappropriately under the water whereas, Taylor told Juliet to
22

23                 “stop”, “this is not going to happen” and “this is unprofessional,

24                 Ivan and his son are watching you do this”.
25

26

27

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 1              • Juliet Doherty made numerous sexually driven statements to
 2
                    Plaintiffs as she continued to aggressively pursue, harass and
 3

 4                  assault the Plaintiffs including, “c’mon, you know you want to”.
 5     149.     Juliet Doherty’s complaint states, “Juliet felt overwhelmed and
 6
          scared. Juliet attempted to escape the pool, but she lost control of her
 7

 8        body and fell. This fall caused Juliet to suffer extensive bruises and
 9        scrapes on her leg”.
10
                • Juliet never “attempted to escape the pool”, but instead followed
11

12                  Plaintiff Dusty Button up to her room and back down to the
13
                    pool.
14
                • Juliet never “lost control of her body and fell” and in fact, never
15

16                  fell at all. Instead, walked out of the pool on her own stating she
17
                    needed to use the restroom which was located outside, directly
18
19
                    by the pool.

20              • As seen in photographs from the photoshoots following this
21
                    evening, Juliet did not suffer extensive bruises or scrapes
22

23                  because she did not fall and her statements are blatant lies.

24     150.     Juliet Doherty’s complaint states, “Juliet then went to the hotel
25
          room. Juliet locked herself in the bathroom and continued vomiting. The
26

27        Buttons repeatedly knocked on the bathroom door and told Juliet to let

28

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 1        them in, but Juliet kept the door locked because she did not feel safe with
 2
          the Buttons.”
 3

 4              • Juliet did go to the hotel room as stated, supra, and the Buttons
 5                 helped Ivan and his son Diego clean the pool area before
 6
                   heading back up to the room.
 7

 8              • Once the Buttons arrived back to their room, Juliet was in the
 9
                   bathroom, (allegedly showering, as the shower was on), but the
10
                   Buttons did not “repeatedly knock and tell Juliet to let them in”.
11

12                 Instead, Dusty knocked once to ask if Juliet was okay after
13
                   vomiting at the pool restroom and when she heard nothing, she
14
                   asked once more whereas, Juliet stated she was okay and “I
15

16                 think I drank too much”.
17
                • Dusty told Juliet to let them know if she needed anything and
18
19
                   proceeded to get herself ready for bed.

20     151.     Juliet Doherty’s own complaint contradicts itself here as she states
21
          next, “Juliet then passed out on the bathroom floor. When Juliet woke up,
22

23
          she was in bed in a towel lying next to Dusty. Taylor was also present in

24        the room with Juliet that night.”
25
                • Juliet states she locked herself in the room and passed out on the
26

27                 floor but her next statement would have required Plaintiffs to

28

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 1                 break into the bathroom and “retrieve” her and place her in the
 2
                   bed next to Dusty while Taylor was only “present in the room
 3

 4                 with Juliet that night”.

 5              • It is without question that Taylor was “present” as he, and his
 6
                   wife were letting Juliet stay in their room however, Juliet’s
 7

 8                 fabrication of the entirety of the complaint makes no common
 9                 sense, particularly the statements stated above.
10
       152.     On August 23rd, 2023, Plaintiffs deposed Sage Humphries who
11

12        stated under oath that Juliet Doherty told her that she was raped by both
13
          Plaintiffs and that she woke up naked and afraid.
14
       153.     Juliet did not even claim these allegations in her own complaint and
15

16        yet, defamed the Plaintiffs in 2023 again by telling Ms. Humphries that
17
          she was raped.
18
       154.     Sage Humphries’ deposition transcript proves that Juliet Doherty
19

20        not only made defamatory remarks but that she continued to embellish her
21
          story from the time the actual events took place in Panama, to her text
22
          messages with third parties in 2018 and 2019 and finally to Sage
23

24        Humphries, herself prior to Ms. Humphries’ deposition in 2023.
25

26

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 1     155.      Juliet Doherty knowingly and willingly lied to the Court, the public
 2
          and to various third parties on numerous occasions over the course of five
 3

 4        years, and continues to do so.

 5     156.      Juliet Doherty’s complaint states “Juliet left Panama and returned
 6
          to the U.S. later that day”; this statement is entirely false as Juliet did not
 7

 8        leave Panama that day, as shown by documented metadata, Juliet Doherty
 9        spent the following days with Plaintiffs and with Ivan and his son, Diego,
10
          sightseeing and venturing around Panama.
11

12     157.      When Juliet Doherty did leave Panama, it was on July 14th, 2018
13        and she departed the hotel with Plaintiffs, as Ivan and his son drove them
14
          all to the airport that day.
15

16     158.      On the final day, as stated supra, Juliet Doherty asked if she could
17        keep Dusty and Taylor’s sweatsuit which was from their brand labeled
18
          “Button Brand” because she thought it was “so comfy”.
19

20     159.      The Buttons let Juliet have the clothing and she wore it to the
21
          airport.
22
       160.      In a short video from Plaintiffs phone, Juliet Doherty stated on the
23

24        final day just minutes before departing for the airport, “I’m so happy!”.
25
       161.      Juliet Doherty was never assaulted, drugged or intimidated by
26
          Plaintiffs and her fraudulent, frivolous and malicious complaint and
27

28

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 1        defamatory statements ruined the livelihoods, careers, reputations and
 2
          business relations of Plaintiffs as retaliation against them.
 3

 4     162.     Juliet Doherty knew that her actions were false and fraudulent.

 5     163.     Juliet Doherty made her defamatory statements with actual malice
 6
          as she knew that nothing happened to her in Panama but she made her
 7

 8        defamatory statements anyway.
 9     164.     Juliet Doherty knew that in fact, she assaulted, harassed and abused
10
          Plaintiffs in Panama and that she acted recklessly while intoxicated on her
11

12        own accord.
13     165.     Juliet Doherty had no cause of action against Plaintiff Taylor
14
          Button in her complaint in Nevada and instead only states causes of action
15

16        against Dusty Button such as: Sex Trafficking, Forced Labor, Involuntary
17        Servitude, Battery, Assault, Intentional Infliction of Emotional Distress
18
          and Breach of Fiduciary Duty.
19

20     166.     As if her false allegations were not already egregious enough, Ms.
21
          Doherty falsely and intentionally lied to the Court in her complaint in her
22
          ‘Battery’ cause of action portion by stating:
23

24        “Dusty intentionally attempted, threated, and committed harmful and
25
          offensive contacts against Juliet, including but not limited to inflicting
26

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 1        juvenile sexual abuse and physical abuse against Juliet”; (as seen below
 2
          in a screenshot of the complaint):
 3

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13     167.     First, the allegations are frivolous and false in their entirety.
14
       168.     Second, Juliet Doherty was born on June 10th, 1997.
15
       169.     Third, Plaintiffs were in Panama with Juliet Doherty from July 7th,
16

17        2018 until July 14th, 2018.
18
       170.     Finally, Juliet Doherty’s age at the time of the trip in Panama was
19
          over twenty-one years of age which does not constitute the age of a
20

21        juvenile even if the allegations were true, (they are not).
22
       171.     This is the modus operandi of the Nevada litigation Plaintiffs and
23
          their attorneys from Boies Schiller & Flexner LLP, as the narrative of
24

25        their complaint was “Two dance teachers abuse their minor students at
26

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 1        gun point” while simultaneously comparing them to the disgraced couple,
 2
          Ghislaine Maxwell and Jeffrey Epstein.
 3

 4     172.     Juliet is equitably estopped from asserting a statute of limitations

 5        defense as to Plaintiff Dusty’s claims.
 6
       173.     Allowing Juliet to do so would be unjust.
 7

 8     174.     Juliet took active steps to prevent the Buttons from commencing
 9        this lawsuit before now, including by immediately slandering the good
10
          names of Plaintiffs in their respective industries and making salacious
11

12        statements to third parties which put Plaintiffs in an uncomfortable
13        position to address the assault which took place in Panama; as both
14
          Plaintiff Dusty Button and Defendant were very well-known in the dance
15

16        industry and Plaintiffs believed that the assault against them would not be
17        believed after such defamatory rumors were spread by Juliet, her mother
18
          and her photographer in conspiracy with others.
19

20     175.     Juliet is equitably estopped from asserting a statute of limitations
21
          defense as to Plaintiff Taylor’s claims.
22
       176.     Allowing Juliet to do so would be unjust.
23

24     177.     Juliet took active steps to prevent the Buttons from commencing
25
          this lawsuit before now, including by immediately slandering the good
26
          names of Plaintiffs in their respective industries and making salacious
27

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 1        statements to third parties which put Plaintiffs in an uncomfortable
 2
          position to address the assault which took place in Panama; as both
 3

 4        Plaintiff Dusty Button and Defendant were very well-known in the dance

 5        industry and Plaintiffs believed that the assault against them would not be
 6
          believed after such defamatory rumors were spread by Juliet, her mother
 7

 8        and her photographer in conspiracy with others.
 9     178.     Juliet’s assaults on Plaintiffs caused severe anxiety, mental and
10
          emotional distress and mental anguish.
11

12     179.     Plaintiffs continue to suffer mental anguish, severe emotional
13        distress, complete loss of income, damage to their reputations and careers
14
          and the inability to generate any income as a direct and proximate result
15

16        of Juliet’s sexual abuse against them and the defamatory statements made
17        following the trip to Panama.
18
       180.     In 2019, Plaintiffs discovered that Juliet Doherty made further
19

20        defamatory statements to company members at Ballet West, a ballet
21
          company in Arizona including stating that Plaintiffs drugged and raped
22
          her in Panama in 2018.
23

24     181.     Plaintiffs have recently discovered that in 2023 Juliet Doherty and
25
          her mother have made innumerable false and defamatory statements to
26
          former employers and sponsors of the Plaintiffs.
27

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 1     182.     As an example, the Doherty’s told the owner of YAGP that the
 2
          Plaintiffs were child predators.
 3

 4     183.     Juliet Doherty made these defamatory and false statements with

 5        actual malice as she continued spread salacious rumors about Plaintiffs
 6
          within the dance industry to intentionally harm Plaintiffs and their
 7

 8        reputations.
 9     184.     For years, Plaintiffs were made aware of rumors that surrounded
10
          false and defamatory statements of this nature but until 2022 and 2023 did
11

12        not have evidence or documentation proving these defamatory statements
13        came from Juliet Doherty, Krista King-Doherty, Luis Pons, the
14
          Humphries’ family and various third parties who conspired with the
15

16        forementioned names.
17             C. Juliet Doherty’s Withdrawal from the Nevada Litigation
18
       185.     As stated supra, on December 13th, 2021, Juliet filed her frivolous
19

20        complaint against Plaintiffs in the Nevada District Court.
21
       186.     Over one year later, and on February 23rd, 2023, Plaintiffs issued
22
          and emailed their first set of requests for admissions to Juliet Doherty and
23

24        her counsel, Sigrid McCawley, from Boies Schiller & Flexner LLP.
25
       187.     On February 24th, 2023 at 7:19pm EST, Juliet Doherty voluntarily
26
          dismissed her claims against Plaintiffs.
27

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 1     188.     On the same day, Ms. Doherty filed to voluntarily dismiss her
 2
          claims, she posted on her Instagram page (photo below):
 3

 4                     “yep that’s alright with me! [mailbox emoji]”.

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21     189.     Plaintiff Juliet Doherty alleged that she voluntarily dismissed her
22        claims, “due to severe online harassment in retaliation for her claims”,
23
          however, Ms. Doherty’s public social media post on the day of her
24

25        voluntary dismissal speaks volume.
26

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 1     190.      Plaintiffs never harassed Juliet Doherty online or otherwise and the
 2
          Defendants cannot contend otherwise.
 3

 4     191.      Juliet only made this statement because she knew the media would

 5        pick up the false and defamatory statement made, as she continued to
 6
          paint an entirely different picture of the Plaintiffs; in fact, following her
 7

 8        withdrawl, Cosmopolitan Magazine published that she withdrew because
 9        the Plaintiffs harassed her online, which is not only entirely untrue but
10
          defamatory as she once again creates a false narrative against the
11

12        Plaintiffs.
13     192.      In fact, neither her or her attorneys from Boies Schiller & Flexner
14
          LLP ever provided any proof of such “harassment” which Juliet claimed
15

16        caused her to withdraw her claims; this is because it does not exist.
17     193.      Plaintiffs have not had social media since December of 2021 as a
18
          direct and proximate result of the global media campaign waged against
19

20        them in July of 2021.
21
       194.      In fact, the New York Times published the complaint prior to
22
          Taylor Button ever being served or the Buttons ever being made aware
23

24        there was a lawsuit against them resulting in threats, harassment, physical
25
          violence and death threats against the Plaintiffs.
26

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 1     195.     As a direct result of threats of physical violence, murder and
 2
          thousands of examples of harassment that drove Plaintiffs to the edge of
 3

 4        taking their own lives.

 5     196.     Just as Ms. Doherty filed a false and frivolous complaint which
 6
          caused severe defamation in the media, (resulting in harassment and death
 7

 8        threats against Plaintiffs), Juliet’s false statements citing the reason for her
 9        withdrawal were equally defamatory and resulted in harassment and
10
          defamatory statements made in the media, ultimately continuing
11

12        Plaintiffs’ already destructed careers, reputations, livelihoods and any
13        generation of income.
14
       197.     Ms. Doherty knew that her statements were false and defamatory
15

16        but made them anyway including because she intentionally made false
17        and defamatory statements to once again, save her reputation as she
18
          fraudulently stated Plaintiffs harassed her, rather than replying to the
19

20        admission Plaintiffs requested in discovery as she knew the discovery
21
          Plaintiffs already provided to her counsel disproved her false and
22
          malicious allegations.
23

24     198.     In fact, it was not Plaintiffs who harassed Juliet Doherty but rather,
25
          Juliet Doherty who defamed and slandered Plaintiffs to hundreds of third
26
          parties including Plaintiffs friends, coworkers, industry and business
27

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 1        relations and sponsors of Plaintiffs including but not limited to the
 2
          following screenshots below which were a direct result of Juliet Doherty’s
 3

 4        defamatory statements about Plaintiffs: (Possibly insert screenshots).

 5            D. Plaintiffs’ Previous Relationship with Sage Humphries in 2017
 6
       199.       In 2012, Plaintiffs moved to Massachusetts as Dusty Button
 7

 8        became a company member of the Boston Ballet.
 9     200.        In 2014, Dusty was promoted to Boston Ballet’s highest position
10
          in the company as Principal ballerina.
11

12     201.        In 2016, Sage Humphries, who was also a member of the Boston
13        Ballet, introduced herself to Dusty Button at the Boston Ballet whereas,
14
          they became good friends.
15

16     202.       In 2017, Sage Humphries, (nearly twenty years old), infiltrated
17        Plaintiffs’ marriage, initiating a physical and sexual relationship with both
18
          Plaintiffs, ultimately forming an open dating relationship for about four
19

20        months from May until July of 2017, thus making Plaintiffs one of dozens
21
          of unconventional relationships that Sage Humphries created in her
22
          pursuit of freeing herself from the confines of an overcontrolling family.
23

24     203.       Plaintiffs have never had interest, been involved in or interested in
25
          an open relationship prior to allowing Sage Humphries to infiltrate their
26
          marriage and would never again do so.
27

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 1     204.     In April, 2017, Plaintiffs were invited to Ms. Humphries’ parents’
 2
          home in California for Easter and to celebrate Plaintiff Taylor Button’s
 3

 4        birthday which is April 16th.

 5     205.     On April 16th, 2017, Sage Humphries asked Plaintiffs if they
 6
          wanted to sleep at her father’s “law office” which doubled as a “beach
 7

 8        house” in Seal Beach, CA – The Law Office of Michael Humphries.
 9     206.     On April 16th, 2017, Sage Humphries stated she had a “surprise”
10
          for Taylor’s birthday, whereas, she initiated a three-way sexual and
11

12        emotional relationship that evening as a proverbial birthday gift for
13        Plaintiffs Taylor Button and Dusty Button, thus blurring the lines between
14
          friendship and relationship.
15

16     207.     On the morning of April 17th, 2017, Sage’s father walked in on the
17        three, nude together in bed, and while making unbroken eye contact
18
          simply reminded Sage Humphries of her dentist appointment that morning
19

20        and left, later directing Plaintiffs where the best coffee place in town was
21
          and carried on for the rest of the trip as if nothing happened.
22
       208.     Following the intimate interaction which took place on April 16th,
23

24        2017, Sage Humphries and Plaintiffs continued their relationship,
25
          ultimately labeling each other as “boyfriend” and “girlfriend” and
26
          spending most of their time together in a relationship as Sage Humphries
27

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 1        asked Plaintiffs if she could stay at their apartment the majority of the
 2
          time.
 3

 4     209.       Ms. Humphries’ parents never addressed walking in on the three.

 5     210.       Following the April trip to California, Micah Humphries initiated a
 6
          “group text” with her daughter and Plaintiffs which was regularly used.
 7

 8     211.       In May of 2017, Ms. Humphries’ parents again, invited Taylor
 9        Button to their home on two occasions while he was there for work, in
10
          which he obliged.
11

12     212.       At the end of April, 2017, Ms. Humphries’ parents, (Micah and
13        Michael Humphries), made it clear that they knew she was in a dating
14
          relationship with both Plaintiffs whereas, at first, Ms. Humphries’ parents
15

16        accepted the relationship, asking if she could move in with Plaintiffs
17        stating they knew Sage’s desire was to move in with them and wanted to
18
          make sure it was okay with Plaintiffs.
19

20     213.       In May of 2017, Micah Humphries visited Plaintiffs’ home in
21
          Massachusetts, staying over for one night during her visit.
22
       214.       In May of 2017, Sage’s parents sent the summer itinerary they
23

24        planned for her, giving her dates in which, she was allowed to make her
25
          own plans for the summer, though she was an adult, whereas, Sage
26
          Humphries made it clear that she already made plans with Plaintiffs to
27

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 1        travel to Australia but would adjust her schedule to also fit in what her
 2
          parents scheduled for her.
 3

 4     215.     Upon Sage Humphries’ statements to her mother regarding her

 5        summer schedule, there was a complete turn of events, as Sage
 6
          Humphries was insistent on being allowed to make her own decisions
 7

 8        including the text message between Sage and her mother which stated the
 9        following:
10
          • Micah Humphries to Sage: “They are not your masters. I don’t know
11

12        what control. I’m pretty sure this is a threesome and I’m completely
13        weirded out by all of it. You’ve known them 3 months. I love you sage
14
          but this situation is destructive to you and not healthy.”
15

16        • Sage Humphries responded to her mother: 1) “Dusty is texting you
17        regarding what you said about her to dr k. 2) you are paranoid and sound
18
          crazy regarding this relationship.
19

20        • Micah Humphries replied: “It is weird Sage”.
21
          • Sage Humphries replied: 3) “this is my choice”.
22
          • Micah Humphries: “Sage”.
23

24        • Sage Humphries: “my life my summer”.
25
          • Micah Humphries: “I love you with all my heart”.
26

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 1        • Sage Humphries: “Nobody is controlling my life. You are the only
 2
          person trying to do so”
 3

 4     216.     Following this argument between Sage and her mother, it was then

 5        made clear (in a turn of events), that her parents suddenly did not approve
 6
          of her decision to be in an open dating relationship with Plaintiffs.
 7

 8     217.     On May 17th, 2017, Micah Humphries texted her daughter,
 9        warning her that if she did not end the relationship with Plaintiffs, she
10
          would fly to Boston from California with her husband and forcibly
11

12        remove Sage.
13     218.     Sage Humphries ignored her mother’s message regarding coming
14
          to get her things and instead, continued her relationship with Plaintiffs as
15

16        she expressed that was her desire.
17     219.     On May 22nd, 2017, to Plaintiffs’ shock, Plaintiff Dusty Button’s
18
          contract with the Boston Ballet was abruptly terminated for “just cause”,
19

20        with no explanation as to why she was terminated, banning Dusty and
21
          Taylor from the Boston Ballet building as well as the Boston Opera House
22
          where the performances were held and in fact, would not allow Dusty to
23

24        collect her belongings from Boston Ballet.
25
       220.     Dusty Button has never received a reason or cause for her
26
          termination from Boston Ballet nor was one named in the official
27

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 1        documentation however, Plaintiffs now know, Micah and Michael
 2
          Humphries conspired with Boston Ballet to prematurely terminate Dusty
 3

 4        Button’s very financially lucrative and prestigious contract.

 5     221.     On May 24th, 2017, Sage Humphries’ parents sent her a text that
 6
          they were in Massachusetts, ordering her to attend dinner and falsifying
 7

 8        that Ms. Humphries’ grandfather was “dying”. He was not.
 9     222.     On May 25th, 2017, Sage Humphries, (who was an adult), went to
10
          dinner with Plaintiffs prior to her performance with Boston Ballet.
11

12     223.     Upon Sage Humphries arrival to the Boston Opera House, she was
13        escorted out of the Opera House by Boston Ballet staff and forcibly
14
          removed by her own parents who were waiting at the Opera House.
15

16     224.     Sage Humphries called Plaintiffs screaming for help as she was
17        forced by her parents into a taxi, through the airport and onto a plane,
18
          taken back to California to the Humphries’ home to be “converted”.
19

20     225.     Micah and Michael Humphries (admittedly) stripped their daughter
21
          of her drivers’ license, cell phone and keys to prevent her from leaving
22
          their home or contacting Plaintiffs or any other third party for help as they
23

24        forced her into therapy that they funded with her own money that they
25
          stole from her bank account without permission.
26

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 1     226.     On May 27th, 2017, Sage Humphries’ parents sent a text message
 2
          to Plaintiffs threatening them with restraining orders.
 3

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21     227.     Simultaneously, and unbeknownst to Ms. Humphries’ parents, she
22
          was using their phones to message Plaintiffs, which she pursued on her
23

24        own, begging Plaintiffs for help to, “come save her”, “come get her” and
25        “need help”, as seen below:
26

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 1        228.        On May 28th, 2017, Sage Humphries’ father filed two false police
 2
             reports, one in California and one in Massachusetts11.
 3

 4        229.        Sage Humphries tried to escape his home in California whereas, he

 5           called the police for a family disturbance.
 6
          230.        Michael Humphries told the police his daughter’s ex-boyfriend,
 7

 8           (Plaintiff Taylor Button), boarded a flight, was coming to kidnap her and
 9           take her back to Boston, that Plaintiffs were going to harm Sage and her
10
             family. Sage Humphries told the police that there was no validity to her
11

12           fathers’ statements to the police and she felt safe, as seen below:
13

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27   11
       Plaintiffs filed a BAR complaint against Michael Humphries in California and he is currently being
     investigated.
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       231.     From June 1st until July 18th, 2017, Sage Humphries continued to
24

25        pursue Plaintiffs, (who were in Australia), via Snapchat using her younger
26
          brothers’ phone and at times, stranger’s phones, begging Plaintiffs to
27

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 1        “save her” and to “come get [her]”, that her parents were performing
 2
          exorcisms on her, had kidnapped her and she was being forced into
 3

 4        therapy.

 5     232.     Ms. Humphries hid her relationship and contact with Plaintiffs from
 6
          her parents.
 7

 8     233.     In July of 2017, Ms. Humphries’ parents gave her an ultimatum; to
 9        either end her dating relationship with Plaintiffs or she would lose
10
          everything she ever loved, including that they would not pay for her ticket
11

12        to go back to Massachusetts to rejoin the Boston Ballet in August of 2017.
13     234.     On July 10th, 2017, Ms. Humphries warned Plaintiffs of her
14
          parents’ ultimatum whereas, she additionally warned Plaintiffs that she
15

16        would leave a fake breakup voicemail on their phones in order to make
17        her parents believe she ended the relationship, allowing her to go back to
18
          Boston but insisted she wanted to continue the relationship when back in
19

20        Boston; she just needed to “make her parents think she was ending it”.
21
       235.     On July 14th, 2017, Ms. Humphries contacted Plaintiffs and stated
22
          her parents were forcing her to see a lawyer, that she got really upset and
23

24        left and stating to Plaintiffs that her parents were forcing her to sign
25
          restraining orders against Plaintiffs or they would not give her back her
26
          freedom.
27

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 1     236.     Sage Humphries did not fill out the restraining order application
 2
          form, her parents did, forcing Sage Humphries to sign what they had
 3

 4        written.

 5     237.     This forgery has since been admitted by Sage Humphries per her
 6
          deposition in September of 2023.
 7

 8     238.     On July 18th, 2017, Ms. Humphries succumbed to her parents'
 9        pressure when her parents admittedly messaged Plaintiffs from her
10
          account thus ending her relationship with Plaintiffs.
11

12     239.     On July 22nd, 2017, Sage Humphries' filed a false police report with
13        the Orange County Police Department contradicting her prior statements
14
          to the police in May in order to have a record that she filed a report in
15

16        preparation for her restraining order hearing.
17     240.     The police noted they had previously been called to her parents'
18
          home on numerous occasions for the same matter whereas, every report
19

20        was unfounded as shown below:
21

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27     241.     Plaintiffs were never aware of these reports filed until 2022.

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 1     242.     On August 1st, 2017, Ms. Humphries filed her application for a
 2
          temporary restraining order against Plaintiffs in Boston, Massachusetts.
 3

 4     243.     On August 14th, 2017, Ms. Humphries was granted a one-year

 5        restraining order against Plaintiffs.
 6
       244.     Sage Humphries perjured herself in Court that day and committed
 7

 8        fraud upon the Court to ensure her restraining order was granted.
 9     245.     Sage Humphries omitted every police report in her hearing in order
10
          to state she “filed” police reports against Plaintiffs but failed to bring the
11

12        actual reports proving all of her statements and her parents’ statements to
13        the police were unfounded and that her statements in Court were
14
          fraudulent.
15

16     246.     Sage Humphries has since been deposed, in 2023, whereas, she
17        admitted her restraining order was actually to prevent Plaintiffs from
18
          “blackmailing” her, as she previously uploaded a camera roll from her
19

20        iPhone in 2017 to Plaintiffs hard drive upon request, in order to send her
21
          old phone back when upgrading phones.
22
       247.     The camera roll she uploaded in 2017 consisted of screenshotted
23

24        text messages in her camera roll between her and Daryl Katz, (owner of
25
          the Edmonton Oilers hockey team and one of the wealthiest men in the
26
          world),
27

28

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 5     248.     Sage Humphries told Plaintiffs this relationship with Katz began
 6
          when she was seventeen.
 7

 8     249.     Sage Humphries’ father is an attorney, who abused his power by
 9        falsifying documents and forcing his daughter to sign them by way of
10
          threat and intimidation.
11

12     250.     Sage Humphries’ father used his connections to ensure his
13        daughter’s restraining order was granted as the Judge refused to look at or
14
          accept any evidence against Sage Humphries or her parents provided by
15

16        Plaintiffs that day when they requested their thousands of files be filed as
17        exhibits.
18
       251.     In 2018, on June 11th, Sage Humphries filed another false police
19

20        report in Massachusetts against Plaintiffs, falsely stating Plaintiffs were
21
          selling illegal firearms in California.
22
       252.     This report was unfounded by police as the allegations were false.
23

24     253.     On August 14th, 2018, the night before Ms. Humphries’ restraining
25
          order renewal hearing, Sage Humphries filed another false police report in
26
          Massachusetts claiming Plaintiffs were using a third-party to stalk her.
27

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 1     254.     This report was unfounded by police as the allegations were false.
 2
       255.     On August 15th, 2018, the Court held an ex-parte hearing whereas,
 3

 4        Plaintiffs were not aware of the hearing, nor were they present and Ms.

 5        Humphries was granted a permanent restraining order against Plaintiffs.
 6
       256.     Sage Humphries used the false statements she reported to police in
 7

 8        Court but neglected to bring the actual reports which showed her
 9        allegations were all false and unfounded, which Plaintiffs were never
10
          aware of until 2022.
11

12     257.     As seen, supra, due to Sage Humphries’ false allegations and
13        inconsistencies in her story, at least on seven different occasions, law
14
          enforcement found her statements to be unfounded and inconsistent with
15

16        the evidence of her consensual dating relationship with Plaintiffs.
17     258.     Given Defendant Juliet Doherty’s actual knowledge of the
18
          relationship between Sage Humphries and Plaintiffs as well as her close
19

20        personal and professional proximity to Sage Humphries, her repeated
21
          statements that Plaintiffs had pending criminal charges, were and are
22
          knowingly and entirely false and defamatory, made with actual malice
23

24        and which destroyed Plaintiffs’ business and any chance of recovering
25
          from the damage which was immediately done to their careers and
26
          reputations.
27

28

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 1     259.     The importance of Defendant's role prior to her own involvement in
 2
          Plaintiffs’ lives in this destruction was to eliminate Plaintiffs’ ability to
 3

 4        work, thus assuring that they would be incapable of funding a defense

 5        against Sage Humphries’ frivolous and malicious lawsuit filed against
 6
          Plaintiffs with the singular purpose of forcing Plaintiffs to destroy
 7

 8        evidence that federally incriminates Sage Humphries and one of the
 9        wealthiest and most prominent men in the country, Daryl Katz, (owner of
10
          the Edmonton Oilers NHL team), for illegal prostitution,
11

12

13

14

15

16     260.     While the reasons behind Juliet Doherty’s defamation remain
17        entirely irrelevant, it remains that Defendant knew that her conspiracy
18
          with Sage Humphries was set in motion as a scheme in order to destroy
19

20        Plaintiffs’ reputations, careers and livelihoods prior to the onset of the
21
          Nevada litigation as her allegations against Plaintiffs have always been
22
          false and malicious in their entirety, and the defamatory statements made
23

24        in affiliation with those allegations.
25
       261.     Juliet Doherty intentionally attacked innocent people, at the
26
          pinnacle of their careers, while knowing they would be financially ruined
27

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 1        and incapable of defending against the defamation of a powerful and
 2
          renowned attorney, backed by one of the most powerful firms in the
 3

 4        country as Juliet became the seventh addition to the complaint, creating a

 5        “strength in numbers” scenario, only to later back out of her complaint
 6
          prior to being required to be a part of the discovery process which would
 7

 8        further prove her lies.
 9     262.     Juliet Doherty was in possession of the evidence proving the
10
          aforementioned statements to be true in 2018 including that Plaintiffs
11

12        have never had any “pending criminal charges” against them.
13     263.     The statements she made were intentional, willful and with actual
14
          malice as she slandered and defamed Plaintiffs to hundreds of third
15

16        parties, knowing her statements would severely harm Plaintiffs by way of
17        knowingly making defamatory statements which she knew to be false,
18
          including her own allegations within her complaint.
19

20     264.     Juliet Doherty, in concurrence with Defendants Krista King-
21
          Doherty, Luis Pons and various third parties, intentionally filed her
22
          complaint while simultaneously conspiring with Sage Humphries for over
23

24        three years, filing frivolous and fraudulent allegations which in turn,
25
          provided the fuel to the fire of the Nevada litigation and the false and
26

27

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 1              defamatory statements made to the media, the press and the public
 2
                including any potential juror.
 3

 4                  E. The Nevada District Court Matters Filed on July 28th, 2021

 5         265.         On July 28th, 2021, Sage Humphries and Gina Menichino,
 6
                (represented by Sigrid McCawley and associates from Boies Schiller &
 7

 8              Flexner), filed a civil complaint against Plaintiff in this case, Taylor
 9              Button12.
10
           266.         Plaintiffs discovered through the headlining front-page publishing
11

12              of The New York Times that this complaint was filed, prior to Plaintiff
13              Taylor Button even being served.
14
           267.         Plaintiff Dusty Button was not named as a Defendant in Ms.
15

16              Humphries’ and Ms. Menichino’s complaint.
17         268.         Plaintiff Dusty Button has never met Gina Menichino.
18
           269.         Ms. Menichino was once, a dance student at Centerstage Dance
19

20              Academy where Plaintiff Taylor Button taught in 2009.
21
           270.         Ms. Humphries was never mentored, nor was she a student of
22
                Taylor or Dusty Button’s but was in fact, a coworker of Ms. Buttons and
23

24              was, in 2017, in an open consensual dating relationship, (as an adult),
25

26

27
     12
          See Nevada District Court Case: 2:21-cv-01412-ART-EJY
28

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 1           with both Plaintiffs, as verified through countless documents and Ms.
 2
             Humphries’ own deposition testimony and admissions.
 3

 4        271.        The allegations brought forth by Sage and Gina are false in their

 5           entirety however, these complaints prove Juliet Doherty’s defamation
 6
             further as her defamatory statements about Plaintiffs are not supported by
 7

 8           the allegations even if the allegations were true, (they are not).
 9        272.        On September 23rd, 2021, Plaintiffs were met with an amended
10
             complaint whereas, Ms. McCawley and her associates, (through proven
11

12           discovery), recruited three more litigants; Plaintiff Taylor Button’s ex-
13           girlfriend from 2009, Danielle Gutierrez, another woman from the same
14
             dance studio in 2009, Rosie DeAngelo and a woman Plaintiffs have never
15

16           met or heard of, known as Jane Doe 1 (formerly known as Jane Doe
17           100 ).13
18
          273.        The allegations brought forth by all three litigants are false in their
19

20           entirety however, these three complaints prove Juliet Doherty’s
21
             defamation further as her defamatory statements about Plaintiffs are not
22
             supported by the allegations even if the allegations were true, (they are
23

24           not).
25

26
     13
       Sigrid McCawley originally filed Jane Doe 1 as Jane Doe 100 in order to lead the public to believe there were
27   hundreds of victims, sensationalizing the complaint for the media. On February 2nd, 2023, the Court ordered Ms.
     McCawley to refer to Jane Doe 100 as Jane Doe 1.
28

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 1           274.     Plaintiff Dusty Button has never met any of the three litigants
 2
               added to the amended complaint which include Danielle Gutierrez,
 3

 4             Rosemarie DeAngelo and Jane Doe 1.

 5           275.     In fact, Plaintiff Dusty Button has never met or heard of Jane
 6
               Doe 1 as Jane Doe 1 is a total stranger.
 7

 8           276.     In fact, Plaintiff Taylor Button has never met or heard of Jane
 9             Doe 1 as Jane Doe 1 is a total stranger.
10
             277.     Juliet Doherty intentionally, maliciously and knowingly created a
11

12             further, false narrative which she portrayed to hundreds of thousands of
13             third parties including but not limited to business associates of Plaintiffs,
14
               employers, sponsors, co-workers and the media, which were entirely and
15

16             knowingly false and defamatory to gain shock value from the industries
17             which Plaintiffs were well-known and loved in.
18
             278.     On December 13th, 2021, Plaintiffs were again, met with an
19

20             amended complaint; “The Second Amended Complaint”, whereas two
21
               more litigants were added, Plaintiff Taylor Button’s
22
                       Jane Doe 214 and Defendant in this action, Juliet Doherty.
23

24

25

26
     14 14
         Sigrid McCawley originally filed Jane Doe 2 as Jane Doe 200 in order to lead the public to believe there
27   were hundreds of victims, sensationalizing the complaint for the media. On February 2nd, 2023, the Court
     ordered Ms. McCawley to refer to Jane Doe 200 as Jane Doe 2.
28

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 1     279.     The allegations brought forth by Jane Doe 2 are false in their
 2
          entirety however, her complaint proves Juliet Doherty’s defamation
 3

 4        further as her defamatory statements about Plaintiffs are not supported by

 5        Jane Doe 2’s allegations even if the allegations in the complaint were true,
 6
          (they are not).
 7

 8     280.     Plaintiff Dusty Button has never met Jane Doe 2.
 9     281.     As stated supra, Plaintiff Juliet Doherty voluntarily withdrew
10
          herself from the litigation.
11

12     282.     This came directly after Taylor and Dusty Button proved her
13        allegations to be fraudulent, providing photo and video evidence to her
14
          counsel and immediately following Plaintiffs’ requested admissions.
15

16     283.     Prior to Juliet Doherty’s complaint being filed, her defamatory
17        statements were embellished and exaggerated each time she spoke to or
18
          wrote to a third party including that the allegations in her complaint are
19

20        not even consistent with the defamatory statements made prior to the
21
          complaint being filed, causing Plaintiffs extreme distress.
22
       284.     Due to Juliet Doherty’s false and defamatory statements to
23

24        innumerable third parties, it led to further defamation on social media
25
          including that various third parties published that Plaintiffs were going to
26
          jail, were criminally charged and should stay away from children.
27

28

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 1        285.        In fact, Juliet’s statements, in conspiracy with the six other litigants
 2
             resulted in the following destructive and defamatory statements by the
 3

 4           best friend of Sage Humphries and good friend of the other litigants,

 5           Madison Breshears, which were intentionally posted online three months
 6
             prior to the Nevada litigation being filed and seven months prior to Juliet
 7

 8           Doherty’s complaint strategically being filed, to fuel the fire of the
 9           frivolous lawsuit and global media campaign waged against Plaintiffs.
10
          286.        These defamatory and salacious rumors were posted to over half a
11

12           million people on social media to gain traction for the article in the New
13           York Times, which was published prior to Taylor or Dusty Button ever
14
             being served with a lawsuit.
15

16        287.        The statements below are just a fraction of what Plaintiffs endured
17           due to Juliet Doherty’s defamatory and harassing statements to third
18
             parties prior to filing her complaint.
19

20        288.        On May 13th, 2017, Dusty received an initial attack of two false and
21
             defamatory public comments on her Instagram profile page in response to
22
             a video she posted of herself dancing from Defendant’s personal
23

24           Instagram account with the username, @mjbreshears15 which stated the
25
             following:
26

27   15
       @mjbreshears is Defendant Madison Jane Breshears’ personal Instagram account; Plaintiffs have already filed
     a Federal lawsuit against Madison Breshears – Case 1:24-cv-03757-MKV
28

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 1   “stop preying on young girls” and “feel like y’all should know she can’t keep a
 2
     ballet job bc she grooms young girls into sex acts with herself and her husband”.
 3

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22      289.      Plaintiffs did not know of, or recognize the username

23         @mjbreshears as her account was private and Plaintiffs did not know at
24
           the time that Ms. Breshears was working “behind the scenes”, conspiring
25

26         with Sage Humphries and Juliet Doherty to defame, harass and destroy

27         Plaintiffs’ lives.
28

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 1     290.     Within seconds of Plaintiffs blocking the account @mjbreshers, a
 2
          separate and anonymous account with the username
 3

 4        @Real_World_Ballerina posted the defamatory and despicable posts

 5        which led to the downfall and complete destruction of Plaintiffs’ careers,
 6
          businesses, reputations and livelihoods.
 7

 8     291.     The account @Real_World_Ballerina, (which Plaintiffs discovered
 9        and confirmed in 2023, was owned and controlled by Madison Breshears),
10
          had nearly twenty thousand followers and had direct association with
11

12        Juliet Doherty and her defamatory statements.
13     292.     Nearly twenty thousand people had access to everything posted on
14
          the account, @Real_World_Ballerina, influencing those twenty thousand
15

16        followers to repost and share the defamatory statements to hundreds of
17        thousands of accounts and users on virtually every social media and
18
          communication platform, (i.e. Instagram, Facebook, Tik Tok, Snapchat,
19

20        Reddit, text message, email communication, WhatsApp, and various other
21
          platforms).
22
       293.     Within seconds of Plaintiffs blocking and reporting, (what Plaintiffs
23

24        now know to be Madison Breshears’ personal account), the following
25
          false and defamatory statements were posted by on her anonymous yet,
26
          famous account, @Real_World_Ballerina:
27

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 1                                    POST ONE
 2
                     “PSA: DUSTY BUTTON IS A PREDATOR”
 3

 4

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22

23                                    POST TWO
24
       “This keeps getting removed. And she blocked me. But if you follow Dusty
25
     Button, you should know she can’t keep a ballet job because she grooms young
26

27              girls to engage in sex acts with herself and her husband”.
28

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23
                                     POST THREE
24
      “[toxic emoji], if u or someone u know has been victimized by dusty_button, u
25

26    aren’t alone. She can’t keep a ballet job because she grooms young dancers for
27
      sex acts with herself and her husband. This will probably get removed, she has
28

                                    100
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 1    managed to block and remove my other posts, but I hope at least someone can
 2
                                see this [toxic emoji]”.
 3

 4

 5

 6

 7

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 9
10

11
                                    POST FOUR
12

13       “I have friends who have personally been victimized, or known someone

14             victimized by @dusty_button. Don’t give her a platform”.
15

16

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 1      294.     The defamatory and disgusting statements posted above are just a
 2
           fraction of the harassment and defamation Plaintiffs endured for years but
 3

 4         are a direct result of Juliet Doherty’s false, defamatory and slanderous

 5         statements made about Plaintiffs to various third parties from 2018-2021.
 6
        295.     Plaintiffs have never been charged with a crime, as none have been
 7

 8         committed.
 9      296.     Juliet Doherty knew that her statements to third parties regarding
10
           “pending criminal charges” against Plaintiffs were false in their entirety,
11

12         but chose to make them anyway.
13      297.     Four of the women who filed complaints brought forth false
14
           allegations from 2008 and 2009, all four of which Plaintiff Dusty Button
15

16         has never met or known; all four who are best friends from the same dance
17         studio in Florida; three of which filed false police reports in 2018 at the
18
           same time, in conjunction with Sage Humphries’ abuse prevention order
19

20         being made permanent and Juliet Doherty’s dance studio receiving an
21
           “anonymous” email with a copy of Sage Humphries’ abuse prevention
22
           order granted in August of 2018.
23

24      298.     Juliet Doherty was in possession of Sage Humphries’ abuse
25
           prevention order as Juliet and her mother conspired with Sage Humphries
26
           to begin an online harassment campaign against Plaintiffs, ending their
27

28

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 1         careers, reputations, livelihoods, good names and nearly their lives after
 2
           receiving many death threats due to the heinous and false allegations
 3

 4         against them, years prior to the onset of this litigation, (as previously

 5         stated).
 6
        299.      Juliet Doherty and Krista-King Doherty’s defamatory statements to
 7

 8         various third parties resulted in hundreds of thousands of comments online
 9         including but not limited to the following screenshots of “hate pages”
10
           against Plaintiffs; including because she falsely and egregiously claimed
11

12         “juvenile” sex abuse against Plaintiff Dusty Button.
13
         • “Hey Dusty! I hope prison is everything you hope for! Maybe those tilts
14
            and competition tricks will come in handy behind bars?! Best of luck!” –
15

16                                Instagram user - @lauramarbs
17

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 1           • “@schonraker_foto him and the missus have been too busy BF’n16 little
 2
                      girls to make social media posts it would appear” – Instagram user
 3

 4                                                @the_mechanicalanimal.
 5

 6

 7

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12
            • “Hi! According to a recent post by @real_world_ballerina, dusty button is
13

14                   a predator who is not someone people should be looking up to! Just
15                            spreading the word.” – Instagram User - @cheryltanxr
16

17

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     16
          *BF’n – abbreviation for “butt fucking” but which means “sodomizing”; in this case, a female child.
28

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 1        • “#dustybutton You child rap1st17 P#S18. You need to be thrown in a wood
 2
                                chipper.” – Instagram User - @dunerooster
 3

 4             • “Child rapist POS19. You need to be thrown in a wood chipper.” –
 5
                                     Instagram User - @dunerooster
 6
                                                  •
 7

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18
          300.         As another example, (as depicted by the screenshot below),
19

20            following the initial post, numerous hate pages and accounts were created
21            to bully, harass and threaten Plaintiffs as a direct result of Juliet Doherty’s
22
              defamatory and slanderous remarks.
23

24                             • Username – @dusty_button_hatepage
25

26
     17
        Rap1st = rapist.
27   18
        P#S = Piece of shit.
     19
        POS = piece of shit.
28

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        301.     This is just a fraction of the communications, notifications, threats
20
           and harassment which Plaintiffs received following Defendants’
21

22         defamatory and slanderous remarks and frivolous complaint, all of which
23
           Plaintiffs have documented and preserved for discovery.
24

25
        302.     Juliet Doherty knew her false and defamatory narrative provided a

26         questionable foundation for the complaint filed but that it would
27

28

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 1           sensationalize and amplify any headline to follow thus fortifying that
 2
             frivolous foundation.
 3

 4        303.        Defendants’ statements were made out of actual malice, in an effort

 5           to ruin Plaintiffs’ livelihood, career, reputations and overall ability to
 6
             defend themselves against these false and defamatory allegations in the
 7

 8           media prior to the onset of her clients’ complaint being filed.
 9        304.        In July of 2022, Plaintiffs Dusty and Taylor Button filed a Motion
10
             to Dismiss the Second Amended Complaint and filed their Counterclaim
11

12           in Nevada, adding a third-party complaint against Sage Humphries’
13           parents and three men whom Sage Humphries had illegal and
14
             inappropriate sexual relationships with, Daryl Katz20 (billionaire and
15

16           owner of the NHL team The Edmonton Oilers), Anthony Giovanni Deane
17           (Sage Humphries’ ex-boyfriend whom was more than two decades her
18
             senior) and Chase Finlay, (whom Sage dated whilst he was engaged to
19

20           another woman, thus destroying their engagement and their relationship in
21
             its entirety).
22
          305.        In August of 2022, after being physically and financially (legally)
23

24           threatened by Daryl Katz and his hired convicted felon “fixer”, Anthony
25

26
     20
        https://edmontonjournal.com/news/local-news/oilers-owner-daryl-katz-and-ballet-dancer-both-deny-
27   allegations-they-had-sexual-relationship - Edmonton Journal Article regarding Sage Humphries and Daryl Katz’
     relationship.
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 1            Pellicano21, against Plaintiffs’ demands, Plaintiffs attorney withdrew
 2
              Daryl Katz (with a tolling agreement) and the other two men from the
 3

 4            third-party complaint leaving only Sage Humphries’ parents.

 5        306.        Juliet Doherty had actual knowledge of Sage Humphries’
 6
             relationship with Daryl Katz.
 7

 8        307.        Ms. Doherty and Ms. Humphries are equally intertwined in the
 9           dance and film industry with associates of Daryl Katz, which were prior
10
             to the onset of the Nevada litigation.
11

12        308.        Upon belief, Sage Humphries and Juliet Doherty both have
13           connections in the dance and film industry related to Daryl Katz, his
14
             cousin Michael Gelmon, previous business partner Joel Silver, producer
15

16           Steve Turnbull and most recently, producer and director, Nigel Lythgoe
17           who has graced headlines through scandal of his own in recent months.
18
          309.        During the course of Plaintiffs’ relationship with Sage Humphries,
19

20           Sage made it abundantly clear that she did not like Juliet Doherty as she
21
             stated Ms. Doherty was only cast for roles due to her networking in the
22
             industry and her connections but that she believed she deserved those
23

24           roles over Ms. Doherty.
25

26   21
        https://variety.com/2022/film/news/anthony-pellicano-daryl-katz-marc-randazza-1235349929/ ;
     https://thenevadaindependent.com/article/pellicanos-presence-adds-a-new-twist-in-ballerina-sex-exploitation-
27   litigation ; https://www.casino.org/news/mgm-wiretap-p-i-hired-to-disappear-billionaire-ballerina-sex-lawsuit/ ;
     articles regarding Daryl Katz hiring Anthony Pellicano to silence Plaintiffs Dusty and Taylor Button.
28

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 1          310.         Ms. Humphries and Ms. Doherty both previously worked with
 2
                Nigel Lythgoe22, director and producer of many dance shows including
 3

 4              but not limited to So You Think You Can Dance.

 5          311.         In 2014, Sage Humphries participated in a YouTube series titled,
 6
                “Dance School Diaries” which was produced by Nigel Lythgoe through a
 7

 8              dance channel with the name DanceOn whereas, Nigel Lythgoe is on the
 9              board of directors.
10
            312.         Following Ms. Humphries’ appearance in the YouTube series
11

12              “Dance School Diaries”, she was involved in the production and
13              development of a film titled, “Tackling Romeo”, which was produced by
14
                Steve Turnbull and additionally directed by Nigel Lythgoe whereas, upon
15

16              belief, Mr. Lythogoe’s production company was titled Faraway Films.
17          313.         According to Ms. Humphries, Juliet Doherty was a second choice
18
                for this film but she was “picked” over Ms. Doherty by Nigel Lythgoe.
19

20          314.         The film “Talking Romeo” never came to fruition and is, in fact,
21
                still listed as “under development”.
22
            315.         Upon Plaintiffs filing their Counterclaim in the Nevada District
23

24              Court,
25

26

27
     22
          See Superior Court of the State of California County of Los Angeles: 23STCV31886
28

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 4      316.

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 9      317.     Juliet Doherty knew of Ms. Humphries relationship with Mr. Katz
10
           and the production of the move “Tackling Romeo” whereas, she was not
11

12         cast for the role ahead of Sage Humphries.
13      318.     In 2018, Juliet Doherty was featured in the film High Strung Free
14
           Dance alongside Nigel Lythgoe.
15

16      319.     Plaintiffs were threatened by Mr. Katz and his attorney including
17         that Mr. Katz hired the infamous convicted felon Anthony Pellicano to
18
           silence them by way of death threats and other harassment including
19

20         breaking and entering in an attempt to tap their phone lines, if they did not
21
           “drop their case” against Katz.
22
        320.     As a direct cause and result of Ms. Humphries actions with Daryl
23

24         Katz and Ms. Doherty’s actual knowledge of the relationship between
25
           Sage Humphries and Daryl Katz and Plaintiffs discovering the
26
           inappropriate relations and illegal activities between the parties, upon
27

28

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 1         belief, Plaintiffs were put in a position to stay silent about their
 2
           knowledge of the relationships.
 3

 4      321.      Defendant's had actual knowledge of the relationship between Sage

 5         Humphries and the other Plaintiffs therefore, her repeated statements that
 6
           Plaintiffs had “pending charges” against them, that they were criminals,
 7

 8         “dangerous” and “not good people”, are knowingly and entirely
 9         defamatory statements made with actual malice, which destroyed
10
           Plaintiffs’ business and any chance of recovering from the damage which
11

12         was immediately done to their careers and reputations.
13      322.      The importance of Defendant's role in this destruction was to
14
           eliminate Plaintiffs’ ability to work, thus assuring that they would be
15

16         incapable of funding a defense against her frivolous and malicious lawsuit
17         filed against Plaintiffs.
18
        323.      In October of 2022, Plaintiffs lost their counsel due to the inability
19

20         to continue funding their representation having already sold all of their
21
           assets to fund that representation up to that point.
22
        324.      Since October 14th, 2022, Plaintiffs have been pro se against Sigrid
23

24         McCawley, associates of Boies Schiller & Flexner, one of whom
25
           Plaintiffs have never met or heard of, (Jane Doe 1) but all of who have
26

27

28

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 1           admitted under oath that they were recruited by Humphries and her
 2
             counsel and that their claims have no basis or grounds.
 3

 4        325.        On February 2nd, 2023, the Nevada District Court held an Oral

 5           Argument on several pending motions including Plaintiffs’ Counterclaim
 6
             against Sage Humphries, which included supplemental exhibits including
 7

 8           text messages between Sage Humphries and her mother regarding her
 9           mother’s disapproval of her daughter’s consensual dating relationship
10
             with Taylor and Dusty Button in 2017 and a July 22nd, 2017 false police
11

12           incident report filed by Sage Humphries’ mother, countering Sage
13           Humphries’ allegations, in addition to the defamation claims against her.
14
          326.        Sage Humphries filed to dismiss Dusty and Taylor Button’s
15

16           counterclaim against her whereas, the Court DENIED her motion to
17           dismiss the counterclaim of defamation per se, further proving Ms.
18
             Humphries allegations to be fraudulent and that not only was Sigrid
19

20           McCawley unethical by creating a narrative to cover up her clients’
21
             relationship with Plaintiffs but that Sigrid McCawley’s unethical play to
22
             the media included a false, defamatory and malicious narrative created for
23

24           the sole purpose to mislead the public and that her statements were
25
             knowingly and intentionally false and defamatory against Plaintiffs23.
26

27   23
      On February 17th, 2023 Honorable Judge Traum entered an Order denying Sage Humphries’ motion to dismiss
     Dusty and Taylor Button’s defamation claim against her whereas the Court stated: “Based on the details herein
28

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 1       327.         On February 22nd, 2023, Plaintiffs filed a motion to vacate Sage
 2
             Humphries’ abuse prevention order which was granted in 2017, (which is
 3

 4           currently pending appeal on the grounds of fraud on the Court), in Boston,

 5           MA.
 6
         328.         Plaintiffs’ discovered evidence of fraud in the Nevada litigation
 7

 8           proving Sage Humphries’ fraud on the Court in 2017 and 2018 including
 9           false police reports and lying to law enforcement, which Plaintiffs were
10
             not aware of until the discovery of the Nevada litigation began but which
11

12           she used to secure her abuse prevention order in 2017 and 2018.
13       329.         Juliet Doherty, Krista King-Doherty and Luis Pons were all aware
14
             of the information stated above, knew that Sage Humphries was not a
15

16           child and were in possession of Sage Humphries’ abuse prevention order.
17       330.         Defendants knew their statements regarding Sage Humphries’
18
             relationship with Plaintiffs were false and defamatory but made them
19

20           anyway.
21
         331.         On February 24th, 2023, Juliet Doherty voluntarily withdrew herself
22
             from the Nevada litigation.
23

24

25

26

27   and in lights of the record as a whole, the Court denies Sage Humphries’ Motion to Dismiss the counterclaim of
     defamation per se.”
28

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 1      332.      On June 11th, 2023, Plaintiffs filed to appeal the decision to vacate
 2
           Sage Humphries’ restraining order on the grounds of fraud on the Court in
 3

 4         light of new evidence.

 5      333.      As stated supra, Plaintiffs appeared for Oral Argument on Oct. 9th,
 6
           2024 in the Massachusetts Appeals Court and the appeal is pending.
 7

 8      334.      Juliet Doherty had actual knowledge of Sage Humphries’
 9         consensual dating relationship with Plaintiffs and in fact, had the
10
           restraining order in her possession from 2017 including that Ms.
11

12         Humphries’ order stated that she was not forced, threatened or under
13         duress during the time of her relationship with Plaintiffs or during
14
           intimate relations with Plaintiffs which is entirely contradictory to Sage
15

16         Humphries’ allegations within her complaint.
17      335.      Upon belief, Juliet Doherty conspired with Sage Humphries to
18
           withhold and keep Ms. Humphries’ illegal activities with Daryl Katz a
19

20         secret.
21
        336.      Juliet Doherty was in possession of the evidence proving the
22
           aforementioned statements to be true over three years prior to filing her
23

24         own complaint and four years prior to making her own complaint against
25
           Plaintiffs.
26

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 1      337.       Juliet Doherty withdrew her allegations prior to a Third Amended
 2
           Complaint being filed by the Plaintiffs in Nevada whereas, Dusty and
 3

 4         Taylor did not have opportunity to file counterclaims against her or

 5         complete discovery.
 6
               D. Krista King-Doherty’s Defamatory Statements about Plaintiffs
 7

 8      338.       Krista King-Doherty and her daughter Juliet have been eerily
 9         obsessed with Plaintiffs since at least 2017 whereas, Defendants have not
10
           only made inappropriately defamatory comments publicly and to
11

12         innumerable third parties but to each other; proving the obsession with
13         Plaintiffs’ years prior to Juliet Doherty ever meeting Plaintiffs in 2018.
14
        339.       As one example, Krista-King Doherty posted on innumerable
15

16         accounts associated with Plaintiffs’ businesses and families on social
17         media that the Plaintiffs were child rapists and predators.
18
        340.       As another example, on February 12th, 2018, Juliet Doherty and her
19

20         mother Krista exchanged conversation about Plaintiff Dusty Button and
21
           photos which were published in a magazine for Discount Dance, declaring
22
           their obsession with admissions that “seventy percent of [their] DMs are
23

24         about Dusty”.
25
        341.       This conversation (as seen below) was provided through the
26
           discovery process in Nevada in or around 2023 was had five months prior
27

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 1         to Juliet Doherty meeting Plaintiffs for the first time in Panama in July of
 2
           2018.
 3

 4      342.       The conversation provided below shows Juliet Doherty sending her

 5         mother a link to one of the Instagram photos posted by Discount Dance of
 6
           Plaintiff Dusty Button, seemingly making fun of Plaintiffs hair and attire
 7

 8         which was provided during the photo shoot.
 9      343.       Following the initial post sent by Juliet Doherty, she then states to
10
           her mother, Krista, “70% of our DMs are about dusty I think”, to which
11

12         Krista replies, “Well it’s entertaining”.
13      344.       Plaintiff Dusty Button was shocked and repulsed to read that Juliet,
14
           like the six other litigants in Nevada, admittedly spent a vast majority of
15

16         her time obsessing over her.
17

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23         I.    BLOCH INC
24
        345.     BLOCH INC. was one of Plaintiff Dusty Buttons largest sponsors
25

26         in the dance industry, whereas Plaintiff was the face of BLOCH INC for
27

28

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 1         many years and included a fifteen-year relationship from the time Plaintiff
 2
           was sixteen years old.
 3

 4      346.       On or around July 28th, 2021, Defendant Krista King-Doherty took

 5         to social media to intentionally embarrass, harass and defame Plaintiffs.
 6
        347.       Defendants’ comments were discovered after the forementioned
 7

 8         date.
 9      348.       Defendant Krista King-Doherty posted salacious and defamatory
10
           statements with actual malice publicly, to over half a million people to
11

12         intentionally harm Plaintiffs and to embarrass Plaintiffs by leading the
13         public to believe the disgusting and defamatory rumors Defendant so
14
           proudly boasted on the public page of one of Plaintiff Dusty Button’s
15

16         biggest sponsors and who held a fifteen-year relationship with Plaintiff.
17      349.       Defendant knew that her statements were false and had proof that
18
           her statements were false, but made her defamatory statements anyway.
19

20      350.       Defendant admits publicly that she conspired with third parties,
21
           including her daughter, Defendant Luis Pons and litigants in the Nevada
22
           litigation to “warn” and “send copies of restraining orders”, while calling
23

24         Plaintiffs “predators”.
25
        351.       Defendant admits that she was in possession or had actual
26
           knowledge of the abuse prevention order obtained by Sage Humphries.
27

28

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 1      352.     The following false and defamatory statement was posted by
 2
           Defendant Krista King-Doherty publicly, to a mass audience, with actual
 3

 4         malice and which, as a direct result, destroyed Plaintiffs business relations

 5         with BLOCH INC.
 6
        • @misskristakingdoh stated “Dear Bloch, You were contacted numerous
 7

 8         times over the past several years and I know through the industry you
 9         were warned and sent copies of restraining orders etc. you chose to do
10
           nothing and give a huge platform to a predator and promote her as a role
11

12         model. It’s good that you are finally taking a stand after The NY Times
13
           article came out but you should be apologizing for possibility contributing
14
           to the access to victims of the last several years. Do better. Discount
15

16         Dance Supply and Red Bull were also aware.”
17
        353.     This statement made by Krista King-Doherty was in conjunction
18
           and in conspiracy with Sage Humphries’ mother Micah Humphries who
19

20         posted simultaneously on the account @blochdanceusa and which stated:
21
        • @micahhumphries stated “While we appreciate your stand and support
22
           now …. Just up until a few days ago, You had dusty button on your
23

24         Instagram account in one of your header pink circles. We had heard,
25
           over the last few years, that people had tried to reach out and warn you
26

27
           about her and her husbands deviant behavior, yet, you still chose to

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 1         continue to give her a platform, not only a platform but opportunity and
 2
           access to other dancers. I hope that your company will make better
 3

 4         choices in the future.”

 5      354.     Micah Humphries indirectly exposes her involvement as well as
 6
           Defendant Krista King-Doherty’s involvement in terminating Plaintiff
 7

 8         Dusty Button’s relationship with BLOCH INC by stating, “we had heard,
 9         over the last few years, that people had tried to reach out and warn you
10
           about her and her husbands deviant behavior, yet, you still chose to
11

12         continue to give her a platform”.
13      355.     Plaintiffs already had correspondence with BLOCH INC in 2017
14
           and again in 2018 regarding Ms. Humphries and Ms. Doherty’s
15

16         conspiracy whereas, BLOCH INC had a lengthy discussion with Plaintiffs
17         regarding the abuse prevention order which was sent to them by
18
           anonymous third parties, later confirmed to be Defendants and affiliates
19

20         of Defendants including but not limited to Sage Humphries’ mother
21
           whereas, Plaintiffs explained the entirety of their relationship with Sage
22
           Humphries in detail, further providing photos, videos and text messages to
23

24         corroborate their explanation.
25
        356.     Defendant knew that her statements were false and not only made
26
           further defamatory statements to a mass audience but influenced a third
27

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 1         party and good friend, Kim Comelek, which Plaintiffs have never met or
 2
           previously heard of to make her own defamatory statements about
 3

 4         Plaintiffs on the same account, @blochdanceusa.

 5      357.     The comment made by Kim Comelek states “Then why haven’t you
 6
           supported Dusty Button’s victims since you’ve known about them since at
 7

 8         least 2018? You’ve known, completely ignored it, and continued to
 9         endorse and promote her as a role model to girl and young women. You
10
           should be embarrassed and issue an apology.”
11

12      358.     Kim Comelek’s defamatory statements are a direct result of Juliet
13         Doherty and Krista King-Doherty’s conduct as this third party is not
14
           affiliated to Plaintiffs or any such litigation involving Plaintiffs or
15

16         Defendants.
17      359.     Ms. Comelek’s defamatory and false statements prove that
18
           Defendants conspired, were responsible for the disassociation of sponsors,
19

20         third parties, employers and business relationships including the
21
           termination of employment and contracts including because Ms.
22
           Comelek’s statement stems from Defendants’ slander and defamation as
23

24         she states “why haven’t you supported Dusty Button’s victims since
25
           you’ve known about them since at least 2018?”.
26

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 1      360.     As stated, supra, Plaintiff Dusty Button has only ever met Juliet
 2
           Doherty and Sage Humphries, and no other party in the Nevada litigation
 3

 4         therefore Ms. Comelek further confirms the conspiracy of Juliet Doherty,

 5         her mother and the Humphries as Ms. Comelek can only be referring to
 6
           Ms. Doherty or Ms. Humphries.
 7

 8      361.     Ms. Doherty intentionally influenced a third party to defame, harass
 9         and embarrass Plaintiffs to a mass audience after knowing her own
10
           daughter’s allegations were false in their entirety, including that she was
11

12         not a juvenile.
13      362.     Further, Ms. Comelek states only “Dusty Button’s victims” and
14
           “since at least 2018”.
15

16      363.     Both Plaintiffs met Juliet Doherty in 2018.
17      364.     Defendant Juliet Doherty alleged she was drugged by both
18
           Plaintiffs in Nevada litigation but only states cause of action against
19

20         Plaintiff Dusty Button.
21
        365.     Defendant Juliet Doherty alleged she was a juvenile but she was
22
           twenty-one at the time she first met Plaintiffs.
23

24      366.     Krista King-Doherty is directly responsible for recklessness and
25
           negligence of her own daughter’s claims in addition to her own
26

27

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 1         defamatory, false and malicious statements made online and to hundreds
 2
           of third parties including in the state of New York.
 3

 4      367.     Krista King-Doherty is directly responsible for the termination and

 5         disassociation of BLOCH INC with Plaintiffs.
 6
           II.   Master Ballet Academy
 7

 8      368.     Krista King-Doherty is directly responsible for the termination and
 9         disassociation of Plaintiffs’ affiliation, contractual agreements and
10
           employment with Master Ballet Academy.
11

12      369.     Master Ballet Academy is a dance studio in Arizona whereas,
13         Defendant was a former teacher for that studio.
14
        370.     Defendant Juliet Doherty was a former student of Master Ballet
15

16         Academy but NEVER a student of Plaintiff Dusty Button’s as Juliet was a
17         teacher herself when she and Dusty met.
18
        371.     Defendants had actual knowledge of Sage Humphries’ consensual,
19

20         adult, dating relationship with Plaintiffs and in fact, had the restraining
21
           order in their possession and/or had actual knowledge of the contents
22
           written on Sage Humphries’ abuse prevention order from 2017 prior to
23

24         Juliet Doherty filing her frivolous complaint in Nevada.
25
        372.      Defendants had actual knowledge that Sage Humphries was not a
26
           child and that she, herself, admitted she ever forced, threatened or under
27

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 1         duress at any time during her dating relationship with Plaintiffs including
 2
           because it is written on the order that Defendants provided by mail and/or
 3

 4         email to all of Plaintiffs’ sponsors, employers, business affiliates and

 5         various other third parties including but not limited to Slawomir Wozniak,
 6
           owner of Master Ballet Academy.
 7

 8      373.     Sage Humphries’ abuse prevention order from 2017 is shown
 9         below whereas, Humphries’ verifies that she was not threatened, forced or
10
           under duress at the time she was in a relationship with Plaintiffs; this
11

12         abuse prevention order was in the possession of Defendants and was
13         additionally and specifically provided to innumerable sponsors, employers
14
           and affiliates of Plaintiffs including but not limited to Master Ballet
15

16         Academy via email, resulting in the termination of Dusty Button’s
17         affiliation and employment with Master Ballet Academy indefinitely.
18
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23      374.     Slawomir Wozniak, (owner of Master Ballet Academy), sent
24
           Plaintiffs an email on February 27th, 2023, confirming Sage Humphries’
25
           abuse prevention order was “anonymously” emailed to him from an email
26

27         account Plaintiffs now know to be associated with Juliet Doherty, Sage
28

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 1         Humphries and third parties who are non-parties to the Nevada litigation;
 2
           just two months following Ms. Doherty’s trip to Panama.
 3

 4      375.      As shown in the email provided, the “anonymous” party

 5         intentionally and specifically refers to “children” in the email and
 6
           included copies of the abuse prevention order Sage Humphries obtained at
 7

 8         nearly twenty years of age.
 9      376.      Defendants’ mention of Plaintiff Dusty Button’s work with children
10
           was entirely irrelevant to Plaintiffs’ relationship with Sage Humphries
11

12         years prior but the verbiage of the email planned to intentionally harm
13         Plaintiffs and resulted in the termination of Plaintiff Dusty Button’s
14
           relationship with Slawomir Wozniak and Master Ballet Academy as they
15

16         intentionally stated that “children’s safety is paramount”.
17
        • The email which was sent to Plaintiffs from Slawomir Wozniak is shown
18
               below and is just one example of the egregious false and defamatory
19

20          statements made by Defendants and associated third parties as a result of
21
                                      Defendants’ conduct:
22

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19      377.     Upon the forementioned email being sent to Slawomir Wozniak
20
           and as a direct result of Defendants’ defamatory statements and conduct,
21

22
           Plaintiff Dusty Button received an email stating they could no longer be

23         associated with Plaintiff Dusty Button and terminated her scheduled
24
           teaching engagement at Master Ballet Academy.
25

26      • The screenshot of the email received by Plaintiff Dusty Button from

27         Master Academy is shown below:
28

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        378.     Not by coincidence, the date of this email terminating Dusty
19
           Button’s contract and stating “it is in our best interest to make sure your
20

21         name is not associated with our event this year” is direct proof that
22
           Defendants conspired with Sage Humphries to ensure Plaintiffs’ careers,
23
           reputations, business relations, employment and sponsorships were
24

25         destroyed.
26

27

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 1      379.     August 14th, 2018 is the precise date in which Sage Humphries
 2
           received her permanent abuse prevention order at an ex-parte hearing by
 3

 4         lying to the Court and withholding documents which proved she was

 5         lying whereas, Plaintiffs were not present to defend themselves and
 6
           equally had no representation present.
 7

 8      380.     Defendants intentionally, willfully and maliciously harmed
 9         Plaintiffs including by manipulating the narrative to encourage any
10
           affiliate of Plaintiffs should be afraid of them.
11

12      381.     The forementioned statements and emails are just a fraction of what
13         was sent to Master Ballet Academy and which ended the relationship
14
           between the studio, Slawomir Wozniak and Plaintiffs.
15

16      382.     Defendant Krista King-Doherty is directly responsible for creating
17         a hate group on Facebook which was directed at Plaintiffs to encourage a
18
           mass audience on social media to defame, harass, threaten and
19

20         disassociate from Plaintiffs.
21
        383.     For example, one such defamatory statement made by Krista King-
22
           Doherty on Facebook states “100, and companies who have had
23

24         information from credible people over and over choose to do NOTHING
25
           should also be accountable for not protecting children. Unacceptable and
26
           unforgivable!!!”
27

28

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 1          384.        Defendant Krista King-Doherty’s defamatory statement again,
 2
                intentionally refers to children, aligning with her daughter’s false and
 3

 4              perjured claim that 1) Dusty Button committed any abuse against her

 5              daughter and 2) that Juliet Doherty claimed she was a juvenile in her
 6
                complaint.
 7

 8          385.        Defendant willfully and maliciously made this statement on a
 9              Facebook group specifically created to defame, harass and threaten
10
                Plaintiffs to a mass audience in order to intentionally harm Plaintiffs and
11

12              destroy their reputations, careers, business relationships and livelihoods.
13          386.        As stated, supra, Defendant Krista King-Doherty has been
14
                affiliated with Youth America Grand Prix for many years including by
15

16              conducting business with YAGP24 in New York City.
17          387.        Defendant Krista King-Doherty intentionally, maliciously and
18
                willingly made defamatory and salacious statements to the owner of
19

20              YAGP in conspiracy with various third-parties to intentionally destroy
21
                Plaintiff’s business relationship with YAGP; which she did.
22
            388.        Further, Krista King-Doherty, in conjunction with Micah
23

24              Humphries, (Sage Humphries’ mother), created an Instagram username to
25
                specifically and intentionally harass, defame and threaten Plainitffs.
26

27
     24
          YAGP is the abbreviation for Youth America Grand Prix
28

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 1      389.     This account was titled, @WarriorMoms.
 2
        390.     Defendant intentionally and maliciously participated in making
 3

 4         knowingly defamatory and false statements about Plaintiffs from the

 5         “anonymous” account to further harass Plaintiffs online, causing Plaintiffs
 6
           severe emotional distress and terminating many of their business
 7

 8         relationships through direct messages from this account.
 9                E. Luis Pons’ Defamatory Statements about Plaintiffs
10
        391.     Upon belief, Luis Pons is still currently a dance photographer
11

12         specializing in photography of young girls.
13      392.     At the time of the events described herein, Luis Pons was a very
14
           close friend of Juliet Doherty, her mother and Sage Humphries and her
15

16         mother and was additionally their personal photographer, posting
17         numerous photos of them on his personal dance photography account.
18
        393.     Mr. Pons was known for making flirtatious and inappropriate
19

20         comments to his “subjects” and was stated many times to Plaintiffs by
21
           various third parties after they photographed with him including but not
22
           limited to Juliet Doherty and Sage Humphries who made it clear to
23

24         Plaintiffs on different occasions that they were uncomfortable with his
25
           communications with them.
26

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 1      394.     For example, Defendant Pons stated to Ms. Humphries on more
 2
           than one occasion that he wanted to see her again; including when she
 3

 4         was in a dating relationship with Plaintiffs.

 5      395.     Once such message from Defendant Pons to Ms. Humphries stated,
 6
           “I love Sage, so part of loving sage is letting her go for long periods of
 7

 8         time. I’ve accepted it. Lol” which was in reference to him, a married man
 9         with child, having to let her go as she was in a loving relationship with
10
           Plaintiffs for a “period of time”.
11

12      396.     Luis Pons previously reached out to Plaintiff Dusty Button through
13         Instagram, asking to photograph her whereas, Dusty responded by stating
14
           that she did not do outside photoshoots with other photographers not
15

16         associated with her employers or sponsors unless her husband was behind
17         the camera.
18
        397.     Mr. Pons was offended and immediately blocked Dusty from his
19

20         account on Instagram.
21
        398.     Plaintiff Dusty Button was not comfortable with how Mr. Pons’
22
           photographed or his reputation of inappropriate communication with his
23

24         “subjects”, which Dusty would later find out included Juliet Doherty and
25
           Sage Humphries.
26

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 1      399.     As admitted by Juliet Doherty, herself, at the end of her trip in
 2
           Panama Defendant Luis Pons, (a much older man married with child and
 3

 4         in a position of power over the young girls he considers to be his

 5         “subjects”), messaged Juliet, one of those subjects, on July 12th, 2018 and
 6
           stated the following to Juliet Doherty:
 7

 8         “The buttons are very strange people. When you have time I can explain
 9         but they are dangerous people and I’m not joking at all. I know why she
10
           was kicked out of Boston ballet . Saying this with love of course , looking
11

12         out for you”; Ms. Doherty replied by stating, “Would like to hear :)”.
13      400.     Mr. Pons then stated, “Ok let me know when you have time” to
14
           which Juliet replied, “In Panama rn”.
15

16      401.     Defendant Pons then followed that defamatory statement with
17         another to Defendant Juliet Doherty by stating, “Highly manipulative and
18
           strange. Keep em at a distance . Crazy shit”.
19

20      402.     The night Juliet Doherty stated her allegations took place had
21
           already passed and she was enjoying Panama with Plaintiffs, Ivan
22
           Sepulveda and his son, Diego.
23

24      403.     Ms. Doherty did not initially respond to Mr. Pons and his last
25
           message to her was at 7:11am; Mr. Pons then sent another unsolicited
26
           message to Juliet Doherty, this time sending her a photo of herself from
27

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 1         an Instagram and stating, “you’re pretty, that’s about it !!!!” thus
 2
           constituting one of many of his inappropriate communications with a
 3

 4         subject much younger in age than himself while disregarding the fact that

 5         he was married with child.
 6
        404.     Unbeknownst to Plaintiffs, there was a large conspiracy taking
 7

 8         place against them.
 9      405.     Plaintiffs later discovered that Mr. Pons made numerous false and
10
           defamatory statements about Plaintiffs to many of their employers,
11

12         sponsors and business affiliates including but not limited to stating that
13         Plaintiffs were going to jail, that they were rapists, that they were
14
           dangerous people and including that they should not be around children.
15

16      406.     Defendant Luis Pons knew that his statements were defamatory,
17         malicious and false and chose to make them anyway.
18
        407.     As a direct and proximate result of Mr. Pons’ false and defamatory
19

20         statements to Juliet Doherty and other third parties including but not
21
           limited to employers and sponsors of Plaintiffs, business relationships
22
           were terminated and Plaintiffs suffered unimaginable loss to their careers,
23

24         reputations and overall livelihood.
25
        408.     As another example, Plaintiffs have recently learned of other
26
           defamatory statements made by Mr. Pons including that he stated to other
27

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 1         dance photographers and dance studio owners that the Buttons were
 2
           dangerous and that they should not be hired or work around children.
 3

 4      409.     Mr. Pons made false and defamatory statements with actual malice

 5         and/or reckless disregard for the truth.
 6
                 F. The Aftermath of Defendants’ Defamatory Statements
 7

 8      410.     Plaintiffs will never mentally, spiritually, physically or
 9         financially recover from Defendants’ defamatory, malicious and
10
           egregious false allegations and statements made to the Court, the public,
11

12         the media, the press, employers, sponsors and innumerable third-parties.
13      411.     Defendants knew the defamatory statements and false allegations
14
           would inflict severe harm and trauma upon Plaintiffs whereas, there
15

16         would be no recovery from the false and defamatory statements made
17         about Plaintiffs to a mass audience.
18
        412.     The aftermath of Defendants’ defamatory statements and false
19

20         allegations were catastrophic; preventing Plaintiffs from being able to
21
           properly defend themselves in the media and even in their own litigation,
22
           including being prevented from taking action against Juliet Doherty prior
23

24         to Ms. Doherty filing her frivolous complaint in Nevada.
25

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 1      413.     The impact of Defendants’ false and defamatory statements to the
 2
           media, the public and the press was catastrophic to Plaintiffs, their
 3

 4         livelihood and their mental health.

 5      414.     The defamatory statements made by Defendants resulted in loss of
 6
           millions of dollars in revenue, assets and income, as Plaintiffs’ businesses,
 7

 8         good names and network of professional relationships were all destroyed.
 9      415.     As seen, supra, Plaintiffs themselves, were their business,
10
           contracted by numerous private contractors which immediately ceased
11

12         working with Plaintiffs following the defamatory global media campaign
13         waged against them, including but not limited to contractors and sponsors
14
           who had employed and worked with Plaintiffs for over fifteen years, and
15

16         who immediately disassociated themselves from Plaintiffs.
17      416.     Plaintiffs were sent death threats, threats of physical violence if
18
           they were to be seen in public and harassing messages, as hundreds of
19

20         thousands of accounts reposted Defendants’ defamatory and slanderous
21
           statements which were intentionally harmful to Plaintiffs.
22
        417.     Plaintiffs were physically, forcibly and embarrassingly removed
23

24         from public events and various restaurants and stores where their names
25
           and likenesses were recognized from the media that Defendants
26
           orchestrated.
27

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 1      418.     As a direct and proximate result of Defendants’ conduct, Plaintiffs
 2
           no longer work in their respective industries and have been completely
 3

 4         unemployed since 2021 as Defendants destroyed any and all ability to

 5         work in the industries Plaintiffs worked their entire lives to be proficient
 6
           in.
 7

 8      G. Defendants’ Destruction of Plaintiffs’ Business, Goods and Services
 9      419.     As stated in the above references, Plaintiffs’ names and likeness
10
           was their only business, which generated the entirety of their revenue,
11

12         income and business, whereas Plaintiffs, themselves, and what they
13         provided to their respective industries was solely based on what they
14
           provided as their name brands known as Dusty Button, Taylor Button,
15

16         Mitch/Mitchell Button, Mitchell Taylor Button, “The Buttons”, Button
17         Built, Button Brand and Bravado by Dusty Button.
18
        420.     Plaintiffs’ established business, goods and services were directly
19

20         sourced and provided from their good names, talent, expertise and
21
           reputations, which were completely destroyed by Defendants, and their
22
           defamatory posts and remarks.
23

24      421.     As stated in the above referenced facts, Plaintiffs were highly
25
           respected, extremely well-known, leaders of the dance industry and the
26
           automotive industry, and reliant on their businesses which were well
27

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 1         established for over fifteen years, as each Plaintiff was their own business
 2
           in which they were hired based on their desired skill sets in their
 3

 4         industries, which others could not offer.

 5      422.     Plaintiffs had established business with signed negotiated contracts
 6
           with three companies to manufacture and sell their dancewear line which
 7

 8         was in its initial phase and well under way as Plaintiffs were beginning
 9         the second wave of these partnerships when Defendants’ defamatory
10
           statements derailed all operations.
11

12      423.     Plaintiffs lost any and all business immediately and for the
13         foreseeable future as a direct result of Defendants’ defamatory and
14
           slanderous statements against Plaintiffs resulting in injurious falsehood.
15

16      424.     Defendants made their statements with actual malice as they knew
17         that Plaintiffs would suffer significant and irreparable financial harm.
18
        425.     Defendants knew their statements were false and intentionally
19

20         crippled Plaintiffs’ business and ability to generate revenue and income as
21
           they maliciously and intentionally reached out to any and all sponsors,
22
           employers and coworkers of Plaintiffs to ensure the destruction of their
23

24         reputations.
25
        426.     Defendants knew their statements were false and intentionally
26
           crippled Plaintiffs’ goods and services which included Plaintiff Dusty
27

28

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 1         Buttons’ teaching, provided choreography, modeling, dancing, guest
 2
           performing, speaking engagements, design concepts, marketing and brand
 3

 4         ambassadorship, all of which were destroyed as Plaintiff Dusty Button

 5         was her own goods and services, as her name and career was her brand
 6
           and her business.
 7

 8      427.     Defendants knew their statements were false and intentionally
 9         crippled Plaintiffs’ goods and services which included Plaintiff Taylor
10
           Buttons’ design work, custom automotive creations, sponsorships,
11

12         commercial shoots, events, marketing, advertising and speaking
13         engagements, all of which were destroyed as Plaintiff Taylor Button was
14
           his own goods and services, as his name and career was his brand and his
15

16         business.
17      428.     Defendants intentionally, willfully and maliciously made
18
           defamatory statements to numerous media and press outlets which in turn,
19

20         resulted in further defamation by hundreds of thousands of third parties on
21
           social media, in the press and other new outlets.
22
        429.     Defendants’ defamatory post spread like fuel-soaked wildfire
23

24         throughout the dance industry and community, automotive industry and
25
           community and further, to dance and automotive forums including but not
26
           limited to Facebook, Reddit and TikTok and was widely spread via
27

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 1         communications through various messaging platforms nationally and
 2
           internationally.
 3

 4      430.     Defendants’ defamatory remarks were not only spread in written

 5         form but were widely spread via word of mouth through the grapevine of
 6
           the industries which Plaintiffs were so highly respected and prominent in.
 7

 8      431.     Defendants were the curator and creator defamatory remarks and
 9         posts in which she had complete control of, using her influence and abuse
10
           of power to reach millions of people to intentionally, willfully and
11

12         maliciously defame Plaintiffs while knowingly inflicting intentional harm
13         on Plaintiffs and their business and reputations.
14
        432.     Defendants’ defamatory posts and remarks to a mass media
15

16         audience were intentionally dishonest and her defamatory remarks were
17         stated for an improper motive with the intent to injure Plaintiffs without
18
           just cause or excuse.
19

20      433.     Defendants knew that, as a result of the defamatory statements,
21
           Plaintiffs would suffer financial harm and never be capable of generating
22
           revenue using their names again.
23

24      434.     Plaintiffs suffered complete loss of business and sales including
25
           that Plaintiffs income was solely based on a per performance basis
26

27

28

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 1         whereas, Plaintiffs’ income was generated upon completion of work as
 2
           they were themselves, their business.
 3

 4      435.     For example, Plaintiff Dusty Button’s teaching classes and

 5         performances were immediately canceled following Defendants’
 6
           defamatory statements.
 7

 8      436.     As another example, Plaintiff Dusty Button immediately lost any
 9         and all business with all scheduled dance studios, summer intensive
10
           courses, and events which she was scheduled to guest teach and
11

12         choreograph for, including scheduled guest performance appearances
13         nationally and internationally as a direct result of Defendants’ defamatory
14
           statements.
15

16      437.     As another example, Plaintiff Taylor Button immediately lost any
17         and all business related to his brands including his business and brand
18
           “Button Built”, with all scheduled events in the automotive industry
19

20         including pre-planned design builds for clients and customers including
21
           prominent name brands which were sponsors of Plaintiff Taylor Button,
22
           all of whom canceled their builds and design concept work with Plaintiff
23

24         for the foreseeable future.
25
        438.     Further, Plaintiffs, both immediately lost any and all contracts with
26
           sponsors, endorsements and event appearances in their respective
27

28

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 1         industries including but not limited to: BLOCH Inc., Tiger Friday,
 2
           Capezio, Yumiko, MPG Sport, Fenti, Volcom, Discount Dance, RedBull,
 3

 4         Adidas, WeWork, Rotiform Wheels, Brixton Forged, Momo racing,

 5         Bride Racing, Nitto Tires, Toyo tires, Brembo, Ferrari Parts, Tial
 6
           Concepts, Xona Rotor, Aviva Performance, Impressive Wraps, Inozetek,
 7

 8         Tubi Style, Vivid Motorsport, Voodoo Automotive, SEMA Auto Show,
 9         Crep Protect, Accuair Suspensions, Currie axels, Pelican LLC, Greyman
10
           Tactical, PRP seats, KMC wheels, RAM mounts, Metalcloak suspension
11

12         and body components, THULE, Rebel Offroad, PPG paint, Morimoto
13         LED lighting solutions, BAJA off-road lighting solutions, Powertank,
14
           Maxxtraxx, HP tuners, Emory Motorsports, SABELT and Illest, amongst
15

16         many others not listed here.
17      439.     Plaintiffs not only lost their business “Button Brand”, suffering the
18
           complete destruction of their self-made brand but were forced to refund
19

20         customers for items sold due to the connection of the defamatory
21
           statements made by Defendants and the third parties who “grapevined”
22
           off of their defamatory statements in the media and the press.
23

24      440.     Plaintiffs completely lost and forfeited their brand, Button Brand
25
           due to the defamatory statements made by Defendants.
26

27

28

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 1      441.     Plaintiffs had a pre-planned, negotiated contract with dancewear
 2
           company Tiger Friday whereas, Plaintiffs designed, licensed and would
 3

 4         market the line of leotards and dancewear utilizing the Button name and

 5         brand to expand their already successful company and image.
 6
        442.     Plaintiffs’ contract was immediately canceled as a direct result of
 7

 8         Defendants’ defamatory remarks.
 9      443.     Plaintiffs were not paid for work already completed as Tiger Friday
10
           continued to use Plaintiffs’ already completed designs, due to the false
11

12         and defamatory statements made by Defendants.
13      444.     Plaintiffs’ brand, Bravado by Dusty Button was a dancewear and
14
           leotard line for dancers in which Plaintiffs had previous negotiated
15

16         contracts with sponsored third-party companies and distributors such as
17         Discount Dance, Showstopper and GK Elite, as well as advertised and
18
           garnered sales of this line through their own website
19

20         “bravadodancewear.com” and through Plaintiffs’ former social media
21
           page on Instagram, @bravado_dancewear and Plaintiffs’ personal social
22
           media account, @dusty_button.
23

24      445.     Bravado by Dusty Button was sold at various dance events for
25
           distribution, whereas, sales and contracts were immediately terminated
26
           following $100,000.00 of partner investment and nearly a year of travel
27

28

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 1         and planning as a direct result of Defendants’ defamatory statements in
 2
           the global media campaign waged against Plaintiffs.
 3

 4      446.     Defendants’ defamatory remarks forced the termination of Bravado

 5         by Dusty Button as all sales came to a halt and additionally, customers
 6
           demanded refunds stating the brand was associated with “sexual
 7

 8         predators”, “perpetrators”, “criminal behavior” and “rapists”.
 9      447.     Immediately following Defendants’ defamatory statements in the
10
           media and the press, Plaintiffs’ businesses, Button Brand, Button Built,
11

12         and Bravado by Dusty Button were completely destroyed, losing hundreds
13         of thousands of dollars in revenue and costs, which were already paid,
14
           promised and negotiated with third party companies and distributors.
15

16      448.     Any and all marketing for the above reference brands with
17         associated accounts advertising those brands including all sales were
18
           terminated as a direct result of Defendants’ false and defamatory posts
19

20         and remarks.
21
        449.     The seriousness of Defendants’ defamatory statements proves a
22
           clear intention to cause damage to Plaintiffs.
23

24      450.     The nature and substance of Defendants’ defamatory posts, remarks
25
           and actual knowledge that her statements were untrue prove that
26
           Defendants’ actions were willful, intentional and malicious.
27

28

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 1      451.     Defendants’ defamatory statements and the audience that the
 2
           Defendant intended to, and did reach, proves without question, her intent
 3

 4         to harm Plaintiffs’ careers, businesses and reputations as the false

 5         statements were aimed specifically at Plaintiffs’ colleagues, clients and
 6
           target demographics through these defamatory statements in the global
 7

 8         media campaign waged against Plaintiffs including but not limited to
 9         published defamatory statements in The New York Times, Cosmopolitan,
10
           The Boston Globe, ABC News, The Daily Mail and other mass media
11

12         outlets including the press and nearly every major news outlet and social
13         media account that were otherwise outside of Plaintiffs’ industries.
14
        452.     Defendants’ defamatory statements caused the entire dance
15

16         industry to not only turn against Plaintiff Dusty Button, (who had worked
17         her entire life to build the reputation she was known for in her industry
18
           and was at the pinnacle of her career), but caused the industry to
19

20         disassociate from Dusty, repost the defamatory statements and cease all
21
           communication with her, including halting any and all forms of
22
           employment for which she had been in extremely high demand for, for
23

24         over fifteen years.
25
        453.     Defendants’ defamatory statements caused the entire automotive
26
           industry to not only turn against Plaintiff Taylor Button, (who had worked
27

28

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 1         over thirteen years to build the reputation of the idol he was and that he
 2
           was known for in his industry and was at the pinnacle of his career), but
 3

 4         caused the industry to disassociate from Taylor, repost the defamatory

 5         statements and cease all communication with him, including halting any
 6
           and all forms of employment for which he had been in extremely high
 7

 8         demand for, for over thirteen years.
 9      454.     The defamatory remarks and posts made by Defendants ignited a
10
           viral response which spread like wildfire, resulting in a ‘grapevine’ effect
11

12         throughout Plaintiffs’ industries including to their co-workers, clients,
13         employers, potential employers, parents and children of those Dusty
14
           taught in the dance industry, sponsors, potential sponsors, friends and
15

16         family involved in the industries, customers, former employers, agencies,
17         dance studio owners and other various third parties whereas, Plaintiffs
18
           could not defend themselves against such widespread industry gossip.
19

20      455.     Defendants specifically targeted Plaintiffs in making false and
21
           defamatory statements, as they were influential and informative people in
22
           their industries in which the Defendants spread false statements further
23

24         than it would seem at first blush.
25
        456.     Plaintiffs were completely prevented from defending themselves to
26
           all third parties as Defendants’ defamatory statements were so
27

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 1         immediately viral and out of control, that Plaintiffs could not control or
 2
           manage the effects of Defendants’ false, defamatory and malicious
 3

 4         statements.

 5      457.      As a direct cause of Defendants’ false and defamatory statements
 6
           and global media campaign waged against Plaintiffs, Plaintiffs have been
 7

 8         unable to even have a ringtone, vibration or sound on their phones when
 9         notifications or calls come in, due to the influx of notifications, messages,
10
           harassment, death threats, unwanted threatening calls and the
11

12         overwhelming immediate responses to Defendants’ posts, comments and
13         reposts whereas, Plaintiffs even had to take turns watching for
14
           notifications on each other’s phones to even sleep just one hour as the
15

16         harassing, threatening and defamatory remarks continued for months on
17         end.
18
        458.      To this day, Plaintiffs keep their phones on silent as it results in
19

20         severe trauma and PTSD as a direct result of Defendants’ defamatory
21
           statements and the global media campaign waged against them.
22
        459.      As previously stated herein, Plaintiffs’ business, was their names
23

24         and likeness as they were individually contracted due to their reputations
25
           of who they were as a business and as their names were their brands.
26

27

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 1      460.        Plaintiffs were well-known and prominent figures in their industries
 2
           and therefore, were contracted, employed and in high-demand because of
 3

 4         their names and reputations, as they, themselves were their businesses for

 5         over fifteen years.
 6
        461.        Plaintiffs’ reputations, prior to Defendants’ defamatory statements
 7

 8         in her global media campaign waged against Plaintiffs and the slaughter
 9         of Plaintiffs’ good names, was impeccable in both their respective
10
           industries whereas, Plaintiffs were well-liked, well-respected and in high
11

12         demand due to their expertise in their industries, which others could not
13         offer.
14
        462.        Defendants have never made any attempt to rectify the false and
15

16         malicious statements even after Plaintiffs have proven their statements to
17         be defamatory, false, misleading and intentionally harmful, including in
18
           litigation.
19

20      463.        The shock and confusion resulting from the defamatory statements,
21
           coupled with Defendants’ abuse of power and influence resulted in
22
           intense threats, harassment, and severe bullying including the use of
23

24         Defendants’ fame as a well-known dancer to intimidate and silence
25
           Plaintiffs while in litigation against her, led Plaintiffs to believe recourse
26
           would be an impossibility against her.
27

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 1      464.     Plaintiffs were so traumatized by Defendants’ actions that they both
 2
           suffered from suicidal thoughts, nearly taking their own lives as a direct
 3

 4         result of the defamatory statements made by Defendants’ and the global

 5         media campaign waged against them however, they have since
 6
           championed those dark thoughts without the help of the therapy they are
 7

 8         unable to afford due to the destruction of their careers through
 9         Defendants’ defamatory conduct.
10
        465.     Defendants took affirmative steps to ensure Plaintiffs were without
11

12         the ability to seek recourse against them until now with the intentional
13         harm they inflicted on Plaintiffs by way of forcing them to be unemployed
14
           with no ability to generate income, releasing them of any responsibility as
15

16         they knew it was a possibility for their statutes of limitation to expire
17         before Plaintiffs could take action against them.
18
        466.     Defendants defamatory campaign against Plaintiffs was directly
19

20         responsible for hundreds of death threats and a hired convicted felon that
21
           was paid nearly $100,000.00 to force Plaintiffs to destroy evidence that
22
           Defendant’s defamation was meant to conceal; a felon who broke into
23

24         Plaintiffs’ home and thus rendered them in fear of their lives.
25
        467.     Accordingly, any statute of limitations applicable to Dusty and
26
           Taylor’s claims, if any, is tolled.
27

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 1      468.     Defendants’ actions described above deprived Dusty and Taylor of
 2
           the opportunity to commence this lawsuit before now.
 3

 4      469.     Defendants are equitably estopped from asserting a statute of

 5         limitations defense as to Plaintiffs’ claims.
 6
        470.     Allowing Defendants to do so would be unjust.
 7

 8      471.     Defendants took active steps to prevent Dusty and Taylor from
 9         commencing this lawsuit before now, including by destroying Plaintiffs’
10
           inability to work after the onset of their defamatory global media
11

12         campaign against Plaintiffs began and by using tactical intimidation by
13         way of using their power and influence in the dance community to
14
           suppress and silence Plaintiffs from defending against her false and
15

16         defamatory posts and remarks through litigation.
17      472.     Plaintiffs received additional discovery regarding Defendants’
18
           defamatory and false statements to third parties during the course of
19

20         discovery in Nevada whereas, Plaintiffs were not aware of such
21
           communications and defamatory statements until the years 2022 and 2023
22
           including but not limited to communications proving Defendants
23

24         conspired in the years 2017-2021 to ensure Plaintiffs’ reputations, careers,
25
           business relationships and livelihoods were destroyed.
26

27

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 1      473.      Plaintiffs have actual knowledge that substantial additional evidentiary
 2
           support, which is in the exclusive possession of the Defendant and their agents and
 3
           other third-parties, which will exist for the allegations and claims set forth above after
 4
           a reasonable opportunity for discovery.
 5

 6      474.      Plaintiffs have suffered and continue to suffer mental anguish,

 7         severe emotional distress and loss of enjoyment of life as a direct and
 8
           proximate result of Defendants’ defamatory and malicious statements.
 9
10      475.      Had Plaintiffs succumbed to the darkness that Defendants cast over
11         their lives, businesses, families and futures, this litigation would be
12
           criminal rather than civil as they are responsible the fraudulent actions
13

14         that nearly ended two lives that were once the brightest lights of their
15         careers for millions of people abroad.
16
                                     CAUSES OF ACTION
17

18                                   COUNT I – BATTERY
19                              Plaintiffs against Juliet Doherty
20
        476.      Plaintiffs repeat and reallege the allegations contained within
21

22         paragraphs 1 through 475, supra, as if set forth herein.
23
        477.      Juliet intended to commit and committed acts of unwanted contact
24
           with Dusty and Taylor.
25

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 1      478.      Juliet committed unwanted contacted contact with Plaintiffs in a
 2
           harmful and offensive manner, including but not limited to by inflicting
 3

 4         sexual abuse against Plaintiffs.

 5      479.      Among other batteries, Juliet sexually abused Plaintiffs without
 6
           their consent.
 7

 8      480.      Juliet used physical force to commit batteries against Plaintiffs.
 9      481.      Juliet exploited her position of power to intimidate, overwhelm, and
10
           subdue Plaintiffs.
11

12      482.      Juliet abused her position of power over Plaintiffs by means of a
13         scheme, plan, or pattern intended to cause Plaintiffs harm including but
14
           not limited to Juliet’s conspiracy to repeat the relationship her good friend
15

16         Sage Humphries once had with Plaintiffs by attempting to initiate a three-
17         way relationship.
18
        483.      Juliet’s batteries on Plaintiffs caused severe mental and emotional
19

20         distress, pain and suffering, mental anguish, and loss of enjoyment of life.
21
        484.      Juliet’s unlawful actions were intentional, done with malice, and/or
22
           showed a deliberate, willful, wanton, and reckless indifference to
23

24         Plaintiffs’ rights.
25

26

27

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 1                WHEREFORE, Plaintiffs Dusty and Taylor Button demand
 2
     judgment against Defendant Juliet Doherty for damages, punitive damages,
 3

 4   court costs, and such other relief as the Court deems just and proper.

 5                                         COUNT II
 6
                                           ASSAULT
 7

 8                               Plaintiffs against Juliet Doherty
 9      485.      Plaintiffs repeat and reallege the allegations contained within
10
           paragraphs 1 through 475, supra, as if set forth herein.
11

12      486.      Juliet intentionally attempted, threatened, and committed harmful
13         and offensive contacts against Plaintiffs, including but not limited to
14
           inflicting sexual abuse and physical abuse against Plaintiffs.
15

16      487.      Juliet’s conduct places Plaintiffs in a reasonable apprehension of
17         bodily harm.
18
        488.      Juliet’s assaults on Plaintiffs caused severe mental and emotional
19

20         distress, pain and suffering, mental anguish, and loss of enjoyment of life.
21
        489.      Juliet’s unlawful actions were intentional, done with malice, and/or
22
           showed a deliberate, willful, wanton, and reckless indifference on
23

24         Plaintiffs’ rights.
25
        490.      Accordingly, any statute of limitations applicable to Dusty and
26
           Taylor’s claims, if any, is tolled.
27

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 1      491.      Defendant’s actions described above deprived Dusty and Taylor of
 2
           the opportunity to commence this lawsuit before now.
 3

 4      492.      Defendant is equitably estopped from asserting a statute of

 5         limitations defense as to Plaintiffs’ claims.
 6
        493.      Allowing Defendant to do so would be unjust.
 7

 8      494.      WHEREFORE, Plaintiffs Dusty and Taylor Button demand
 9         judgment against Defendant Juliet Doherty for damages, punitive
10
           damages, court costs, and such other relief as the Court deems just and
11

12         proper.
13                                        COUNT III
14
                                     BREACH OF DUTY
15

16                              Plaintiffs against Juliet Doherty
17      495.      Plaintiffs repeat and reallege the allegations contained within
18
           paragraphs 1 through 475, supra, as if set forth herein.
19

20      496.      The Defendant committed an act or omission that violated the duty
21
           of care.
22
        497.      Juliet owed Plaintiffs a duty.
23

24      498.      The Defendant was involved in creating the risk that caused harm
25
           to the Plaintiffs.
26

27

28

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 1      499.      The Defendant knew or should have known that their actions would
 2
           result in harm to the Plaintiff.
 3

 4      500.      Juliet breached her duty, including but not limited to by inflicting

 5         sexual harassment, assault and abuse against Plaintiffs.
 6
        501.      Juliet used her knowledge of Plaintiffs’ prior relationship with Sage
 7

 8         Humphries to attempt to force and coerce them into a relationship with
 9         her even after they told her to stop.
10
        502.      Juliet’s conduct proximately caused Plaintiffs to suffer severe
11

12         mental and emotional distress, pain and suffering, mental anguish, and
13         loss of enjoyment of life.
14
        503.      Juliet’s unlawful actions were intentional, done with malice, and/or
15

16         showed a deliberate, willful, wanton, and reckless indifference to
17         Plaintiffs’ rights.
18
        504.      Accordingly, any statute of limitations applicable to Dusty and
19

20         Taylor’s claims, if any, is tolled.
21
        505.      Defendant’s actions described above deprived Dusty and Taylor of
22
           the opportunity to commence this lawsuit before now.
23

24      506.      Defendant is equitably estopped from asserting a statute of
25
           limitations defense as to Plaintiffs’ claims.
26
        507.      Allowing Defendant to do so would be unjust.
27

28

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 1      508.     WHEREFORE, Plaintiffs Dusty and Taylor Button demand
 2
           judgment against Defendant Juliet Doherty for damages, punitive
 3

 4         damages, court costs, and such other relief as the Court deems just and

 5         proper.
 6
                                        COUNT IV
 7

 8     TORTIOUS INTERFERENCE WITH BUSINESS RELATIONSHIPS
 9        Plaintiffs against Juliet Doherty, Krista King-Doherty and Luis Pons
10
        509.     Plaintiffs repeat and reallege the allegations contained within
11

12         paragraphs 1 through 475, supra, as if set forth herein.
13      510.     Plaintiffs were an established brand in and of themselves who did
14
           business nationally and internationally, providing services to employers,
15

16         sponsors, agencies and various other third parties, and had developed an
17         excellent reputation in the dance and automotive industries.
18
        511.     Plaintiffs specifically targeted and called, messaged, emailed or
19

20         told Plaintiffs’ employers, sponsors, contractors or business affiliates to
21
           fire them, terminate their contracts and/or to disassociate from them and
22
           to not hire and/or rehire them for any work, ever again which resulted in
23

24         the termination of innumerable contracts and jobs and the cancellation of
25
           scheduled and contracted work.
26
        512.     Defendants’ actions resulted in the complete loss of income.
27

28

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 1      513.     Furthermore, since July 14th, 2018, Plaintiffs have worked for
 2
           various employers including but not limited to Panama Ballet Festival as
 3

 4         well as other entities which are either affiliated with, associated with, or

 5         under the control or ownership of the same principals who own and
 6
           control Panama Ballet Festival.
 7

 8      514.     Since July 14th, 2018, Plaintiffs have worked for various employers
 9         including but not limited to other entities which are either affiliated with,
10
           associated with Master Ballet Academy.
11

12      515.     Since July 14th, 2018, Plaintiffs have worked for various employers
13         including but not limited to BellaMoxi Dance as well as other entities
14
           which are either affiliated with, associated with, or under the control or
15

16         ownership of the same principals who own and control BellaMoxi Dance.
17      516.     Since July 14th, 2018, Plaintiffs have worked for various employers
18
           including but not limited to Discount Dance as well as other entities
19

20         which are either affiliated with, associated with, or under the control or
21
           ownership of the same principals who own and control Discount Dance.
22
        517.     Since July 14th, 2018, Plaintiffs have worked for various employers
23

24         including but not limited to BLOCH INC as well as other entities which
25
           are either affiliated with, associated with, or under the control or
26
           ownership of the same principals who own and control BLOCH INC.
27

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 1      518.     Upon information and belief, Plaintiff Dusty Button was referred to
 2
           Panama Ballet Festival because, in part, of her excellent reputation. Due
 3

 4         to the continuing and developing relationship with Panama Ballet Festival

 5         and affiliated entities, Dusty Button had developed business which
 6
           generated revenue for services provided.
 7

 8      519.     Upon information and belief, Plaintiff Dusty Button was referred to
 9         Master Ballet Academy because, in part, of her excellent reputation. Due
10
           to the continuing and developing relationship with Master Ballet
11

12         Academy and affiliated entities, Dusty Button had developed business
13         which generated revenue for services provided.
14
        520.     Upon information and belief, Plaintiff Dusty Button was referred to
15

16         BellaMoxi Dance because, in part, of her excellent reputation. Due to the
17         continuing and developing relationship with BellaMoxi Dance and
18
           affiliated entities, Dusty Button had developed business which generated
19

20         revenue for services provided.
21
        521.     Upon information and belief, Plaintiff Dusty Button was referred to
22
           Discount Dance because, in part, of her excellent reputation. Due to the
23

24         continuing and developing relationship with Discount Dance and
25
           affiliated entities, Dusty Button had developed business which generated
26
           revenue for services provided.
27

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 1      522.     Plaintiff Dusty Button has had a long-standing relationship with
 2
           BLOCH INC from the age of sixteen years old and upon belief, was
 3

 4         initially referred to BLOCH INC because, in part, of her excellent

 5         reputation. Due to the continuing and developing relationship with
 6
           BLOCH INC and affiliated entities, Dusty Button had developed business
 7

 8         which generated revenue for services provided.
 9      523.     At some time, (and at different times) in 2018, and through the year
10
           2021, Panama Ballet Festival, Master Ballet Academy, BellaMoxi Dance
11

12         and Discount Dance, (among other sponsors and/or employers), became
13         hesitant and or reluctant to use Plaintiffs’ services due to Defendants’
14
           conduct.
15

16      524.     At or about this same time, the forementioned companies revealed
17         that their hesitancy to work with Plaintiffs stemmed from the false and
18
           defamatory statements they received from Defendant Juliet Doherty, her
19

20         mother, Krista King-Doherty and Luis Pons.
21
        525.     Plaintiffs learned that Defendants had made disparaging and false
22
           remarks about Plaintiffs including false and defamatory rumors regarding
23

24         criminal activity and “pending charges” which never occurred, their
25
           integrity, and professionalism to the forementioned companies and that
26

27

28

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 1         Defendants had encouraged and assisted them in the termination of
 2
           Plaintiffs’ contracts and business relations.
 3

 4      526.     The forementioned companies and the related entities then

 5         terminated their relationships with Plaintiffs.
 6
        527.     Defendants acted intentionally and maliciously in interfering with
 7

 8         Plaintiffs’ relationship with the forementioned companies and its affiliates
 9         amongst other business relationships.
10
        528.     The foregoing actions on the part of Defendants constitute an
11

12         unlawful interference with contractual relations between the
13         forementioned companies:
14
           (A) there was a contractual relationship between Plaintiffs and the
15

16         forementioned companies.
17         (B) Defendants clearly knew of Plaintiffs’ contractual relationships with
18
               the forementioned companies.
19

20         (C) Defendants wrongfully interfered with Plaintiffs contractual relations;
21
           (D)   Defendants’ interference is the reason for the loss of ABCOs
22
               contractual relationship with the forementioned companies; and
23

24         (E) as a result of Defendants’ actions, Plaintiffs have been severely and
25
               irreparably damaged.
26

27

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 1      529.     Accordingly, any statute of limitations applicable to Dusty and
 2
           Taylor’s claims, if any, is tolled.
 3

 4      530.     Defendants’ actions described above deprived Dusty and Taylor of

 5         the opportunity to commence this lawsuit before now.
 6
        531.     Defendants are equitably estopped from asserting a statute of
 7

 8         limitations defense as to Plaintiffs’ claims.
 9      532.     Allowing Defendants to do so would be unjust.
10
        533.     Plaintiffs were not aware of Defendants’ actions prior to 2021 until
11

12         the discovery process in Nevada began whereas, Plaintiffs received
13         discovery proving the forementioned statements to be true in and around
14
           2023, prior to and following Juliet Doherty’s withdrawal from the Nevada
15

16         litigation on February 24th, 2023.
17      534.     Defendants’ conduct against the Plaintiffs is a continuing wrong
18
           whereas, Plaintiffs have since learned of new and recent defamatory
19

20         statements made by the Defendants in 2023 and 2024, to other third
21
           parties including but not limited to various former employers such as
22
           affiliates of Youth America Grand Prix, Cancun Ballet Festival and
23

24         Master Ballet Academy.
25
        535.     Defendants’ conduct is a continuing wrong whereas, the Plaintiffs
26
           have learned of further defamatory statements made as late as the summer
27

28

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 1         of 2024 including through anonymous accounts on Reddit and Instagram,
 2
           and other various forms of social media.
 3

 4      536.      WHEREFORE, Plaintiffs Dusty and Taylor Button demand

 5         judgment against Defendants for damages, punitive damages, court costs,
 6
           and such other relief as the Court deems just and proper.
 7

 8                                      COUNT V
 9                           MALICIOUS PROSECUTION
10
                             Plaintiffs against Juliet Doherty
11

12      537.      Plaintiffs repeat and reallege the allegations contained within
13         paragraphs 1 through 475, supra, as if set forth herein.
14
        538.      Juliet Doherty was actively involved in bringing and continuing a
15

16         frivolous lawsuit against Plaintiffs with false allegations of sexual abuse,
17         false allegations of abuse against a minor, (which she was not), false
18
           allegations of forced labor, involuntary servitude, assault, battery and
19

20         breach of fiduciary duty, sex trafficking, false imprisonment and
21
           intentional infliction of emotional distress whereas, Juliet knew that her
22
           allegations were frivolous, false, defamatory and would bring harm upon
23

24         Plaintiffs.
25
        539.      Juliet Doherty voluntarily dismissed her complaint against
26
           Plaintiffs on February 24th, 2023 citing false and defamatory reasoning for
27

28

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 1         withdrawing her claims such as “online harassment”, none of which took
 2
           place and whereas, Juliet Doherty withdrew immediately, and the day
 3

 4         following Plaintiffs’ request for admissions.

 5      540.     No reasonable person in Juliet Doherty’s circumstances would have
 6
           believed that there were grounds to bring the lawsuit against Plaintiffs
 7

 8         including because in addition to Juliet Doherty’s allegations being
 9         frivolous and malicious, the events which actually took place are
10
           described herein and were the actions of the Defendant, as seen supra;
11

12         Juliet Doherty conspired with Sage Humphries and her mother, Luis Pons
13         and Krista King-Doherty to file a frivolous complaint against Plaintiffs
14
           three years after falsely stating there were “pending criminal charges”
15

16         against Plaintiffs and that she did not want to be associated with them in
17         any way because of those charges, not because of her own false and made
18
           up narrative stated in her complaint, which was never previously stated.
19

20      541.     The Defendant continues to state that there are pending charges
21
           against the Plaintiffs.
22
        542.     Juliet Doherty acted primarily for a purpose other than succeeding
23

24         on the merits of the claims in her complaint whereas; when Plaintiffs
25
           provided evidence that her allegations were entirely frivolous and
26
           malicious and asked for her admissions, Juliet withdrew her complaint
27

28

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 1         and then lied to the Court regarding the reason behind her withdrawal to
 2
           further defame Plaintiffs, as the media covered her withdrawal from the
 3

 4         litigation.

 5      543.      Plaintiffs were severely and irreparably harmed by Juliet Doherty’s
 6
           false and frivolous complaint against them whereas, Plaintiffs have not
 7

 8         been able to work a single job due to the false and defamatory allegations
 9         and their names being globally recognized in the media as Juliet Doherty
10
           and her counsel waged a global media campaign against Plaintiffs.
11

12      544.       Juliet Doherty’s conduct was a substantial factor in causing harm
13         on Plaintiffs as her salacious and defamatory statements to third parties
14
           entirely disseminated any and all employment, sponsorships and
15

16         relationships with employers, sponsors, clients or businesses which
17         previously respected and employed or sponsored Plaintiffs including
18
           defamatory statements which were not only made in person but on social
19

20         media and in the news.
21
        545.      WHEREFORE, Plaintiffs Dusty and Taylor Button demand
22
           judgment against Defendant for damages, punitive damages, court costs,
23

24         and such other relief as the Court deems just and proper.
25
                         COUNT VI – DEFAMATION PER SE
26
          Plaintiffs against Juliet Doherty, Krista King-Doherty and Luis Pons
27

28

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 1      546.      Plaintiffs repeat and reallege the allegations contained within
 2
           paragraphs 1 through 475, supra, as if set forth herein.
 3

 4      547.      The unprivileged statements made by Defendants to others about

 5         Plaintiffs were false and defamatory.
 6
        548.      The unprivileged statements made by Defendants to others about
 7

 8         Plaintiffs caused complete loss and injury to Plaintiffs’ businesses
 9         whereas, Plaintiffs have not worked one single job since July, 28th, 2021
10
           and moreover, since December 13th, 2021, including that any and all
11

12         contracts and agreements were immediately and prematurely terminated
13         following Defendants’ conduct.
14
        549.      The unprivileged statements made by Defendants to others about
15

16         Plaintiffs caused complete loss and injury to Plaintiffs’ businesses
17         whereas, Plaintiffs employment, sponsorships, careers, business relations
18
           and reputations suffered severe injury due to Defendants’ conduct
19

20         beginning from the year 2018 and which was not discovered by Plaintiffs
21
           until discovery in the Nevada litigation took place in 2022 and 2023.
22
        550.      Defendants made and published such statements negligently, with
23

24         knowledge of the falsity of the statements, and/or with reckless disregard
25
           of their truth or falsity.
26

27

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 1      551.        At the time Defendants made such statements, they knew or should
 2
           have known that they were false and defamatory.
 3

 4      552.        Hundreds of thousands of people actually read and/or heard the

 5         false and defamatory statements.
 6
        553.        Defendants’ statements were not privileged or protected.
 7

 8      554.        Defendants’ statements were made and published with actual
 9         malice, oppression, and fraud in that they were aware at the time of the
10
           falsity of the publication and thus, made said statements and publications
11

12         in bad faith, out of hatred and ill-will directed towards Plaintiffs without
13         any regard for the truth.
14
        555.        Defendants possessed information and evidence, and had access to
15

16         information that showed their statements were false and defamatory.
17      556.        Defendants made statements for which they had no factual basis.
18
        557.        Defendants suggested Plaintiffs were involved in a serious crime
19

20         involving moral turpitude or a felony, exposing Plaintiffs to ridicule in
21
           which reflected negatively on Plaintiffs’ characters, morality and integrity
22
           whereas, the defamatory statements impaired Plaintiffs’ financial well-
23

24         being.
25
        558.        The false statements made by Defendants to the media, the press
26
           and other third parties, including law enforcement are not privileged
27

28

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 1         including because statements and reports of a crime that are intentionally
 2
           false or made with reckless disregard for the truth are not privileged.
 3

 4      559.     Defendants statements are continuing as late as the summer of 2024

 5         including statements made via social media and to former employers that
 6
           Plaintiffs are going to be “locked up”.
 7

 8      560.     Because Defendants’ false statements accused Plaintiffs of a
 9         serious crime and maligned Plaintiffs in their professions, those
10
           statements constitute defamation per se and Plaintiffs’ injuries are
11

12         presumed.
13      561.     Moreover, the statements tend to so harm the reputation of
14
           Plaintiffs as to lower their professional reputation in the community or
15

16         deter third persons from associating or dealing with them including
17         termination of any and all business, contracts or employment and, as such,
18
           constitute defamation per se.
19

20      562.     As a direct and proximate result of the maliciously false and
21
           defamatory publication of statements to third parties by Defendants,
22
           Plaintiffs have been severely damaged.
23

24      563.     Plaintiffs are entitled to punitive damages, because Defendants’
25
           defamatory statements were made with hatred, ill will, and spite, with the
26

27

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 1         intent to harm Plaintiffs or in blatant disregard of the substantial
 2
           likelihood of causing them harm.
 3

 4      564.      Because Defendants’ defamatory statements constitute intentional

 5         acts which were made with actual malice towards Plaintiffs, Plaintiffs
 6
           seek an award for punitive damages.
 7

 8                WHEREFORE, Plaintiffs Dusty and Taylor Button demand
 9   judgment against Defendants for damages, punitive damages, court costs, and
10
     such other relief as the Court deems just and proper.
11

12                           COUNT VII – LIBEL PER SE
13        Plaintiffs against Juliet Doherty, Krista King-Doherty and Luis Pons
14
        565.      Plaintiffs repeat and reallege the allegations contained within
15

16         paragraphs 1 through 475, supra, as if set forth herein.
17      566.      The unprivileged statements made by Defendants to others about
18
           Plaintiffs were false and defamatory.
19

20      567.      The unprivileged statements made by Defendants to others about
21
           Plaintiffs caused complete loss and injury to Plaintiffs’ businesses
22
           whereas, Plaintiffs have not worked one single job since May 13th, 2021
23

24         and moreover, since July 28th, 2021 and December 13th, 2021, including
25
           that any and all contracts and agreements were immediately and
26
           prematurely terminated following Defendants’ conduct.
27

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 1      568.      The unprivileged statements made by Defendants to others about
 2
           plaintiffs caused complete loss and injury to Plaintiffs’ businesses
 3

 4         whereas, Plaintiffs employment, sponsorships, careers, business relations

 5         and reputations suffered severe injury due to Defendants’ conduct
 6
           beginning from the year 2018 and which was not discovered by Plaintiffs
 7

 8         until discovery in the Nevada litigation took place in 2022 and 2023.
 9      569.      Defendants made and published such statements negligently, with
10
           knowledge of the falsity of the statements, and/or with reckless disregard
11

12         of their truth or falsity.
13      570.      At the time Defendants made such statements, they knew or should
14
           have known that they were false and defamatory.
15

16      571.      Hundreds of thousands of people actually read and/or heard the
17         false and defamatory statements.
18
        572.      The statements were not privileged or protected.
19

20      573.      The statements were published and stated by Defendants with
21
           actual malice, oppression, and fraud in that they were aware at the time of
22
           the falsity of the publication and thus, made said statements and
23

24         publications in bad faith, out of hatred and ill-will directed towards
25
           Plaintiffs without any regard for the truth.
26

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 1      574.     Defendants possessed information and had access to information
 2
           that showed their statements were false.
 3

 4      575.     Defendants made statements for which they had no factual basis.

 5      576.     Moreover, the statements tend to so harm the reputation of
 6
           Plaintiffs as to lower their professional reputations in the community or
 7

 8         deter third persons from associating or dealing with them including
 9         termination of any and all business, contracts or employment and, as such,
10
           constitute libel per se.
11

12      577.     As a direct and proximate result of the maliciously false and
13         defamatory statements and publication of statements to third parties by
14
           Defendants, Plaintiffs have been severely damaged.
15

16      578.     Defendants made false and defamatory statements to a mass
17         audience in which were so widely understood to be harmful that they are
18
           presumed to be defamatory as Defendants made statements which falsely
19

20         accused Plaintiffs of committing heinous crimes of sexual assault and
21
           including against children.
22
        579.     Plaintiffs are entitled to punitive damages, because Defendants’
23

24         defamatory statements were made with hatred, ill will, and spite, with the
25
           intent to harm Plaintiffs or in blatant disregard of the substantial
26
           likelihood of causing them harm.
27

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 1      580.      Because Defendants’ defamatory statements constitute intentional
 2
           acts which were made with actual malice towards Plaintiffs, Plaintiffs
 3

 4         seek an award for punitive damages.

 5                WHEREFORE, Plaintiffs Dusty and Taylor Button demand
 6
     judgment against Defendants for damages, punitive damages, court costs, and
 7

 8   such other relief as the Court deems just and proper.
 9                        COUNT VIII – SLANDER PER SE
10
          Plaintiffs against Juliet Doherty, Krista King-Doherty and Luis Pons
11

12      581.      Plaintiffs repeat and reallege the allegations contained within
13         paragraphs 1 through 475, supra, as if set forth herein.
14
        582.      The unprivileged statements made by Defendants to others about
15

16         Plaintiffs were false and defamatory.
17      583.      The unprivileged statements made by Defendants to others about
18
           Plaintiffs caused complete loss and injury to Plaintiffs’ businesses
19

20         whereas, Plaintiffs have not worked one single job since July, 28th, 2021
21
           and moreover, since December 13th, 2021, including that any and all
22
           contracts and agreements were immediately and prematurely terminated
23

24         following Defendants’ conduct.
25
        584.      The unprivileged statements made by Defendants to others about
26
           plaintiffs caused complete loss and injury to Plaintiffs’ businesses
27

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 1         whereas, Plaintiffs’ employment, sponsorships, careers, business relations
 2
           and reputations suffered severe injury due to Defendants’ conduct
 3

 4         beginning from the year 2018 and which was not discovered by Plaintiffs

 5         until discovery in the Nevada litigation took place in 2022 and 2023.
 6
        585.     Defendants continue to make disparaging statements about the
 7

 8         Plaintiffs to former employers and other third parties which are knowingly
 9         defamatory in nature yet they continue to make them.
10
        586.     Defendants made defamatory statements to various third parties
11

12         with negligence, with knowledge of the falsity of the statements, and/or
13         with reckless disregard of their truth or falsity.
14
        587.     At the time Defendants’ statements were made, she knew or should
15

16         have known that they were false and defamatory.
17      588.     Hundreds of thousands of people actually read and/or heard the
18
           false and defamatory statements.
19

20      589.     Defendants’ statements were not privileged or protected.
21
        590.     The statements were made and published by Defendants with actual
22
           malice, oppression, and fraud in that she was aware at the time of the
23

24         falsity of the publication and thus, made said statements and publications
25
           in bad faith, out of hatred and ill-will directed towards Plaintiffs without
26
           any regard for the truth.
27

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 1      591.        Defendants possessed information and had access to information
 2
           that showed their statements were false.
 3

 4      592.        Defendants also made statements for which they had no factual

 5         basis.
 6
        593.        Defendants intentionally caused harm by telling Plaintiffs’ co-
 7

 8         workers, clients and employers these false and defamatory statements as
 9         to intentionally inflict harm on their reputations, careers and business
10
           including by making defamatory statements which accuse Plaintiffs of
11

12         crimes and other immoral sexual acts.
13      594.        Moreover, the statements tend to so harm the reputation of
14
           Plaintiffs as to lower their professional reputation in the community or
15

16         deter third persons from associating or dealing with them including
17         termination of any and all business, contracts or employment and, as such,
18
           constitute slander per se.
19

20      595.        As a direct and proximate result of the maliciously false and
21
           defamatory publication of statements to third parties by Defendants,
22
           Plaintiffs have been severely damaged.
23

24      596.        Plaintiffs are entitled to punitive damages, because Defendants’
25
           defamatory statements were made with hatred, ill will, and spite, with the
26

27

28

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 1         intent to harm Plaintiffs or in blatant disregard of the substantial
 2
           likelihood of causing them harm.
 3

 4      597.      Because Defendants’ defamatory statements constitute intentional

 5         acts which were made with actual malice towards Plaintiffs, Plaintiffs
 6
           seek an award for punitive damages.
 7

 8                WHEREFORE, Plaintiffs Dusty and Taylor Button demand
 9   judgment against Defendants for damages, punitive damages, court costs, and
10
     such other relief as the Court deems just and proper.
11

12         COUNT IX - INTENTIONAL INFLICTION OF EMOTIONAL
13                                      DISTRESS
14
          Plaintiffs against Juliet Doherty, Krista King-Doherty and Luis Pons
15

16      598.      Defendants engaged in extreme and outrageous conduct with the
17         intention of causing Plaintiffs severe emotional distress by first making
18
           false, derogatory, defamatory and fraudulent statements of fact to a mass
19

20         audience about Plaintiffs.
21
        599.      Defendant Juliet Doherty intentionally and willfully filed a false a
22
           frivolous complaint and following, all Defendants used that complaint to
23

24         “validate” the allegations, (which are false), against the Plaintiffs,
25
           knowing they were false.
26

27

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 1      600.     Juliet Doherty knew that her sexual assault on the Plaintiffs would
 2
           injure them.
 3

 4      601.     Krista-King Doherty knew that the allegations against the Plaintiffs

 5         were false.
 6
        602.     Luis Pons had information that proved his statements to be false
 7

 8         prior to making them but continued.
 9      603.     All Defendants knew that they had extreme influence in the dance
10
           industry over the Plaintiffs and their reputations in the dance industry and
11

12         automotive industry and intentionally reached out to any and all
13         contractors, employers, business associates, affiliates and sponsors to
14
           completely destroy all relationships they had with Plaintiffs, resulting in
15

16         the total loss of income and employment for Plaintiffs.
17      604.     At the time of the events herein and at the time Defendants’ social
18
           media posts were published, Plaintiffs received innumerable messages
19

20         and phone calls regarding the defamatory posts which were disclosed to a
21
           mass audience prior to Plaintiffs being having any idea of what Defendant
22
           was referring to, while teaching for thousands of children at the time the
23

24         post was made and published.
25
        605.     Plaintiffs were notified by various third-parties about the post,
26
           resulting in extreme distress.
27

28

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 1      606.      Plaintiffs repeat and reallege the allegations contained within
 2
           paragraphs 1 through 475, supra, as if set forth herein.
 3

 4      607.      The unprivileged statements made by Defendants to others about

 5         Plaintiffs were false and defamatory.
 6
        608.      The unprivileged statements made by Defendants to others about
 7

 8         Plaintiffs caused complete loss and injury to Plaintiffs’ businesses
 9         whereas, Plaintiffs have not worked one single job since May 13th, 2021
10
           and moreover, since July 28th, 2021 and December 13th, 2021, including
11

12         that any and all contracts and agreements were immediately and
13         prematurely terminated following Defendants’ conduct.
14
        609.      The unprivileged statements made by Defendants to others about
15

16         Plaintiffs caused complete loss and injury to Plaintiffs’ businesses
17         whereas, Plaintiffs employment, sponsorships, careers, business relations
18
           and reputations suffered severe injury due to Defendants’ conduct
19

20         beginning from the year 2018 and which was not discovered by Plaintiffs
21
           until discovery in the Nevada litigation took place in 2022 and 2023.
22
        610.      Defendants made and published such statements negligently, with
23

24         knowledge of the falsity of the statements, and/or with reckless disregard
25
           of their truth or falsity.
26

27

28

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 1      611.        At the time Defendants made such statements, they knew or should
 2
           have known that they were false and defamatory.
 3

 4      612.        Hundreds of thousands of people actually read and/or heard the

 5         false and defamatory statements.
 6
        613.        Defendants’ statements were not privileged or protected.
 7

 8      614.        The statements were published by Defendants with actual malice,
 9         oppression, and fraud in that they were aware at the time of the falsity of
10
           the publication and thus, made said statements and publications in bad
11

12         faith, out of hatred and ill-will directed towards Plaintiffs without any
13         regard for the truth.
14
        615.        Defendants possessed information and had access to information
15

16         that showed their statements were false.
17      616.        Defendants knowingly made statements which had no factual basis.
18
        617.        Defendants acted intentionally and/or recklessly whereas his/her
19

20         conduct was extreme and outrageous and was the direct cause of
21
           Plaintiffs’ severe emotional distress in which Plaintiffs continue to suffer
22
           today.
23

24      618.        Moreover, the statements made by Defendants to various third
25
           parties tend to so harm the reputation of Plaintiffs as to lower their
26
           professional reputation in the community or deter third persons from
27

28

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 1         associating or dealing with them including termination of any and all
 2
           business, contracts or employment and, as such, constitutes intentional
 3

 4         infliction of emotional distress.

 5      619.      As a direct and proximate result of the maliciously false and
 6
           defamatory statements and publication of statements to third parties by
 7

 8         Defendants, Plaintiffs have been severely damaged.
 9      620.      Plaintiffs are entitled to punitive damages, because Defendants’
10
           defamatory statements were made with hatred, ill will, and spite, with the
11

12         intent to harm Plaintiffs or in blatant disregard of the substantial
13         likelihood of causing them harm.
14
        621.      Because Defendants’ defamatory statements constitute intentional
15

16         acts which were made with actual malice towards Plaintiffs, Plaintiffs
17         seek an award for punitive damages.
18
                  WHEREFORE, Plaintiffs Dusty and Taylor Button demand
19

20   judgment against Defendants for damages, punitive damages, court costs, and
21
     such other relief as the Court deems just and proper.
22
                     COUNT X – PRIMA FACIE DEFAMATION
23

24        Plaintiffs against Juliet Doherty, Krista King-Doherty and Luis Pons
25
        622.      Plaintiffs repeat and reallege the allegations contained within
26
           paragraphs 1 through 475, supra, as if set forth herein.
27

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 1      623.     Plaintiffs can prove that Defendants made false statements as fact.
 2
        624.     Plaintiffs possess evidence of the allegations within the complaint
 3

 4         which is enough to prove the allegations against Defendants to be true.

 5      625.      Defendants’ statements were not matters of opinion.
 6
        626.     The unprivileged statements made by Defendants to others about
 7

 8         Plaintiffs were false and defamatory.
 9      627.     The unprivileged statements made by Defendants to others about
10
           Plaintiffs caused complete loss and injury to Plaintiffs’ businesses
11

12         whereas, Plaintiffs have not worked one single job since May 13th, 2021
13         and moreover, since July 28th, 2021 and December 13th, 2021, including
14
           that any and all contracts and agreements were immediately and
15

16         prematurely terminated following Defendants’ conduct.
17      628.     The unprivileged statements made by Defendants to others about
18
           plaintiffs caused complete loss and injury to Plaintiffs’ businesses
19

20         whereas, Plaintiffs’ employment, sponsorships, careers, business relations
21
           and reputations suffered severe injury due to Defendants’ conduct
22
           beginning from the year 2018 and which was not discovered by Plaintiffs
23

24         until discovery in the Nevada litigation took place in 2022 and 2023.
25

26

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 1      629.        Defendants made and published such statements negligently, with
 2
           knowledge of the falsity of the statements, and/or with reckless disregard
 3

 4         of their truth or falsity.

 5      630.        At the time Defendants made such statements, they knew or should
 6
           have known that they were false and defamatory.
 7

 8      631.        Hundreds of thousands of people actually read and/or heard the
 9         false and defamatory statements.
10
        632.        Defendants’ statements were not privileged.
11

12      633.        The statements were made and published by Defendants with actual
13         malice, oppression, and fraud in that they were aware at the time of the
14
           falsity of the publication and thus, made said publications in bad faith, out
15

16         of hatred and ill-will directed towards Plaintiffs without any regard for the
17         truth.
18
        634.        Defendants possessed information and had access to information
19

20         that showed their statements were false.
21
        635.        Defendants made statements which had no factual basis.
22
        636.        Defendants made intentionally false statements purporting to be
23

24         fact, published and communicated those statements to hundreds of
25
           thousands of third parties faulting to, at the very least, negligence,
26
           whereas the damages and harm to Plaintiffs and their reputations is
27

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 1         irreparable as a direct result of the defamatory statements made by
 2
           Defendants.
 3

 4      637.     Moreover, the statements tend to so harm the reputation of

 5         Plaintiffs as to lower their professional reputation in the community or
 6
           deter third persons from associating or dealing with them including
 7

 8         termination of any and all business, contracts or employment and
 9         including because the false statements can be proven false by evidence, as
10
           such, constitutes Prima Facie Defamation.
11

12      638.     As a direct and proximate result of the maliciously false and
13         defamatory statements and publication of statements to third parties by
14
           Defendants, Plaintiffs have been severely damaged.
15

16      639.     Plaintiffs are entitled to punitive damages, because Defendants’
17         defamatory statements were made with hatred, ill will, and spite, with the
18
           intent to harm Plaintiffs or in blatant disregard of the substantial
19

20         likelihood of causing them harm.
21
        640.     Because Defendants’ defamatory statements constitute intentional
22
           acts which were made with actual malice towards Plaintiffs, Plaintiffs
23

24         seek an award for punitive damages.
25

26

27

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 1                WHEREFORE, Plaintiffs Dusty and Taylor Button demand
 2
     judgment against Defendants for damages, punitive damages, court costs, and
 3

 4   such other relief as the Court deems just and proper.

 5                        COUNT XI – CIVIL CONSPIRACY
 6
          Plaintiffs against Juliet Doherty, Krista King-Doherty and Luis Pons
 7

 8      641.      Plaintiffs repeat and reallege the allegations contained within
 9         paragraphs 1 through 475, supra, as if set forth herein.
10
        642.      Defendants’ actions resulted in “Unfair Competition” by way of
11

12         coordinating efforts to spread false information about Plaintiffs, (whose
13         names and likeness were their business), to gain an advantage, as to
14
           destroy Plaintiffs’ reputations, careers, business, ability to work and
15

16         defend themselves against the defamatory statements and litigation itself
17         including three years prior to Juliet Doherty filing her complaint in
18
           Nevada.
19

20      643.      Plaintiffs can prove a set of facts which constitute civil conspiracy
21
           between the Defendants and third parties including Sage Humphries,
22
           Micah Humphries and Kim Comelek, amongst other third parties
23

24         including but not limited to Madison Breshears and various news and
25
           media outlets and/or social media accounts which promoted the
26
           allegations against the Plaintiffs.
27

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 1      644.     Defendants’ actions were unlawful including that the defamatory
 2
           statements they maliciously made and published were intentional and
 3

 4         wrongful interreferences with Plaintiffs’ business relationships.

 5      645.     Defendants intentionally and knowingly made false statements
 6
           about Plaintiffs to a mass audience, performing an unlawful act to gain
 7

 8         notoriety and mislead the public and any potential juror through social
 9         media, the media and the press to secure bias against Plaintiffs, including
10
           while knowing Juliet Doherty’s allegations were false and frivolous.
11

12      646.     Juliet, Krista and Luis conspired to ensure Plaintiffs’ good names,
13         their likeness, careers, reputations and business relations were destroyed
14
           by spreading false and frivolous rumors which resulted in complete loss
15

16         of any and all employment, sponsorships and business relationships
17         between Plaintiffs and innumerable third parties including but not limited
18
           to Panama Ballet Festival, BellaMoxi Dance, Master Ballet Academy,
19

20         Discount Dance, BLOCH INC, Red Bull, Artists Simply Human, Cancun
21
           Ballet Festival, Youth America Grand Prix and Grand Prix Intensive.
22
        647.     The Plaintiffs suffered economic loss as a direct and proximate
23

24         result of the Defendants’ actions.
25
        648.     Moreover, the statements tend to so harm the reputation of
26
           Plaintiffs as to lower their professional reputation in the community or
27

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 1         deter third persons from associating or dealing with them including
 2
           termination of any and all business, contracts or employment and, as such,
 3

 4         constitute Civil Conspiracy.

 5      649.      As a direct and proximate result of the maliciously false and
 6
           defamatory publication of statements to third parties by Defendant,
 7

 8         Plaintiffs have been severely damaged.
 9      650.      Plaintiffs are entitled to punitive damages, because Defendants’
10
           defamatory statements were made with hatred, ill will, and spite, with the
11

12         intent to harm Plaintiffs or in blatant disregard of the substantial
13         likelihood of causing them harm.
14
        651.      Because Defendants’ defamatory statements constitute intentional
15

16         acts which were made with actual malice towards Plaintiffs, Plaintiffs
17         seek an award for punitive damages.
18
                  WHEREFORE, Plaintiffs Dusty and Taylor Button demand
19

20   judgment against Defendants for damages, punitive damages, court costs, and
21
     such other relief as the Court deems just and proper.
22
                                 PRAYER FOR RELIEF
23

24                WHEREFORE, Plaintiffs respectfully request judgment against
25
     Defendants, awarding compensatory, consequential, exemplary, and punitive
26
     damages in an amount to be determined at trial, including but not limited to:
27

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 1                A. Entering judgment against the Defendants on all claims made
 2
                     against them in this Complaint;
 3

 4                B. Entering an Order directing that Defendants pay Plaintiffs

 5                   reasonable fees and costs pursuant to any applicable law;
 6
                  C. For actual damages in an amount to be proven at trial;
 7

 8                D. For punitive damages in an amount to be proven at trial;
 9                E. For costs of suit;
10
                  F. For pre-judgment and post-judgment interest on the foregoing
11

12                   sums;
13                G. For such other and further relief as the Court deems proper.
14
                              DEMAND FOR JURY TRIAL
15

16                Pursuant to Federal Rule of Civil Procedure 38, Plaintiffs hereby
17   request a trial by jury on all causes of action asserted within this pleading.
18
19

20                              Respectfully dated this 6th day of November, 2024,
21

22
                                _________________________________________
23
                                Dusty Button and Mitchell Taylor Button (Pro se)
24                              101 Ocean Sands Ct.
25                              Myrtle Beach, SC 29579
                                Email: worldofdusty@gmail.com
26                              Phone: 310-499-8930
27                              Phone: 310-499-8702

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 3

 4                         CERTIFICATE OF SERVICE

 5               The undersigned hereby certifies that the foregoing document was
 6
     emailed to Pro_Se_Filing@nysd.uscourts.gov on November 6th, 2024.
 7

 8

 9
10

11

12                     Dated this 6th day of November, 2024,
13

14
                       /s/___________________________________________
15

16                     Signature of Plaintiff Dusty Button (Pro se)
17

18
                       /s/___________________________________________
19

20                     Signature of Plaintiff Mitchell Taylor Button (Pro se)
21

22

23

24

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                                   EXHIBIT A

                 EXCERPTS FROM DUSTY BUTTON'S DEPOSITION

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      1                         D. Button
      2    wasn't -- we weren't kicked out, per se, but
      3    it was sort of we would rather not have you
      4    here, but particularly at Sand Dollar, we saw
      5    The New York Times, we know what you have
      6    done, we don't want you here.
      7                   MS. MARIELLA:          Let take a quick
      8            five-minute break and I would also like
      9            to get a check on time so I know what
     10            else I have time to get into.
     11                   THE VIDEOGRAPHER:            Off the record,
     12            2:51 p.m.
     13                   (Recess.)
     14                   THE VIDEOGRAPHER:            On the record,
     15            2:57 p.m.
     16            Q.     Did you meet someone named Juliet
     17    Doherty in Panama?
     18            A.     Yes, I did meet someone named
     19    Juliet Doherty in Panama.
     20            Q.     Did you have any sexual contact
     21    with Juliet Doherty in Panama?
     22            A.     I would like to precursor the
     23    question.        I did not have sexual contact,
     24    however, I was harassed and I should have
     25    filed a police report prior to this
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      1                         D. Button
      2    litigation.
      3                   Juliet made multiple comments and
      4    statements towards me while we were in
      5    Panama, in short, because I know you have to
      6    finish this in 15 minutes.
      7                   Basically what happened is I had
      8    never met Juliet Doherty.                The very first
      9    time that I met her was in Panama, as I just
     10    stated, when we were in Panama the very first
     11    time, she had a conversation with Taylor and
     12    I, was outside at a hotel pool.                   I think Lisa
     13    Coronago (phonetic) was there who was
     14    previously with Boston Ballet, a principal,
     15    the owner, Ivan, I-V-A-N, and his son, Diego,
     16    were there, there were two other dancers I
     17    had never heard of or met that were there.
     18                   Ivan brought some vodka or
     19    something.        A lot of the dancers brought
     20    whatever it was they wanted to choose.                      It
     21    was after rehearsal and everyone had somewhat
     22    of a pool party, I guess you could say.                       We
     23    were sitting, there were multiple people
     24    there and the first thing when Juliet was
     25    sitting next to me and Taylor was, I want to
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      1                         D. Button
      2    tell you guys something that I haven't told
      3    my mom yet and I thought it was really
      4    uncomfortable because I didn't know this
      5    woman and she said, I went to a gay club for
      6    the first time for my birthday and I'm been
      7    dying to tell someone.              I don't know why she
      8    told us that, but I can only suspect that
      9    based on Louis Pawns' text messages with her
     10    or some communication with Micah, that she
     11    believed that she would possibly have the
     12    next relationship with myself and my husband
     13    which I can guarantee you 100 percent, after
     14    the trauma we endured from losing Sage at
     15    that time and having no interest in any
     16    relationship whatsoever, that would have
     17    never taken place.
     18                   However, the first statement she
     19    made was, I kissed a girl and I liked it and
     20    from that moment, I knew that Micah Humphries
     21    or someone related to her had something to do
     22    with it because that is something that Sage
     23    told me in the car after the first night that
     24    we were all together and there is no way that
     25    Juliet were have known that.
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      1                         D. Button
      2                   Following that comment, we were all
      3    swimming in the pool, Juliet hopped on my
      4    back, was following me around -- we sent you
      5    these videos, made multiple passes at me, was
      6    jumping on my back in the pool, it was
      7    uncomfortable.
      8                   At one point, she put her hand
      9    around me and grabbed my boobs.                   Another time
     10    she put her hand on my vagina and I pushed
     11    her away and I will be honest, at that point,
     12    unfortunately, I don't think that I was over
     13    the relationship with Sage and I wanted
     14    nothing to do with that and neither did
     15    Taylor.       She continued to follow me around.
     16                   The next day, she made another pass
     17    when we were at a restaurant as a group, she
     18    put her hand on my leg underneath the table.
     19    I moved her hand off, I excused myself and
     20    went to the bathroom.              It made me feel
     21    uncomfortable.          I came back and it was
     22    technically a business relation dinner.                       It
     23    was uncomfortable and extremely
     24    unprofessional.
     25                   The night that she is referring to,
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      1                         D. Button
      2    and I'm trying to finish this up quickly so
      3    you actually have the deposition, the night
      4    she is referring to where she got, quote,
      5    drugged, first of all, my husband and I don't
      6    do drugs, we certainly didn't traffic drugs
      7    to Panama.        There were no drugs in Panama.
      8    Everyone had alcohol there.                 Juliet was
      9    serving herself and she overserved herself.
     10    She ended up going -- the bathroom was
     11    outside, she ended up going to the bathroom,
     12    she threw up in the bathroom outside.                      There
     13    were other witnesses there.                 I actually held
     14    her hair to be nice and then she came back to
     15    the pool.        I suggested she should go to the
     16    room and she did not want to.
     17                   Following that, she was still in
     18    the pool.        I went up to the room to get more
     19    seltzer waters for everybody because everyone
     20    was out of mixers, so I went up to my room or
     21    our room, I got seltzer waters and on my way
     22    back down, I didn't realize Juliet had
     23    followed me up to my room and when I opened
     24    my room -- the door to my room, she was
     25    there, so, uncomfortably, I just walked past
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      1                         D. Button
      2    her, she is stumbling everywhere, went into
      3    the elevator, she followed me into the
      4    elevator.        I recommended that she should just
      5    stay in the room since she is already at the
      6    door.
      7                   We were in the elevator, she tries
      8    to kiss me in the elevator, I pushed her
      9    back.      It was very uncomfortable for me.
     10    Like I said, the only relationship outside of
     11    my husband is with Sage.               I would never have
     12    another one again.            At the time, I did want
     13    to have that relationship with Sage after
     14    everything that's happened, I would have
     15    never pursued anything like that, especially
     16    with the time being so close to what happened
     17    with Sage.
     18                   But, yes, Juliet was obsessive to
     19    say the least.          I don't know if she was
     20    trying to instigate something when she says
     21    she woke up and doesn't remember what
     22    happened, that was because she drank too much
     23    and I don't know -- I had met her that day.
     24    I don't know what she is used to drinking.                        I
     25    certainly didn't serve her, so I don't know
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      1                         D. Button
      2    how much she poured, but, yeah, she was
      3    wasted, she should have gone to bed, she
      4    didn't go to bed.
      5                   I don't know if she is gay or not,
      6    but her ousting herself and going to a gay
      7    club and saying she kissed a girl and liked
      8    it, I don't know if it was to prod at
      9    something she knew as to the relationship
     10    between Sage and myself and Taylor or she
     11    felt like she wanted to tell someone and
     12    didn't want to tell someone in her circle,
     13    but following that nothing -- it was very
     14    uncomfortable, but we kind of all just
     15    pretended like it didn't happen because I
     16    didn't want to make her feel like she was the
     17    wasted one at the party and make her feel
     18    uncomfortable.
     19                   Nothing happened after that.                 We
     20    spent two days going to this random island
     21    with Ivan and his son and she asked if she
     22    could stay two more days, didn't have money
     23    to stay in her own hotel room, asked if she
     24    could stay in hers.             She stayed in a separate
     25    bed and it was awkward, I mean, it was a
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      1                         D. Button
      2    little bit awkward, but she kind of just
      3    forgot about it.
      4                   And then following that, now that
      5    we realized, I guess Louis Pawns had messaged
      6    and told her that we are dangerous people and
      7    what we have done to Sage is exactly what we
      8    are doing to her, she doesn't know if she is
      9    drugged or not and it's kind of just all gone
     10    to third party hearsay which is making
     11    everybody within this litigation believe
     12    something other than what it was.
     13                   But, yeah, she definitely sexually
     14    assaulted me and I should have done something
     15    about it, but I didn't want to make her feel
     16    bad, so I let it be and, regretfully, now I
     17    see that I should have.
     18            Q.     So other than touching your breasts
     19    in the pool, touching your leg and trying to
     20    kiss you in the elevator, was there any other
     21    sexual contact between you and Juliet,
     22    regardless of who it was initiated by?
     23            A.     I believe I told you that she also
     24    touched my vagina in the pool, but aside from
     25    that -- in the pool, with me, there was no
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      1                         D. Button
      2    other ones, but at the pool, at the same
      3    time, she did grab Taylor by the shoulders
      4    and tried to pull him in in an effort, I
      5    believe, to initiate something that would
      6    have been similar to what we had with Sage,
      7    but there was no interest on anyone's side
      8    apparently, except for her own, and, no,
      9    aside from that, there was no other sexual
     10    contact on either party.
     11            Q.     To your knowledge, since this
     12    litigation began, has Taylor applied for any
     13    jobs?
     14            A.     No, he hasn't.
     15            Q.     Okay.      That was my last question.
     16            A.     I just want to make it clear for
     17    the record as well that I know we didn't
     18    discuss this with Taylor's deposition, as far
     19    as marking it confidential, so I just wanted
     20    to make sure that this was marked
     21    confidential and that if it's filed, it's
     22    filed either under seal or redacted in
     23    certain portions.
     24                   And then one more time for the
     25    record, as if you haven't heard this enough,
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      1                         D. Button
      2    I have never met Jane Doe 1, which is
      3             , in my entire life, and based on her
      4    therapy records, I think that she is mentally
      5    -- seriously needs help and that is for her
      6    benefit, not my own.             I think she is a danger
      7    to herself and to others, so I'm just making
      8    that clear.
      9                   MS. MARIELLA:          Thank you.        I think
     10            we are set to go off the record.
     11                   THE VIDEOGRAPHER:            Off the record,
     12            3:08 p.m.
     13                   (Time noted:         3:08 p.m.)
     14
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      1                         D. Button
      2            A.     Yeah, I see that.
      3            Q.     Do you recognize any of the user
      4    names of the people who left comments on this
      5    photo?
      6            A.     The top one is blocked, but the
      7    others, I can't, I don't recognize.
      8                   MS. MARIELLA:          Can you go to the
      9            last page.
     10            Q.     Do you recognize any of these?
     11            A.     No, I don't.
     12            Q.     Do you know who left a comment on
     13    Juliet Doherty's Instagram page saying Panama
     14    is karma?
     15            A.     No, I don't.
     16            Q.     Do you know who commented back in
     17    court in 321?
     18            A.     No, I don't.
     19            Q.     Are you intending to sue Juliet
     20    Doherty?
     21            A.     Absolutely.
     22                   I would also like to refer back to,
     23    I believe it was the last one you said was
     24    Sage's photo or her account, it looks like it
     25    wasn't actually her account.                 I just want to
